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District Court Case No. 2:18-cv-10188-AG
UNITED STATES DISTRICT COURT, CENTRAL DISTRICT,
SANTA ANA DIVISION
IN RE: STEVEN MARK ROSENBERG,
Debtor.

 

~ STEVEN MARK ROSENBERG _
Appellant,

vs.

DEUTSCHE BANK NATIONAL TRUST COMPANY, AS
TRUSTEE FOR ALLIANCE BANCORP, MORTGAGE BACKED
CERTIFICATE SERIES. 2007-OA1, MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS, INC., OCWEN LOAN SERVICING,

LLC,
Appellees.

Appeal from the U.S. Bankruptcy Court, Central District of
California, Case No. Case No. 1:17-bk-11748-VK, A.P. Case No.
1:17-ap-01096-vk, Hon. Victoria S. Kaufman,
Hon. Andrew J. Guilford, District Court Judge
APPELLEE’S SUPPLEMENTAL APPENDIX
VOLUME 2 OF 3
Zi C. Lin, SBN 236989
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E-mails: zlin@garrett-tully.com, mdakinmurele@garrett-tully.com
Attorneys for Appellee
Deutsche Bank National Trust Company, As Trustee for Alliance
Bancorp Mortgage Backed Certificate Series 2007-OA1
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WRIGHT, FINLAY & ZAK, LLP

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Nicole S. Dunn, Esq., SBN 213550

4665 MacArthur Court, Suite 200

Newport Beach, CA 92660

Telephone: (949) 477-5050; Facsimile: (949) 608-9142

Attorneys for Defendants, Ocwen Loan Servicing, LLC;
and Mortgage Electronic Registration Systems, Inc.

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: STEVEN MARK ROSENBERG, | Bankruptcy Case No, 1:17-bk-11748-VK

 

Debtor. Chapter 7
Adversary Case No. 1:17-ap-01096-VK
STEVEN MARK ROSENBERG,
REQUEST FOR JUDICIAL NOTICE
Plaintiff, IN SUPPORT OF DEFENDANTS’
Vv. NOTICE OF MOTION AND

MOTION FOR JUDGMENT ON
ALLIANCE BANCORP, INC (Estate), | THE PLEADINGS

MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS, INC., Hearing:
OCWEN LOAN SERVICING, ONE Date: TBD
WEST BANK, DEUTSCHE BANK. Time: TBD
NATIONAL TRUST COMPANY, AS | Crtrm: 301
TRUSTEE FOR ALLIANCE
BANCORP MORTGAGE BACKED [Filed concurrently with Notice of
PASS-THROUGH CERTIFICATE Motion, Motion for Judgment on the
SERIES 2007-OA1 AND DOES 1 Pleadings]

THROUGH 25, INCLUSIVE, .

Defendants.

 

|
REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANTS’ MOTION FOR
JUDGMENT ON THE PLEADINGS

 

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1 TO THIS HONORABLE COURT AND TO ALL PARTIES AND
THEIR ATTORNEYS OF RECORD:

Defendants Ocwen Loan Servicing, LLC ("Ocwen"), and Mortgage
Electronic Registration Systems, Inc. ("MERS") (collectively "Defendants")
respectfully requests that the court take judicial notice of the following documents
jin support of its Motion for Judgment on the Pleadings filed concurrently herewith:

it. The Deed of Trust recorded on March 15, 2007, as Document No.
20070575007 in the Official Records of the Los Angeles County Recorder’s

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Office, a true and correct copy of which is attached hereto as Exhibit 1.

10 a The Affidavit of Death of Trustee recorded on December 1, 2008, as
11 || Document No. 20082107890 in the Official Records of the Los Angeles County
12 ||Recorder’s Office a true and correct copy of which is attached hereto as Exhibit 2.
13 3. The Notice of Default and Election to Sell under Deed of Trust

14 ||recorded on April 17, 2008, as Document No. 20080669043 in the Official

15 ||Records of the Los Angeles County Recorder’s Office, a true and correct copy of

16 || which is attached hereto as Exhibit 3.
17 4. The Quitclaim Deed recorded on December 2, 2008, as Document No.

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GTA TETANY

18 || 20082117184 in the Official Records of the Los Angeles County Recorder’s

19 || Office, a true and correct copy of which is attached hereto as Exhibit 4.

20 5. The Assignment of Deed of Trust recorded on August 12, 2008, as

21 ||Document No. 20081445795 in the Official Records of the Los Angeles County
92 ||Recorder’s Office, a true and correct copy of which is attached hereto as Exhibit 5.
23 6. The Assignment of Deed of Trust recorded on February 24, 2010, as
24 || Document No. 20100248050 in the Official Records of the Los Angeles County
25 ||Recorder’s Office, a true and correct copy of which is attached hereto as Exhibit 6.
26 7, The Notice of Default and Election to Sell under Deed of Trust

97 ||recorded on November 3, 2015, as Document No. 20151344164 in the Official

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REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANTS’ MOTION FOR
JUDGMENT ON THE PLEADINGS

 

 

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Records of the Los Angeles County Recorder’s Office, a true and correct copy of
which is attached hereto as Exhibit 7.

8. The Notice of Rescission of Notice of Default recorded on November
9, 2015, as Document No. 20151367519 in the Official Records of the Los
Angeles County Recorder’s Office, a true and correct copy of which is attached
hereto as Exhibit 8.

2 The Corporate Assignment of Deed of Trust recorded on March 21,
2017, as Document No. 20170317787 in the Official Records of the Los Angeles
County Recorder’s Office, a true and correct copy of which is attached hereto as
Exhibit 9.

10. The Notice of Trustee’s Sale recorded on May 18, 2017, as Document
No. 20170554108 in the Official Records of the Los Angeles County Recorder’s

| Office, a true and correct copy of which is attached hereto as Exhibit 10.

11. The Corporate Assignment of Deed of Trust recorded on December
14, 2017, as Document No. 20171454376 in the Official Records of the Los

Angeles County Recorder’s Office, a true and correct copy of which is attached

| hereto as Exhibit 11.

12. Probate Code Section 850 Petition to Determine Title to Rea] Property
to Estate filed on August 27, 2009 in The Matter of Estate of Isadore Rosenberg,
Deceased Los Angeles County Superior Court Case No. BP109162, a true and
correct copy of which is attached hereto as Exhibit 12.

13. Notice of Order Dismissing Action with Prejudice filed on January
20, 2015 in The Matter of Estate of Isadore Rosenberg, Deceased Los Angeles
County Superior Court Case No. BP 109162, a true and correct copy of which is
attached hereto as Exhibit 13.

14. Remittitur, with Order Modifying Opinion, No Change in Judgment
filed on January 10, 2017 in The Matter of Estate of Isadore Rosenberg, Deceased

 

REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANTS’ MOTION FOR _
JUDGMENT ON THE PLEADINGS

 

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—_

Los Angeles County Superior Court Case No. BP1 09162, a true and correct copy

 

  

2 || of which is attached hereto as Exhibit 14.
3
4 Respectfully submitted,
5 WRIGHT, FINLAY & ZAK, LLP
6
7 Dated: February 13, 2018 By: /s/WNi¢oleS. Dunn
T. Robert Finlay, Esq.
8 Nicole $, Dunn, Esq.
9 Attorneys for Defendants, Ocwen Loan
Servicing, LLC; and Mortgage Electronic
10 | Registration Systems, Inc.
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~~ REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANTS’ MOTION FOR
JUDGMENT ON THE PLEADINGS

 

 

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PROOF OF SERVICE

I, Jovete Elguira, declare as follows:

Iam employed in the County of Orange, State of California. I am over the age of
eighteen (18) and not a party to the within action. My business address is 4665
MacArthur Court, Suite 200, Newport Beach, California 92660. I am readily familiar
with the practices of Wright, Finlay & Zak, LLP, for collection and processing of
correspondencé.for mailing with the United States Postal Service. Such correspondence isl
deposited with the United States Postal Service the same day in the ordinary course of
business. I am aware that on motion of party served, service is presumed invalid if postal
cancellation date or postage meter date is more than one day after date of deposit for

mailing in affidavit.

On February 13, 2018, I served the within REQUEST FOR JUDICIAL
NOTICE IN SUPPORT OF DEFENDANTS’ NOTICE OF MOTION AND
MOTION FOR JUDGMENT ON THE PLEADINGS on all interested parties in this
action as follows:

[X] _ by placing []] the original [X] a true copy thereof enclosed in sealed envelope(s)
addressed as follows:

[SEE ATTACHED SERVICE LIST]

[X] (BY MAIL SERVICE) I placed such envelope(s) for collection to be mailed on this
date following ordinary business practices.

[] (BY FEDERAL EXPRESS OVERNIGHT- NEXT DAY DELIVERY) I placed true
and correct copies thereof enclosed in a package designated by Federal Express
Ovemight with the delivery fees provided for.

[X] (CM/ECF Electronic Filing) I caused the above document(s) to be transmitted to the
office(s) of the addressee(s) listed by electronic mail at the e-mail address(es) set
forth above pursuant to Fed.R.Civ.P.5(b)(2)(E). “A Notice of Electronic Filing
(NEF) is generated automatically by the ECF system upon completion of an
electronic filing. The NEF, when e-mailed to the e-mail address of record in the
case, shall constitute the proof of service as required by Fed.R.Civ.P.5(b)(2)(E). A
copy of the NEF shall be attached to any document served in the traditional manner

upon any party appearing pro se.”

[X]_ (Federal) I declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct.

Executed on February 13, 2018, at Newport Beach, California.
CO -
eh COTS

Tovete Elgu ka 7
~~ PROOF OF SERVICE _

 

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ATTACHED SERVICE LIST

2 || Steven Mark Rosenberg
15814 Septo Street
North Hills, CA 91343
Plaintiff Pro Se

Kristin Webb, Esq.

BRYAN CAVE LLP

3161 Michelson Drive, Suite 1500
Irvine, CA 92612

(949) 223-7000; FAX (949) 223-7100
webbk(@bryancave.com

Attorney for Cit Bank, N.A.

oOo oOo NN DBD WN FF

10
11 || Amy L. Goldman (TR)

633 W. 5"" Street, Suite 4000
12 || Los Angeles, CA 90071

13, || (213) 250-1800

Trustee

14
15 || United States Trustee (SV)
915 Wilshire Blvd., Suite 1850
16 \iLos Angeles, CA 90017

17 || (213) 894-6811

U.S. Trustee
18

i9 || Judge Victoria S. Kaufman

U.S. Bankruptcy Court — Central District
20 || (San Fernando Valley)

91 ||21041 Burbank Blvd.

Woodland Hills, CA 91367-6603
22

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~ PROOF OF SERVICE a

 

 

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> 'FIDELITY-VAN NUYS

Recording Requested By:
AMPRO MORTGAGE, A DIVISION OF

NES LUE AL
Anid-Afier Recoriling: Retin To: 20070575007

ALLIANCE BANCORP, C/O
NATIONWIDE TITLE CLEARING, INC.
ATTN: FINAL DOCS UNIT

2100 ALT 19 NORTH

PALM HARBOR, FLORIDA 34683
Loan Number: 1080101956

 

IGQSo0 IO _ [Space Above This Lino For Recording Data] -
AdA- 284 DEED OF TRUST

MIN: 1000393070202883900
DEFINITIONS

Words used in multiple sections of duis document are defined below and other words are defined in Secilons 3, 11,
13, 18, 20 and 21. Certain rales regarding the usage of words used in this document are also provided in Section 16.

(A) "Security Instrument" means this document, which Is dated MARCH 1, 2007 , fogether
with all Riders to this document,
(B) "Borrower"is ISADORE ROSENBERG, A WIDOWER

Borrower is the trustor under this Security Instrument,

(C) "Lender"is AMPRO MORTGAGE, A DIVISION OF UNITED FINANCIAL
MORTGAGE CORP. .
Lender is a ILLINOIS CORPORATION organized
and existing under dhe lawsof TLLINOIS

Lender's address is 2133 WEST PEORIA AVENUE, SUITE 130, PHOENIX,

ARIZONA 85023-2370

(D) "Trustee"is FIDELITY NATIONAL TITLE COMPANY
6060 SEPULVEDA BOULEVARD, SUITE 100, VAN NUYS, CALIFORNIA 91411

(£) "MERS" is Morlgage Electronic Registration Systems, Inc. MERS is a separale corparatlon that Is actlng
solely as a nominee for Lender and Lender's successors and assigns. MERS is the beneficiary under this Securily
Instrument, MERS is organized and existing under the laws of Delaware, and has an alldress and tclephone number
of P.O, Box 2026, Flint, MI 48501-2026, tel, (888) 679-MERS.

(F) "Note" means the promissory note signed by Borrower and daled MARCH 1, 2007

The Note stales that Borrower owes Lender THREE HUNDRED NINETY THOUSAND AND

00/100 Dollars (U.S, $ 390,000.00 ) plus interest.
CALIFORNIA -Singig Faully-Fannly MaciFroddle Mic UNIFORMJNSIRUMENT ERS —— Hoedfagie Giamma anonenyoer
Form 3005 01/07 (O2/0 TF) Pago lof ja Wwwrdeenngh, cont

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Borrower has promised to pay this deb! in regular Periadic Payments and to pay the debt in full not tater than
APRIL 1, 2037 :

(G) "Property" means the proparty that is described below under the heading “Transfer of Rights In the Property."
(H) “Lean” means the debt evidenced by the Note, plus Interest, any prepayment charges and late charges te wnder
the Note, and all sums due under this Security Instrument, plus interest, -

() "Riders" means all Riders to this Security Instrument thal are executed by Borrower, The following Riders are
to be executed by Borrowor [check box as applicable):

(] Adjustable Rate Rider ([) Planned Unit Development Rider
(J Balloon Rider (() Biweekly Payment Rider

CD 1-4 Family Rider [) Second Home Rider

(J Condominium Rider KK] Other(s) [specify]

ADJUSTABLE RATE BALLOON RIDER

U) “Applicable Law" means all controlling applicable federal, state and lacal statites, ragulatlons, ordinances and
administrative roles and orders (thal have the effecl of law) as well as all applicable final, non-appealable Judicial
opinions.

(K) “Community Association Dues, Fees, and Assessments" means all dues, fees, assessments and other charges
ihat ore imposed on Borrower or the Property by a condominium association, homeowners assoclation ot simUar
orgarilzation.

(L) “Electronic Funds Transfer" means any transfer of finds, other than a transaction originated by check, draft,
or similar paper instrument, which is initlated through an electronic terminal, telephonic Instrument, Computer, or
magnetic lape $0 as ta order, insicuct, or authorize a financlal Institution to debit or credlt an account. Such term
includes, but Is not limited {o, polrtl-of-sale transfers, automated teller machine transactions. (ransfers inated by
telephone, wire transfers, and sutomated clearinghouse transfers.

(M) "Escrow Items" means those items that are described la Section J.

(N) "Miscellaneous Proceeds" means any compensation, seiJement, award of damages, or proceeds paid by any
third party (other than Insurance proceeds paid under the coverages describedin Section 5) for: (i) damage‘to, or
destruction of, the Property; (il) condemnation or ather taking of all ar any part of the Property; {lll} conveyance In
lfeu of condemnation; or (iv) mistepresentations of, ar omissions as to, the value and/or condition of the Property.
(O) “Mortgage Insurance” means Insurance protecting Lender against the nonpayment of, ordefault on, the Loan.
(P) "Periodic Payment" means the regularly scheduled amount due for (i) principal and interest under the Nole,
plus (il) any amounts under Section 3 of this Security Instrument, .

(Q) “"RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C, $2601 et seq.) and its implementing
regulation, Regulation X (24 C.F.R. Part 3500), as they might be amended (rom ume to time, or any adilitional or
successor leplslation or regulation that governs tht same subject matter. As used in thls Security Instrument,
*RESPA" refers to all requirements'and restrictions that acc imposed im regard to a "federally relaied mortgage loan”
even If the Loan does nol quallly as 2 “federally related mortgage loan" under RESPA.

(R) "Successor in Interest of Borrower" means any party thal has taken lide to Ihe Property, whether or not that
party has assumed Borrower's obligations under the Note and/or this Security Instrument,

TRANSFER OF RIGHTS IN THE PROPERTY

 

S The beneficlary of this Security Instrument is MERS (solely as nominee for Lender and Lender's successors and
assigns) and the successors and assigns of MERS. This Security Instrument secures to Lender: (1) the repayment of
@ the Loan, and all renewals, extenslous and modificallons of the Note; and (ii) the performance of Borrower's
wi
SJ
ui
5 CALIF ONNIA--Single Family--Fannie Mae/Freddie Mac UNIFORM INSTRUMENT + MERS “PocMapte Cieuytes #oo-cep.1962
a Form 3005 01/01 (02/01/07) Page Z of 14 witw, deamagie.com
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Exhibit ExNiRNe 14 ~=Page 4 of 96

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covenanls and agreements under this Security Instrumentand the Nole. For this purpose, Borrower irrevacably grants
aod conyeys to Trustee, In trust, wilh power of sale, the following described properly located In the
COUNTY of LOS ANGELES :
[Type of Recording jurisdictlon} [Name of Recording Jurisdiction)
SEE LEGAL DESCRIPTION ATTACHED HERETO AND MADE A PART HEREOF AS EXHIBIT "A".
B.P.N.: 2669-025-015 .

which currently has the address of 15814 SEPTO STREET
[Street]

NORTH HILLS AREA , California 91343 ("Property Address"):
(Clty) [Zlp Code)

TOGETHER WITH all the Improvements now or hereafter erected on the property, and. all easements,
appurtenances, and fixtures now.or hereafter a part of the property. All replacements and additlons shail-also be
coyertil by this Security Instrument, All of the foregoing fs referred to in this Security Instrument as the “Property.”
Borrower understands and agreesthat MERS kalds only legal tile to the interests granted by Borrower in this Sceurity
Instrument, bul, (necessary to comply with law or custom, MERS (as nomines for Londer and Lenier's successors
4nd ossigns) hasthe right! to exercise any or all of those Interosis, including, but not limited tn, the rightto foreclose
and sell the Property: ani to take any actlon required of Lentlor including, but not limited to, releasing and canceling
this Security Insfrument.

BORROWER COVENANTS that Borrower (s lawfully selsed of the eslate hereby conveyed and has the right
to grant and convey the Property am! thal the Property is unencumbered, except for encumbrances of record.
Borrower warrants and will defend pencrally the tille ta the Property against all claims and demantls, subject lo any
encumbrances of record.

THIS SECURITY INSTRUMENT combines uniform covenants for nalional use and non-unifarm covenants with
Umited variations by jurisdiction to constitute a uniform security {nstrument covering real property.

UNIFORM COVENANTS. Borrower and Lender covenant and agrea as follows:

1, Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges. Borrowershall
pay when due the principal of, and tnterest on, tha debt avidenced by thy Note and any prepayment charges and tate
charges due under the Note, Borrower shallalso pay funds for Escrow lems pursuant-lo Section 3. Payments due
under ihe Note and this Security Instcument shall be made ix U.S, currency. However, If any check or other
insirument received by Lender as payment under the Note or this Security Instrument Is returned to Lender unpald,
Lender may cequire thal any or all- subsequent payments due under the Note and this Security Instrument be mare tn
‘ene'or more ofthe followlng forms, as selected by Lender: (a) cash; (b) migneyorder; (¢) certified check, bank-cheek,.
treasurer's check or cashier'stheels, provided any such check is drawn upon an institution whose deposits are Insured
by'a federal agency, instrumentality, or entity; or (d) Electronle Funds Transfer,

Paymenls are deemed:recelved by-Lender when secelveil at the location designated in the Note orat such other
Iocation as may ba designated by Lender In accordance with the notice provisions tn Scctlon 15, Leniler may return
any:paymentor partlal payment if the payment or partial payments are Insufficient to bring the Loan current. Lander.
may aecepl any payment or partial payment-Insufficleat to bring the Loan cucrent, withoul waiver of any ‘rights:
hereunder or prejudice to its rights to refuse such payment or parllal payments in the future, but Lender i not.

 

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abligated ¢o apply such paymonts-at the ime such payments are accepted. If each Periodic Payment ts applied as-af
iis scheduled due'date, then Lender need not pay interest-on unapplled funds. Lender may hold such unapplied funds
until Borrower makes payment to: bring the Loan ecurrent, If Borrower does nol: Jose Within a reasonable period of
time, Lender shall elther apply such funds or requra them to Borrower... If not applied earlier, such funds will be
applied to the outstanding principal balance under the Note {mmediately price {o foreclosure. No. offset or claim
which Borrower might have now or In the future agains! Lendér shalt relfuye Borrower from making payments-due
under the Nole-and this Security Instrument or performing (he-covenants and agreements secured by this Security
Instrument.

2. Application of Payments or Proceeds, Except as otherwise descobed in this Sectton 2, all payments
accepted’and appiled by: Lender shall be applied in the following order of priarity: (a) Interest due under the Note;
4b) princ{pal duc under the Note;.(c) amounts due under Section 3, Such payments shall be opplicd to cach Periodic
Paymentin the order Inwhleh lt becamedue, Any remaining amounts shail be applied first ta late charges, socani
to any other amounts due under (hits Security Instrument, and then (o reduce the principal balance of the Note.

If Lender receives a payment from Borcower for a delinquent Periodic Payment which Includes a sufMctent
amount fo pay any late charge due, the payment may be applied to the delinquent payment and tho late charge, If
more than one Perlodie Paymont 4s outstanding, Lender may apply any payment roceived from Dorrewer to the
repayment af the Porlodle Payments {f,and(o the extent that, each payment can be pald in fall. To the extent that
any excess exists after {ho payment is applied tothe full payment ofone or more Perlodle Payments, such oxcess may
be applied fo any late charges duc. Voluntary prepayments shal] be applled first to:any prepayment charges and then
as deseribed In the Note.

Any application of payments, Insurance proceeds, or Miscellancous Proceeds to principal due under the Note
shaftnot extend of postpone the due date, or change the amount, of the Pertodic Payments.

3. Funds-for Escrow Hems.. Borrower shall pay to Lender on tiaway Perlodic Payments ace die under the
Note, until ce Note ts pald in full, 0 sum (the "Funds") to provide for payment of amounts due fer: (a) faxes and
ugsessments and other liems which can attain priority over this Securkty Instrument asa len or encumbrance on ihe
Property; (b) leasehold payments or ground rents on the Property, (any: (¢) premiums for any and all insurance
required by Lenderunder Sectlon S: and (d) Mortgage Insurance premiums, ifany, orany sums payable by Borrower
to Lender (n Hew of the payment of Mectpage Insurance premiums in accordance with the provisions of Section 10,
Thuso items arevalled "Escrow lems." Atorigination oratany time during the term of the Loan, Lenilermay require
that Community Association Dues, Pees, antl Assessments, if any, be escrowed by Borrower, and such dues, fees and
assessments shall bean Escrow Item. Borrower shall promptly furnish to Lender all notices of amounts lo be paid
under thts Section, Borrower shall psy Lender the Funds for Esesow [tems unless Lender waives Borrower's
obligation to'pay:the Funds for any ar all Escrow.lems. Lender may waive Borrower's obligation to pay to Lender
Funds forany ar all Escrow [tems at any time. Any such waiver may only bein writing, Inthe event of such walver,
Horrower'shall pay directly, when and where payable, tie amounts duc for any Escrow Ltems for which payment of
Funds has been walvei:by Lenderand, if Lender requires, shall furnish to Lender receipts evidenelng such payment
within such Umeperiod-as Lender may require: Borrower's obligation:(o make such payments and.to provide recelpts
shall for all purposes be deemed co be a:covenant and agreement contained In this Sucurity Instrument. as the phrase
“covenant and agrevinent” {s used in Seetlon 9. If Borrower ts obligated to pay Escrow Items directly, pursuant to
a \Walver, and Borrower falls to pay theamount.lue foran Escrawillem, Lender may exercise ils rights under Sectlon
4 and pay such amount and Borrower shall then be abligated under Section 3 (o-repay to Lender any such amount.
Leniler may revoke the walver.a5.to any orall Escrow ems atany time by.a natice given in accordance with Section
15-and, upon such revocalton, Borrower shall pay (o Lender all Funds, and in such amounts, thal are then required
under this Sectlon 3.

Lendermay, al any time, collect and hold Funds tn.an amount (2) sufficient to permi{t-Lender to apply the Funds
at the time’speelfind under RESPA. and (b) npt to exceed the maximum amount a lender- can require under RESPA.

ID Londer shall estimate the amount of Funds tie.on the basls:of current datx and reasonable estimates of expenditures
ed of future Escrow Items or otherwise in accordance with Applicable Law.

The Funds shall be held In an institution whose deposits are insured by a federal agency, instrumentality, or
entity (including Lender, If Lender ts an institution whose deposits are so insured) or in any Federal Home Loat

 

o
ul Hank. Lender shall apply the Punts (o pay the Escrow tems no later than the Ume specified under RESPA. Lender
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shall not charge Borrower for holding and applying the Funds, annually analyzing the escrow account, or verifying
the Escrow Items, unless Lender pays Borrower Intereston the Funds and Applicable Law permits Lender to make
such a charge. Unless an agreement is made in welting or Applicable Law requires Interest to be paid on the Funds,
Lender shall not be required to pay Borrower any interest or earnings on the Funds. Borrower and Lender can agree
in writing, however, thal interest shall be paid on (he Funds. Lendec shall give a Borrower, without charge, an
annual accounting of the Funds as required by RESPA.

If there Js a surplus of Funds held in escrow, as deflned under RESPA, Lender shall account to Borrower for
the excess funds In accordance with RESPA, If there {s » shortage of Funds held in escrow, as defined under RESPA,
Lender shall noufy Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary te make
up tho shoriage Jn accordance with RESPA, but in o9 more than 12 monthly payments, If there ls a deficlency of
Funds held in escrow, as doflned under RESPA, Lender skal! notify Borrower as required by RESPA, and Borrower
shall pay to Lender the amount necessary to make up the deficiency in accordance with RESPA, but fn no more than
12 manthly payments.

Upon payment in full of all sums secured by this Security Instrument, Lender shall prompily refund to Borrower
any Funds held by Lender,

4, Charges; Liens, Borrower shall pay all taxes, assessments, charges, fines, and \mpositions atirlbutable to
the Property which can atiain priority over thls Security Instrument, leasehold payments or ground renis on the
Property, If any, and Community Association Dues, Fees, and Assessments, if any. To (he extent that these Items
are Escrow Siems, Borrower shall pay them {n the manner provided In Section 3.

Borrower shall promptly discharge any lien which has priority over this Security Instrument unless Borrower:
(a) agcocs in writing to che payment of the obligation secured by the }len {n a manner acceplable to Lender, but only
so long as Borrower Is performing such agreement; (b) contests the len in good falth by, or defends against
enforcement of the Elen In, legal proceedings which in Lender's opinion operate to prevent the enforcement of the lion
while those proceedings are pending, but only until such proceedings are concluded; or (c) secures from the holder
of the Hen an agreement satisfactory (o Lender subordinating the llen ta thls Securlly Instrument. if Lender
determines that any par! of the Property Is subject to a lien which can alain priority over this Security Instrument,
Lender may plve Borrower a notice {dentifying the Ilen. Within 10 days of the date on which that notice Is given,
Borrower shall satisfy the lien or take one or more of the actions sel forth above in thls Section 4.

Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting service
used by Lender in connection with this Laan.

5, Property Insurance. Borrower shall keep the improvements now existing or hereafler erected on the
Properly Insured against loss by fire, hazards included within the term “extended coverage," and any other hazards
including, but not Jimiled to, earthquakes and floods, for which Lender requires Insurance. This insurance shall be
maintained in the amounts (including deductible tevels) and for the pertods that Lender requires. Whal Lender
requires pursuant to the preceding sentences can change during the term of the Loan. The Insurance carrier providing
the insurance shall be chosen-by Borrower subject to Lender's right to disapprove Borrower's choice, which right shall
nat be exercised unreasonably. Lender may require Borrower to pay, In connection with thls Loan, elther: (a) aone-
time charge for flood zone determination, certification and tracking services; or (b) a one-time charge far flood 2one
determination and certification services and subsequent charges each time remapplngs or similar changes occur which
reasonably might affect such determination or certification. Borrower shall also be responsible for the payment of
any fees Imposed by the Federal Emergency Management Agency in connection with the review of any Rood zone
determination resulting from an objection by Borrower.

if Borrower fatls to maintain any of the coverages described atiove, Lender may obtain insurance coverage, at
Lender's option and Borrower's expense: Lender is under no obligation to purchase any particular type ar amount
of coverage. Therefore, such coverage shall cover Lender, but might or mighl not protect Borrower, Borrower's
equity In the Property, or the contents of the Property, against any risk, hazard or liabillty and might provide greater
or lesser coverage than was previously [n effect. Borrower acknowledges that the cost of the Insurance coverage so

a obtatned might significantly exceed the cost of Insurance that Borrower could have obtained. Any amounts disbursed
by Lender under this Section 5 shall become additional debl of Borrower secured by this Security Instrument. These
amounts shall bear interest st the Note rate from the date of dishursement and shall be payable, with such Interest,

 

7 upon nolice from Lender to Borrower requesting payment.

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All insurance polictes requited by Lender and renewals of such policles shall be subject ta Lender's right to
disapprove such policles, shall include a standard mortgage clause, and shall name Lender as mortgagee and/or as an
additlonal loss payee and Borrower further agrees (o generally assign rights to insurance proceeds to the holder of the
Note up (a the amount of the outstanding loan balance, Lender shall have the cighi to hold the policies and renewal
certificates. If Lender requires, Horrower shall promptly give to Lender al} receipts of paid premiums and renewal
notices, If Borrower obtains any form of Insurance coverage, not otherwlse required by Lender, for damage (o, ar
desiruction of, the Property, such policy shall Include a standard mortgage clause and shall name Lender as mortgagee
and/or as ewadditional toss payce and Horrower further agrees (o generally assign rights to insurance proceeds lo the
holder of the Nate up to the amount of the outstanding loan balance,

In the event of loss, Borrower shall give prompt notice to (he insurance carrier and Lender. Lender may make
procf of lass tf not made promptly by Borrower. Unless Lender and Borrower atherwlse agree in wridhng, any
{insurance proceeds, whether or not the underlying insurance was required by Lender, shall be applied to restarallon
or repalr of the Property, If the restaratlon or repatr {s economically feasihle and Lender's security Is not lessened.
During such repair and restoration period, Lender shall have the right to hold such insurance proceeds uniil Lender
has had an opportunity to inspect such Property to ensure the work has been completed to Lender's satisfaction,
provided thal such Inspection shall be undertaken promptly. Lender may disburse proceeds for the repalrs and
restoration ina single payment or ina serles of progress payments as the work {s completed. Unless an agreement
ts made in writing or Applicable Law requires Interest to be paid on such Insurance proceeds, Lender Shall nol be
required lo pay Borrower any interest or earnings on such proceeds. Fees for pubile adjusters, or other third partles,
retained by Borrower shall not be paid out of the insurance proceeds and shal) be the sole obligation of Borrower.
If the restoration or repair fs not economically feasible or Lender's security would be lessened, the Insurance praceeds
shall be applied to the sums secured by this Security Instrument, whether or not then due, with the excess, ifany, pald
to Borrower. Such insurance proceeds shall be applied in the order provided for in Section 2.

If Rarrower abandons the Property, Lender may Mle, negatlate and settle any available insurance claim and
related matters. If Borrower does nat respond within 30 days to 2 notice from Lender that the Insurance carrler has
offered to settle a claim, then Lender may negotlate and seitle the claim. The 30-day period will begio when the
notice Is given, In either event, or if Lender acquires the Properly under Sectlan 22 or otherwise, Borrower hereby
assigns to Lender (a) Borrower's rights to any Insurance proceeds In an amount not to exceed the anmounts unpald
under the Nate or this Security Instrument, and (b) any ather of Borrower's rights (other (han the right to any refund
of unearned premlums paid by Borrower) under all insurance policies caverlng the Property, insofar as such righis
are applicable (o the coverage of the Praperty. Lender may use the Insurance proceeds either lo repair or restore the
Property or (o pay amounts unpatd under the Nate or thls Security Instrument, whether or not then due.

6, Occupancy, Borrower shal) occupy, establish, and use the Property as Borrower's principal residence
within 60 days after the execution of this Security Instrument and shall continue to occupy the Property as Borrower's
princlpal residence for al feast one year after the date of occupancy, unless Lender otherwise agreesin welling. which
consent shall not be unreasonably withheld, or unless extenuating circumstances exist which are beyond Borrower's
control,

7, Preservation, Maintenance and Protection of the Property; Inspeclions. Borrower shall not destroy,
damage or impair the Property, allow the Property to deterlorate or commit waste on the Property. Whether or not
Borrower is residing in the Property, Borrower shal) maintain the Property in order to prevent the Property from
deteriorating or decreasing in value duc-to ils condition. Unless it is determined pursuant to Section 5 that repair or
restoration Is not cconamically feastble, Borrower shall promptly repair the Property if damaged lo avoid further
deterioration or damage. If insurance or condemnation proceeds are paid in connection with damage (a, or the jaking
of, the Property, Borrower shall be responsible for cepalring or restoring the Property only if Lender has released
proceeds for such purposes. Lender may disburse proceeds for the repairs and restoration ina siagle payment or in
aseries of progress payments as the work Is completed, ff the Insurance oF condemnation proceeds are not sufficient

 

"9 (o repale or restore the Property, Borrower Is nol relieved of Borrower's obllgatton for the completion af such repalr
“J or restoration.
Lender or tis agent may make reasonable entries upon and Inspections ofthe Property. If \t has reasonable cause,
9 Lender may inspect the interior of the improvements on the Property. Lender shall give Borrower notice at the (ime
ul of or prior to such an intertor Inspection specifying such reasonable cause,
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8. Borrower's Loan Application. Borrower shall be In defaull J£, during the Loan application pracess,
Borrower or any persons or entities acting at the direction of Borrower or with Borrower's knowledge or consent gave
materlally False, misleading, or inaccurate information or statements to Lender (or failed to provide Lender with
materia) Information) In connection with the Loan, Material representations include, but are not limiled to,
representations concerning Borrower's occupancy of the Property as Borrower's princlpal residence.

8. Protection of Lender's Interest In the Property and Rights Under this Security Instrument. If (a)
Borrower falls to perform the covenants and agreements conlalned In thts Security Instrument, (b) there is a legal
proceeding that might signiMcantly affect Lender's interest {n the Property and/or rights under this Security Instrument
(such as a proceeding In bankruptcy, probate, for condemnation or forfelture, for enforcement uf a lien whlch may
attain priority over this Security Instrument or fo enforce Jaws or regulations), or (c) Borrower has abandoned the
Property, then Lender may do and pay for whatever is reasonable ar appropriate to protect Lender's Interest in the
Property and rights under (hls Security Instrument, Including protecting and/or-assessing the value of the Property,
and securing and/or repairing the Propecty, Lender's actions can include, but arenol limited to: (a) paying any sums
secured by a lien which has priority over (hts Security Instrument; (b) appearing in court; and (c) paylng reasonable
attorneys’ (ees to protect its interest in the Property and/or rights under this Security Instrument, Including lis secured
position in a bankruptcy proceeding. Securing the Property includes, but is not limited to, entering the Property to
make repairs, change locks, replace or board up doors and windows, drain water from pipes, eliminate building or
other code violations or dangerous conditions, and have ulllides turned on or off. Although Lender may take actlon
under thls Section 9, Lender does nol have to do so and Is not under any duty or obligation to daso. tt is agreed that
Lender incurs no Itability For not taking any or all acllons authorized under this Section 9.

Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower secured by this
Security Instrument. These amounts shalt bear Interest at the Note rate from the date of disbursement and shall be
payable, with such interast, upon notice from Lender to Borrower requesting payment.

If this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the lease.
Borrower shalt not surrender the jeasehold state and Interests hereln conveyed or terminate or cancel the ground lease.
Borrower shall not, without the express written: consent of Lender, alter or amend Ube ground lease. If Borrower
acquires fee title to tbe Property, the leasehold and the fee ttle shal] not merge unless Lender agrees to the merger
in wridng.

10. Mortgage Insurance. If Lender required Mortgage Insurance as a condilion of making the Loan, Borrower
shall pay the premiums required to maintain the Mortgage Insurance in effect. If, for any reason, the Morlgage
Insurance coverage required by Lender ceases (o be avallable from the mortgape Insurer thal previously provided such
insurance and Borrower was required to make separately designated payments toward the premiums for Mortgage
Insurance, Borrower shall pay the premiums required to ob(ain coverage substantially equivalent {o the Morigage
Insurance previously in effect, at a cost substantially equivalent to the cost to Borrower of the Mortgage Insurance
previously in effect, from an alternale mortgage insurer selected by Lender. If subsianUally equivalent Mortgage
Insurance coverage is not available, Borrowershall continue to pay (o Lender (he amount of the separately designated
payments that were due when the insurance coverage ceased to be in effect. Lender will accept, use and retain these
payments as a non-refundable loss reserve In lieu of Mortgage Insurance, Such loss reserve shall be non-refundable,
notwithstanding the fact that the Loan is ultimately paid in full, and Lender shall not be required to pay Burrowerany
Interest or earnings on such loss reserve, Lender can no longer require loss reserve payments if Mortgage Insurance
coverage (In the amounl and for the period that Lender requires) provided by an insurer selected by Lender again
becomes available, is obtained, and Lender requires separately designated payments toward the premiums for
Morigage Insurance. If Lender required Morigage Insurance as a conditlon of making the Loan and Borrower was
required tao make separataly designated payments toward the premiums (or Mortgage Insurance, Borrower shall pay
the premiums required to maintain Morigage Insurance In effect, ar (o provide a non-cefundable Joss reserve, until
Lender's requirement for Morlgage Insurance ends In accordance with any written agreement belween Borrower and
Lender providing for such termination or until terminaulon is required by Applicable Law. Nothing in this Secon

 

e 10 affects Borrower's obligation to pay interest at the rate provided In the Note.
Morigage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses \t may incur
Q if Borrawer docs not repay the Loan as agreed. Borrower {s not a party to (he Mortgage Insurance.
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Mortgage insurers evalunte-thelr total risk on all such insurance in force from ime to-time, and may enter Into
agveements with other parties (hat share or modify thelr risk, or reduce losses. Those agreements are on terms and
conditions (hat are satisfactory to the mortgage insurer and the:other party (or partes) to Wiese agreements. These
agreements may require (he mortgage Insurer to make payments using any source of funds that the mortgage insurer
may have available (which may Include funds oblatned from Mortgage Insorance premiums).

"As aresult of heso agreements, Lender, any purchaser of (lie Nole, anollier insurer, any reinsurer. any other
-entily, or any affiliate of any of ie foregoing, may recelve (directly orindirectly) amounts iat detive from (or might
becharacterized a3)'4 portion of Barrower's paynients for Morigage Insurance, in exchange for sharing or modifying
ihe mortgage Insurer's risk, or reduclug-losses, If such agreement provides tal an aMilate of Lender takes share
af the Insurer's ciskIn'exchange for a share of the premiums pald tothe insurory the arrangement Is offen termed
"capdive relusivance.” Purtlier:

(a) Any such agreements will not affect the amounts that Borrower'has agreed {o pay for Mortgage
Insurance, or ony other terms of the Loan. Such agreements wlll not Increase the amount Borrower will owe
for Mortgage Insurance, and they will not entitle Borrower to any refund.

(b) Any such agreements will not affect the rights Borrower has - ifany - with respect to the Mortgage
Insurance under the Homeowners Protection Act of 1996 or any other law. Theserights may Include the right
io recelve certain disclosures, fo request and obtain cancellation of the Mortgage Insurance, to have the
Mortgage Insurance terminated autom atically, and/or to recelve a refund ofany Mortgage Insurance premiums
that were unearned at Ue ime of such cancellation or termination.

11. Assignment of Miscellaneous Proceeds; Forfelturc. All Miscellaneous Proceeds are hereby assigned to
and shall be pald'io Lender. ;

[Fthe Property is damaged, such Miscellancous Peoceeds shall be appiled to restoration or repair of lhe Property,
if the restoration or repair ls economically feasible and Lender's security is not fessened, During such repair and
restoration period, Lender shall have the right to hold such Miscellaneous Proceeds until Lender has had an
opportunily to inspect such Property (o ensure Che work has been coinpleted to Lender's satlsfaction, provided that
such Inspection shal! be undertaken promptly, Lendermay pay for the repairs and restoration In a single disbursement
or in asertns of progress payments as the work Is completed. Unless avagreomentis made In writlng of Applicable
Lav requires Interest to be pald on such Miscellaneous Proceeds, Lender shall not be required to pay Borrower any
Interest or camnings an such Miscellaneous Proceeds, If the restoration of repair is not economically feastbte ur
Lender's security would be lessened, the Miscellanceus Proceeds shall be epplicd to the sums secured by this Security
Instrument, whelheror not then due, with Ur excess, if any, pald (o-Rorrower. Soch Miscellaneous Proceeds shall
be applled In the order provided for ia Section 2,

In the event of a tolal isking: destruction, of loss in value of the Property, the Miscellancaus Proceeds shal! be
applied to the sums secured by this Security Instrument, whether or not then-due, with the excess, if any, paitl to
Rorrower. .

fn the event of a partlal taking, destruction, or loss (n value uf the Property In which the fair-markei value of
ihe Property (Immediately before the partial taking. destruction, or loss In value is. equal (o or greater than the amount
of the sums secured by this Security [nsieument immediately before the partial taking, destrucUon, oF loss in value,
unless Borrower tad Lender otherwise agree in wring, (he sums secured by this Securi ty Instrument shall be reduced
by the amount of the Miscellaneous Proceeds multiplied by the following fraction, (a). the total ammount of the sums
secured Immediately before the partial taking, destruction, or loss in value divided ly (0) the falr market value of the
Property immediately before the partial taking, destruction. o¢'loss in-value. Any balance:sfiall be pald to Borrower.

Io the event ofa partlal taking, destruction, or loss In value of the Property in which Uie falranarkel value of
the Property Immediately before: the parilal taking, destruction, or foss'In yalne-fs less than-the amount of the sums
secured: Immediately before the partial (aking, destruction, or toss. (0 value, unless Borrower anil Lender-otherwise
-agree fx weillng, the Miscellancaus Proceeds shall be apalied to the sums secured by this Security Insirument whether
QO or pat the sums are then due.

Sal If the Property Is abandoned by Borrower, or if, afler notice by Lender (o Borrower that the Opposing Party (as
defined In the next-sentence) offers (0 niske:an award lo seltic a claim for damages, Borrower fails to respond to
Leniinr within 30 days after the date the police Is given, Lender is authorized (o-collect ant apply the Miscellaneous
Proceods elther (o restoration or repair of the: Property or (o (he sums secured by thls Security Instrument, whelher

 

 

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or hot then due, “Opposing Party” means the-third party that owes Borrower Mbcellanvous Proceeds or the party
against whom Borrower has aright of action tn regard to Miscnllaneous Proceeds,

Borrower shall be in default Jf'any-action or proceeding, whether civil or eciminal, is begun that, In Leader's
judgment, could result In forfetture of (he Property ar other material (inpairment of Lender's interest in (he-Property
or rights under this Security Instrument. Borrower can cure such a defaultand, Weccelerallon has occurred, reinstate
as provided In Seétlon 19, by causing the action or praceeding to be dismissed with a ruling that,-In Lender's
judgment, precludes forfelture of the Property or other material impairment of Lender's Interest In the Property or
rights under this Security Instrument. The proceeds of any award or cfalm for damages that are attributable to the
impairment of Lender's Interest in the Property are hereby assigned and shall be paid te Lender,

All Miscellancous Procneds that are nat applied to restorallon or repair of the Property shall be applied in the
order provided for in Section 2.

12. Borrower Not Released; Forbearance By Lender Not a Walyer. Extension of (he Uma for payment or
modifleatlon of amortization of the sums secured by this Securlty Instruninnt granted by Lender ta Borrower or any
Successar in Interest of Borrower shall nal aperate ta release the liability of Borrowor or any Successorsin Interest
of Borrower, Lender shall not be required to commence procesdings againstany Successor tn Interest of Horrower
or to refuse to extend time for payment or otherwise modLfy amortization af the suis secured by thls Secucity
Instrunvent by reason of any demand imade by the original Borrower orany Successors In Interest of Borrower, Any
forbearance by Lander tn exercising any right or remedy including, without Hmitation, Lender's acceptance of
payments from third persons, entitles or Successors In Interest of Borrower or in amounts Jess than (he amount then
due, shall nol be a walver of or preclude the exercise of any right or remedy.

13. Joint and Several Llabillty; Co-signers; Successors and Assigns Bound. Borrower covenants and agrees
that Borrower's obligations and lability shall bejolnt and several. However, any Borrawer who co-signs this Security
Instrument but does nat execute tha Note (a “co-signer"}: (a) ts co-slgning this Security Instrument only ta mortgage,
grant-and convey (he co-signer's Interest in the Property under the terms of this Securtty Instrument; (b) is not
personally obligated to pay the sums secured hy this Secucity Instrument; and (c) sprees that Lender and any other
Borrower can agree (o extend, modify, forhear ar make any accommodatlons-with regard ta the terms of this Security
Instrument or the Note withour the ca-signer's consent.

Subject to the pravistons of Section 18, any Successor in Interest of Borrower who assumes Horrower's
abligatlons under this Security Instrument in writing, and Is approved by Lender, shall obais all of Borrower's rights
and bencfils under thls Security Instrument. Borrower shall not he released from Borrower's obligations and tlability
under (his Security Instruntent untess Lender agrees to such release ln writing. The covenants and ngreements of this
Security Instrument shall bind (except as provided in Section 20) and benefit the successors.and assigns of Lender.

14. Loan Charges. Lender rany-charge Borrower fees for services performad in connection with Borrower's
defaull, for the purpose of protecting Lender's Interest In the Property and rights under this Security Instrument,
including, but not limited to, attorneys’ fees. property inspectlon and valuation fees, In rigacd (a any other feos, the
alsence of express authority in this Securlty Instrument (6 tharge-a specific fee to Borrower shall not ‘be construed
asa prohibition on the charging ofsuch feo, Lenter may not charge fees that areexpressly probiblted by this Securlty
Instrument or by Applicable Law, .

Ifthe Loan Ls subject toa law whlelr sets maximum lean charges, and that Jaw Is Mnally interpreted so that (he
interest of ather loan charges collected or to be collected tn connection with the Loan exceed the permiited:-timlts,
then: (a) anyrsuch loan chacge shall be reduced by the amountnecessary lo reduce the charge lo the pormitied limit;
and (b) any sums already collected fram Borrower which exceeded permiited limits will be refinded to Borrower,
Lender may choose to make this refund by reducing the principal owed under the Nale or by making-a direct payment
to: Botrawer.. If a refund reduces princtpal, the reduction will be Ireated’as a parilal prepayment without any
prepayment charge (whether or not a prepayment charge {s-provided for.under the Note). Borrower's acceptance of
any such refund made by direct payment ta Borrower will constitute’ walver of any right of action Borrower mipht
have arising out-of such overcharge. / .
inf 15, Notices,. All notices given by Borrower or Lender in connection with this Securlty Instrument must be in

writing... Any nailce {0 Borrower in connection with this Security Instrument shall be deemed to have been givento
Q Borrower whon matled by first class mall or when actually delivered to Borrower's notlce address if'sent by other
mivans. Notlee-io any one Borrower shall constitite notice lo-all Borrowers unless Applicable Law expressly requires

 

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otherwise, The notice address shall be the Property Address unless Borrowor has designated a substitute notice
address by notlee to Lender, Borrower shall prampily nollly Lender of Borrower's change af address, If Lender
species a-pracedure for reporting Borrower's change of address, thea Borrower shall only report a change of address
through (hal specified procedure, There may be only one designated-notice- address under this Security Instrument
atany onetime, Any nolice (o Lentershall be given by delivering {tor by mailing it by first class mail to-Londec's”
addresé stated herefn unless Lender has designated another address by notice to Borrower. Any-nollce in connectlan
wlth this Security Instcuraent shall not be deemed (o have been given Co Lender until actually recelved by Lender.
Ifany*nollce requized by this Securlty Instcument {s:also requited: under Applicable Law, the Applicable Law
requitement will satisfy the corresponding requirement under this Securlly Instrument.
18. Governing Law: Severabillty; Rules of Construction, This Security Instrument shall- be povernad by
‘federal taw andthe faw of the Jurisdiction in which the Propercy ls located. Ali rights and obligations cantained in
this: Security Instrument are-subject to'any requirements and. limitations of Applicable Law, Applicable Law might
expliclily.or Implicttlyallow the: partles to-agree by contract or It might be silent, but such silence shall not be
construed as a prolfbition ogainst agreement by contract, {nthe event that any provision or-clause of thls Security
Instrument or the Note conflicts with Applicalle Law, such conflict shall not affect other provisions ofthis Security
Tnstrumen(:or the Note which can-be:given effect without the conflicting provision.
Ag used'in this Securily Instrument: (0). wards of the masculine gender shall mean and include corresponding
neuter words or words of the feminine gender; (b) words tn the singular shall meanand Include the plural and vice
versa; and (c) the word “may” elves sole disccelion without any obligation to take-any action.
17. Borrower's Copy, Borrower-shall be given 6ne copy of the Note ond of this:Security Instniment.
18. ‘Transfer of the Property ora Beneficial Interest in Borrower, As used In this Section [8, "Interest in
the Property” menns any legal or beneficial tnterest In tho Property, inchiding, but not limited 10, those beneficial
Interests transferred in s bond for deed,.contract for deed, Installment sales contract or escraw agreement, the intent
of whleli Is (he trarisfer of (Ue by Borrower al a future:dafe to a purchaser,
If all or any part of the Property or any Lnterest inthe Property is sold-or transforred (or If Borrower is not z
natural person and a beneflelal interest in ‘Borrower Is sold or transferred) without Lender's prior written, consent,
Lender may require finmediate payment In full of all sums secured by this Security Instrument. However. this apiiog
shall. not be exercised by Lender if such exercise Is prohiblied by Applicable Law,
If Lender exercises this-aption, Lender shall give Borrower notice of acceleration, ‘The notice shall provide a
period of nat less tan 30 days from the date the natler is given'in accordance with Section 15 within which Borrower
must pay-all sums secured by this Security Instcument If Borrawer falls {o.pay thest-sums prior to the expiration of
(his perio, Lender may invake any remedies permitted by this Security Instrument swithout further notice or demand
on Borrower,
19. Borrower's Righi to Relnstate After Acceleratlen. If Borrower meets certain conditions, Borrowershall
have the right to have onfarcentent of this Security Instrument discontinued atany time’ prior to-the eartlest of: (a)
five days before sale of Ihe Property pursuant (0 any power of sale ‘contained In this Securlty (nsteument; (b) such
ather periad as Applicable Law might specify fur the termination of Borrower's right-lo reinstate; or (ce) eniry of a.
judgment enforcing this Security Instrument... Those-condltions are that Borrower: (s) pays Lender all sums which
then vould be due under this Security Instrument and the Note as ifno acceleration had occurred: (b) cures any default
of any other cavenants ar agreements; (t) pays all expenses incurréd In enforcing this Security Instrument, including,
but no! limited (0, reasonable atorneys’ fees speaperty inspection and valyatian fees, and other fees Incurred for the
purpose of protecting Lenier's interest inthe Property and rightsunderahis Security Instcument; and. (d) takes such
action'as Lender may reasnnably require to assure that Lendér's fnerest in the Property and cights under this Security
Ingtrumenit, and Borrower's abllgation to pay the sums secured by this Securlty Instrument, shall continue unchanged.
Lender may reqifre that Borrower pay sich relostatement sums and expenses In ane’or more of the following farms,
‘as selected by Lender: (a) cash; (6) money-order; {c) certified check, bank check, treasucer’s chock or cashler's check,
a provided any such check is drawnuponan institution whose depositsiare Insured bya federal agency, instrumentality

orentlty;or (d) Electronic Funds Transfer. Upon reinstatement by Borrower, this Securliy Instrumien( and obligations
secured hereby shall remsin fully effective.as ff no: atceleration-had. occtirred, Hotwever, this ripht ta reinstate shall
nat apply In the case of acceleration under Section 18,

 

 

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20. Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial Interest In the Note
(together with this Security Instrument) can be sold one oc more {imes withoul prior nolice to Borrower. A sale might
resull in a change in the ently (known as the “Loan Servicec") that collects Periodic Payments due under the Note
and this Securlty Instrument and performs other mortgage loan servicing obligations under the Note, this Security
Instrument, and Applicable Law. There alsa might be one or more changes of thr Loan Servicer unrelated lo a sale
of the Note. [there is a change of the Loan Servicer, Borrower will be given written nolice of the change which will
slate the name and address of the new Loan Servicer, the address to which payments should be madeand-any other
information RESPA requires In connectlon with a notice of transfer of servicing. H the Note is sold and thereafter
the Loan Js serviced by a Loan Servicer other than the purchaser of the Note, the mortgage loan servicing obligations
to Borrower will remain with the Loan Servicer ar bo transferred to a successor Loan Servicec and are not assumed
by the Note purchaser unless otherwise provided by the Note purchaser, .

Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either an individual
Hilgant orihe member of a class) that arises from the other party's aclions pursuant to this Security Instrument or that
alleges that tho other party has breached any provision of, or any duty owed by reason of, this Security Insirument.
until such Borrower or Lender has notlfied the other party (with such notice given in compliance with the requirements
of Section 15) of such alleged breach and afforded the other party hereto a reasonable period after the giving of such
notice to take corrective action. If Applicable Law provides a time periad which must elapse before certain actlon
can be taken, that time period will be deemed to be reasonable for purposes of this paragraph. The notice of
acceleration and opportunity to cure given to Borrower pursunni to Section 22 and the notice of acceloration given
to Borrower pursuant to Section 19 shall be deemed (o satisfy the nolice and opportunity to take corrective action
provisions of this Section 20.

21, Hazardous Substances. As used !n this Section 21: (a) “Hazardous Subslances" are those substances
defined as toxlc or hazardous substances, pollutants, or wastes by Environmental Law and the following substances:
gasoline, Kerosene, other flammable or toxic petroleum products, toxic pesticides and herbicides, volatile solvents,
materials containing asbestos or formaldehyde, and radioacilve materlals; (b) “Environmental Law" means federal
laws and laws of {he Jurisdictlon where the Property js located that relate to health, safety or environmental protectton;
(©) "Environmental Cleanup” includes any response action, remedial action, or removal action, as defined in
Environmental Law; and (d) an "Environmental Condition" means a condition that can cause, contribute to, or
otherwise trigger an Environmental Cleanup.

Borrower Shall not cause or permit the presence, use, disposal, storage, of release of any Hazardous Substances,
or threaten to release any Hazardous Subsiances, on or in the Property, Borrower shall not do, nor allow anyone else
{o do, anything affecting the Property (a) that Is in violation of any Environmental Law, (b) which creates an
Environmental Condition, or (c) which, due to the presence, uso, or release of a Hazardous Substance, creates a
condition (hat adversely affects the value of the Property. The preceding two sentences shall not apply to the
presence, use, or Storage on the Property of small quantities of Hazardous Substances that are generally recognized
to be appropriate to normal residential uses and (0 maintenance of the Property {including, but not limited to,
hazardous substances in consumer products).

Borrower shall promptly give Lender wrilten nolice of (a) any Investigation, claim, demand, lawsult or othec
action by any goverumental or regulatory ageocy or privale party involving the Property and any Hazardous Substance
or Environmental Law of which Borrewer has actual knowledge, (b) any Environmental Condition, including buc not
Rmited to, any spilling, leaking, discharge, release or threat of release of any Hazardous Substance, and (c) any
condition caused by the presence, use or release of a Hazardous Substance which adversely affects the value of the
Property. If Borrower learns, or Is notified by any governmental or regulatory authority, or any private party, (hat
any removal or other remediation of any Hazardous Substance affecting the Property is necessary, Harrower shall
prompily take alt necessary remedial actlons in accordance with Environmental Law. Nothing herein shall cecate any
obligation on Lender for an Environmental Cleanup.

 

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e NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:
22. Acceleration; Remedies. Lender shall glve nodce to Borrower prior to acceleration following
Q Borrower's breach of any covenant or agreement in thls Security Instrument (but not prior (o acceleration under
ut Section 18 untess Applicable Law provides otherwise), The notice shall specify: (a) the default; (b) the actlon
a
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required (o cure the default; (c) a date, not less than 30 days from the date the notice is glven to Borrower, by
which the default must be cured; and (d) that failure to cure the default on or before the date specified in the
notice may result In acceleration of the sums secured by thls Security Instrument and sale of the Property, The
notice shall further Inform Borrower of the right to reinstate after acceleration and the right to bring a court
action to assert the non-existence of a default or any other defense af Borrower to acceleration and sale, Ifthe
default is nol cured on or before the date speclfled In the notice, Lendecat Ms optlon may require Immediate
payment In full of all sums secured by this Security Instrument without further demand and may invoke the
power of sale and any other remedies permitted hy Applicable Law. Lender shall be entitled ta collect all
expenses incurred in pursuing the remedies provided In this Sectlon 22, including, but nat Umited to, reasonable
attorneys' fees and costs of iltle evidence.

If Lender invokes the power of sale, Lender shall execule or cause Trustee (o execute a written notice of
the occurrence of an event of default and of Lender's electlon to cause the Property to be sold, Trustee shall
cause this notice to be recorded In each county In which any part of the Praperty Is located. Lender or Trustee
shall mail coples of the notice as prescribed by Applicable Law ta Barrower and ta the other persons prescribed
by Appilicable Law, Trustee shall glye public notice af sale to the persans and in the manner prescribed by
Applicable Law, After the ime required by Applicable Law, Trustee, without demand on Borrower, shall sall
the Property at public auction to the highest bidder at the time and place and under the (erms designated In the
notice of sale In one or more parcels-and In any order Trustee determines. Trustee may postpone sale of all or
any parcel of the Property by public announcement at the time and place of any previously scheduled sale.
Lender or its designee may purchase the Property al any sale.

Trustee shall deliver to the purchaser Trusice’s deed canveying the Property without any covenant or
warranty, expressed or implied. The recitals in the Trustee's deed shall be prima facle evidence of the truth
of the statements made therein. Trustee shall apply the proceeds of the sale in the following order: (a) to all
expenses of the sale, Including, but not limited to, reasonable Trustee's and attorneys’ fees; (b) to al] sums
secured by this Security Instrument; and (¢) any excess to the person or persons lepally entitled to it.

23, Reconveyance. Upon payment of all sums secured by this Secu rity Instrument, Londor shall request Trustee
to reconvey the Property and shall surrender this Security Instrument ani all nates evidencing debt secured by this
Security Instrument (o Trustee. Trustee shall reconvey the Property withouwl warranty to the person or persons legally
entitled (o lt, Lender may charge such person or persons a reasonable fee for recanveying the Property, but only if
the fee Is paid to a third party (such as the Trustee) for services rendered and the charging of the fecis permitted under
Applicable Law. [the fee charged dors not exceed the fee set by Applicable Law, ihe fee is conclusively presumed
to be reasonable. :

ad, Substitute Trustee, Lender, al its option, may from Ume to time appolnl a successor trustee fo any Trustee
appointed hereunder by an Instrument executed and acknowledged by Lender and recorded In the office of the
Recorder of the county in which the Property Is located. The instrument shall contain the name of the original
Lenier, Trustee and Borrower, the book and page where this Securlty Instrument ts recorded and the flame and
address of the successor triste. Without conveyance of the Property, the successor Lrusice shall succeed.to all the
title, powers and dulies conferred upon the Trustee herein and by Applicable Law. This procedure for substitution
of (rustee shall govern to the exclusion of al! other provislons for substitution.

25, Statement of Obligation Fee. Lender may collect a fee not lo exceed the maximum amount permitted by
Applicable Law for furnishing the statement af obligation as provided by Section 2943 of the Civil Code of California.

 

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BY SIGNING BELOW, Borrower accepts‘and agrees to the terms and covenants contained in this Security
Instrument and In any Rider executed by Borrower and recorded with it.

 

gett Mspeitts (Seal) (Seal)
‘SADORE ROSENBERG - =Borrower -Bocrower

 

 

 

 

 

 

=.» (Seal): (Seal)

-Burrower -Dorrower

- (Seal) ee ee ee St)

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Witness: Witness::

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_—— [Space Below This Line For Acknowledgmant]°————————

State of California x
3 55.

County of. LOS GELES

On DUPE 2e50-7 before me, [R= S Alfie Are. atte Pusbe.

pecsonally appeared ISADORE ROSENBERG

 

 

 

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SF ertuel capaclty (eS), anit that AS/her/thelr stpnature(s) an the ment the person(s), or the entlly wpan

behalf of which the persan(s) acted sextaued {he instrument,

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RD. SALAZAR f Se
* Commission # 1465444 = ryote =
Ke ES Notary Public - Ccllfornto 2 NOTARY SIGNATURE ;

Los Angaia: County
Py Comms. Badin Feb 4, 2008
SPE ar, e.A- srt Ane eS

{Typed Name of Notary)

 

NOTARY SEAL

 

CALIFORNIA: Single Family—Fannia Man/Freddla Mac URE ORM INSTHUMEN'T - MERS DocMagle Uy Sevan sont gas 2s7

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Loan Number: 1080101956
Date: MARCH 1, 2007

Property Address: 15814 SEPTO STREET, NORTH HILLS AREA, CALIFORNIA
91343

EXHIBIT "A"

LEGAL DESCRIPTION

Lot 15 of Tract No. 16376, In the City of Los Angeles, County of Los Angalas, State of
Callfornia, as per map recorded in Book 507 Pagas 5 and 6 of Maps, In the office of the

County Recorder of said county.

Except therefrom all olls and minerals jn and under said land, but without the right of antry
to the surface or subsurface of sald Jand, to a depth af 500 feet, os reserved by
Raven-Splegel Construction Co., a Corporation, in Book 5OGE3 Page 227, Official Records.

 

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MIN: 100039307020288900 Loan Number: 1080101956

ADJUSTABLE RATE BALLOON RIDER
(MTA - TWELVE MONTH AVERAGE INDEX - PAYMENT CAPS)

THIS ADJUSTABLE RATE RIDER is made this 1st day of MARCH '
2007 _ and §s Incorporated into and shallbe deemed to amend and supplement the Mortgage,
Deed of Trust ar Security Deed (the “Securily Instrument") of the same.date given by the undersigned
(the “Torrawer") to secure Borrower's Adji(stallt Rate Note:(the "Note*) to. AMPRO MORTGAGE) A
DIVISION OF UNITED FINANCIAL ‘MORTGAGE CORP,; AN ILLINOIS CORFORATICN
{he "Lender") of the same date. and cavering the property described in the Security Instrument and located al:
15814 SEPTO STREET, NORTH HILLS AREA, CALIFORNIA 913 43

[Property Address}

THIS NOTE CONTAINS PROVISIONS THAT WILL CHANGE THEINTEREST RATE
AND THE MONTHLY PAYMENT. THERE MAY BE A LIMIT ON THE AMOUNT
THAT THE MONTHLY PAYMENT CAN INCREASE. UNLESS YOU MAKE
VOLUNTARY PREPAYMENTS, THERE MAY BE NEGATIVE AMORTIZATION
DURING THE LIFE OF THE LOAN. AS SUCH, THE PRINCIPAL AMOUNT YOU
WILL BE REQUIRED TO REPAY COULD BE GREATER THAN THE AMOUNT YOU
ORIGINALLY BORROWED. THE INTEREST RATE CAN NEVER EXCEED THE
LIMIT STATED IN THIS NOTE.

THIS LOAN IS PAYABLE IN FULL AT MATURITY. YOU MUST REPAY THE
ENTIRE PRINCIPAL BALANCE OF THE NOTE AND UNPAID INTEREST THEN
DUE, THE LENDER IS UNDER NO OBLIGATION TO REFINANCE THE LOAN AT
THE TIME. YOU WILL, THEREFORE, BE REQUIRED TO MAKE PAYMENT OUT
OF OTHER ASSETS THAT YOU MAY OWN. OR YOU WILL HAVE TO FIND A
LENDER, WHICH MAY BE THE LENDER YOU HAVE THIS LOAN WITH,
WILLING TO LEND YOU THE MONEY. IF YOU REFINANCE THIS LOAN AT
MATURITY, YOU MAY HAVE TO PAY SOME OR ALL OF THE CLOSING COST:
NORMALLY ASSOCIATED WITH A NEW LOAN, EVEN IF YOU OBTAIN
REFINANCING FROM, THE SAME LENDER,

ADDITIONAL COVENANTS. In addition to the covenants and agreements made in the Security
Instrument, Borrower and Lender further covenant and agree as follows:

4. INTEREST RATE AND MONTHLY PAYMENT CHANGES
The Nole provides for changes in the intercsi rale and monthly payments as follows:

2. INTEREST
(A) Interest Rate
Interest will be charged on unpatd Principal beginning on the lst day of APRIL :

 

Qo 2007 , and continulng unill ihe full amount of Principal has been paid.
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Interest will initfally be charged at a yearly rate of 8.375 %, The interest rate ] will be charged
may clinnge.

Tite Interest rate required by this Sectlon 2 of this Note Js the rate } wilt be charged bath before and
after any default described in Secilon 7(B) of this Note,

(B) Interést Rate Change Dates

The Interest cate I will be charged may change onthe 1st day of MAY ;
2007 , and on that date every month thereafter. Each date on which m
Interest rate couldechange is called an “Interest Rate Change Date.” Thenew rate af interest will become
effective on each Interest Rale Change Date. .The interest rate may change monthly, but the monthly payment
will be recalculated in accordance with Section 4.

(C) Interest Rate Limit

My Intorést: rate-will nover, be: grealer'tlian 11.950 %, Bepinning with the first Interest
Rate Change‘Date, nry-lnterest rate-will-never-be lower than the Margin {es-ileflned In Section 2(E)).

(D) ‘The Index

Beginning with the first Interest Rate Change Date, my interest rate-will fic based on an Index, The
"Index" Is the "Twelve-Month Average" of the annual ylelds on aclively traded United States Treasury
Securliies adjusted (o a constant maturlly of-one year as published by the Federal, Reseive foaril.in the
Federal Reserve Statistical Release enililed "Selected Interest Rates (H.15)" (ihe "Monthly Yields"), ‘The
‘Twelve Mantli Average Isdetermined by adding togelher the Monthly Yields for-the most recently available
iWelve months and dividing by 12. The most recent index figure available us of the date 15 days before cach
Interest Rate Change Date is called the "Current Index."

[f the Index is-rio longer available, the Note Halder will choose a new tndex which will be based upon
comparable information. The Note Holder will give me notice of this choice.

(E) Calculation ef Interest Rato Changes

Before each Interest Rate Change Date, (he Note Holder will calculate my new Interest rate hy adding
THREE AND 448/1000 percentage paint(s) ( 3.448 %)
("Margin") ta the Current Index, The Note Holder will then ratud the result of this addlllan to the nearest
ane-eighth of one percentage palnt (0.125%). This rounded amaunt will be my new interest rate until the
next Inlerest Rate Change Dale.

3. PAYMENTS

(A) Time and Place of Payments

Twill inake a payment every month.

1 willanake my monthly paymentsaf any, escrow paynients Nore Holder. may require under the
Sceurity ugirumont onthe Ist day ofeach month beginning an, MAY, 2007 : ; :

Twill make my snonthily, payinents of Principal and/or fntereston the Ist day of eachmonth
heginwingon MAY 1, 2007 »Dwill ake (hese payjinentsovery mont unill T have
paid all-he Principal and Interest anil dny other charges described below: that [ may awe Under this Noto,
Each monthly payment will be applied as of Its scheduled due date and wlll be applied to interest: before
Principal. Wan APRIL 1, 2037 _ Est oweamounts under this Nets, P@llp pay those
amounts in full on that date, which is called the “Matuclty Date."

[ will make my monthly payments ad =9PO BOX 780, WATERLOO, IOWA

 

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or ata different place if required by the Nale Holder.
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(B) Amount of My Initial Monthly Payments

Each of my Initial monthly payments untll the first "Payment Change Date" (as defined In Section
3(C)) will be in the amount of U.S. $ 1,232.95 unless adjusted under Secilon 3(F) of this
Note. My iniflalmonthly payment is an amount that would be suffictent to repay lhe ortginal Principal
amount I borrowed In full in substantially equal payimunts over the Amortization Periad (defined below) if

my yearly rale was 2.250 % Instead of my actual yearly-Interest rate set forth In Section 2(A)
of this Note. The “Amortization Period” Is the 40 year period beginning onthe 1st day of
MAY, 2007 7

(C) Payment Change Dates ; ;

My: mouthly payment may change as yeqiilred by Section-4(D) below begluntngon the 1st
dayof MAY, ZO008 _ and on thal dale every 12% monly thereafter. Each of these
dates Is called a "Payment Change Date." My monthly paymentalso will change al any tlie Section 3(F)
or 3(G) below requires me to pay a different monthly payment. The "Minimum Payment" ts the minimum
amount the Note Holder will accept for my monthly payment, which the Note Holder will determine (n
accordance with Section 3(D) or as provided In Sectlon 3(F) or 3{G) below, Ifthe Minimum Payment isnot
sufficient lo cover the amount of interest due, then negative amarilzation will occur. (Negative amortization
nccurs when the mortgage payment Is smaller than the interest due, which causes (he Principal balance to
Increase rather than decrease.)

Twill pay the amount of my new monthly payment cach month beginning on each Payment Change
Date or a5 provided in Section 3(F) or 3(G) below.

(D) Calculation of Monthly Payment Changes

At least thirty (30) days before each Payment Change Date, the Note Holder will calculate the amount
of the monthly payment thai would be sufficient to repay the unpaid Principal (hal ] am expected to owe al
the Payment Change Date in full over the remainder of the Amortization Period in substantially equal
installments at the Interest rate in effect during the month preceding the Payment Change Date. The resull
of this calculation is called the "Full Payment." Unless either Section 3(F) or a(G) below applies, the
amount of my new monthly payment effective on a Payment Change Date will not increase by more than
7.5% of my prior Minimum Payment. This 7.5% limitation ts called the "Payment Cap.”

The Payment Cap applies only to the Princlpal and Interest payment and does not apply to any escrow
payments Note’ Holder may require under the Security {stramient. The Note Holder will apply the Payment
Cap by taking the emount of my Minimum Payment due the month preceding the Payment Change Date-and
maltiplying I bythe mumber1,075. The-rasull of this calculation is called (he “Limited Payment.” Unies
either Sectlon 3{F) or 3(G) below requires me to pay a different amount, my new Minimum Payment will
be the lesser-of the Limiled Payment and the Full Payment. | also have the option to pay the Full Payment
for my monthly payment.

{E) Additions to My Unpaid Principal

Since iny payment amount changes less (frequently than the Interest rate, and since ihe monthly
payment fs subject to the payment limltntions described In Secllon 3(D), my monthly payment could be Irss
than or preater than (he amount of the interes! partion of the monthly payment that would be sufficient te
repay the unpald Princlpal J owe at the monthly payment date in ful] over the remainder of the Amortizallon
Period In:sulistantially equal payments. For each month that ny monthly payment Is tess than Ore interest
portion, the Note Holder will subtract (he inonthly payment from the amount of (he interest portion and will
add the difference my unpaid Principal, and Interest will acerueén the am vun bol Uilsdifference at the then
current Interest rate determined in accordance with Section 2. For each month that the monthly payment is
greater than the Interest portion, the Nofe Holder will apply the payment as provided in Section 3(A).

 

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(B) Limit on My Unpald Priacipal; Increased Monthly. Payment

My unpald Principal may never exceed a. maximum amount equal to 115.000 % of the
Prine|pal amount I originally horrowed, My unpald:Principal balance could exceed the Maximum Limit
( 115.000 % of my original Principal amount) due (o Minimum Payments and Interesl rate

increases. [n thai event, on the dale that my paying my monthly payment would cause me to eacced that
limit, L will instead pay a new monthly payment ull the next Payment Change Date. This means that my
monthly paymentimay change more frequently than annually and the payment changes will not be limited
by the 7.596 Payment Cap. ‘The new Minimum Payment will be in an amount (hal would be sufficient to
repay iny then unpaid Principal in full aver the remainder of the Amortization Perlod in substantially equal
installments al the {nterest rate in effect during the preceding month.

(G) Required Full Payment

Regardlessof the Payment Cap limitation described In Section 3(), on the ith Payment Change Date
and on each succeeding fifth Payment Change Dale (hereafler, 1 will begin paying the Full Payment as my.
Minimum Payment unl my monthly payment changes again. Ialso will begin paying the Full Payment as
my Minimum Payment on the fMnal Payment Change Dale.

(H) Payment Options

After the first Interest Rate Change Date, the Nolte Holder may provide me each manth with up to four
(4) payment Options, three of which may be grea(er than the Minimum Payment, and all of which are called
“Payment Options.” The Payment Opitons that may be available are:

Q) 9 Mlatmum Payment: This is theminimuny amount Note Holder will acceptas my monthly
payment. Thls-amount will be provided by Note Holder after the First Interest Rate
Change Date and monthly thereafter, The Principal balance will nol be decreased by this
Payment Opilon. If the Minimum Payment isnot sufficient to cover the amount of interest
due, (lien negalive amortization will occur, (Negative amortization occurs when the
mortgage payment Is smaller than (he Interest due and that causes the Principal balance to
increase ralher than decrease.)

(2) Interest Only Payment: This is the amount that would pay only the Interest on the
Principal at the current interest rate. The Principal balance will not be decreased by this
Payment Option.

(3) 30 Year Amartized Payment: This Is the amount necessary to pay both the Principal and
interest in full at the Maturity Date in substantlally equal payments, This Payment Option
Is calculated on the assumption that the current inferest rate will remain in effect for the
cemaining lerm of this Nate; however, the current interest rate may in fact change every
month.

(4) 15 Year Amortized Payment: This Is the amount necessary lo pay both the Principal and
interest in full within a fifleen (15) year term from the Gest payment due dale Jn
substantially equal payments. This Payment Option is calculated on the assumplion that
the current interest rate will rematn in effect for the remaining term af this Note; however,
the current interest rate may in fact change every month.

T may use the Payment Optlons reflected in H.(2) through H.(4) only If they are greater than the
Minimum Payment, If any. of these Payment Options results in a payment amount that is less than the
Minimum Payment, & must sill make the Minimum Payment.

 

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(1). Fallure to Make Adjustments

If-for any reason the Note Holder fails to make an aijusinont fo the interest-rate or payment-amoual
as described in this Note, regardless of any notice requirement, I agreaithe Note Holulee-may, upon discovery
of such fathire, thenmake the adjustment ax [fthey had beowmadeon timo, Talsoagree notte hold dhe Nore
Holder responsible for any damages to me which may cesult front the Note Huluor's:fallute to make the
adjustmunt and'to Tet the Note Holder, at Ils option; apply any: excoss: monies which may have paul 'w
parilal Prepayment of unpald Principal.

B, TRANSFER OF THE PROPERTY OR A BENEFICIAL INTEREST IN BORROWER
Section 18 of the Securlty Instrument ent{tled "Transfer of the Property or a Benefictal Interest In

Borrower" Is amended fo read as follows:

Transfer of the Property or a Beneficial Interest in Borrower, As used in this Section
18, “Interest in the Property" means any legal or beneficial Interest In the Property, including,
bul not linited to, those beneficial interests Iransferred In a bond for deed, contract for deed,
installment sales contract or escrow agreement, the intent of which ts the transfer of title by
Borrower at a fulure date toa purchaser.

If all or any part of the Propecty or any Interest In the Property is sold or transferred (or
if Borrower is not a natural person and a beneficial Interest in Borrower Is sold or transferred)
without Lender's prior written consent, Lender may require immediate payment in full of all
sums-secured by thls Security Insirwment, However, (his option shall not be exercised by
Londer if such exercise {s prohibited by Applicable Lew. Lender also shall not exercise this
option if: (a) Borrower causes.to be submitted to Lenier information required by Lender to
evaluate the Intended transferee as if 2 new loan were being made to the transferee: and (b)
Lender reasonably determines that Lender's security will not be Impaired by the Joan
assumption and that the risk of a breach of any covenant or agreement in this Security
Instrument is acceptable to Lender.

To the extent permitted by Applicable Low, Lender may charge a reasonable fee as a
cnitition to Lender's consent to the loan ussumotion, Lender also may require the transferee
lo-sign an -assumptlon agreement (hat {s accexable (o Lender and that obligates the transferee
to keep all the promises and agreements made in (he Note andin this Sécurily Instrument.
Borrower will continue to be obligated under the Nate and this Security Instrument unless
Lender releases Borrower In writing,

If Lender exercises lhe opllon to require immediate payment in full, Lender shall give
Borrower nolice of acceleration. The notice shal) provide a period of not less than 0 days
from the date the notice 1s given In accordance with Section 15 whthin which Borrower must
pay all sums secured by this Secuclty Instrument, If Borrower fails to pay these sums prior to
the expiration of this period, Lender may invoke any remedies permitted by this Security
Instrument without further natice or demand on Borrower.

 

 

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‘we

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained [n this
Adjustable Rate Rider,

Aude Cease 27. (Seal) (Seal)
S$ EB ——— we -Borrawer

 

 

 

 

 

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-Borrower «Borrower

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When recorded mail document to: “20082107880
NAME steven Mark Rosanberg On

ADDRESS 15814 Septo Street

cy North Hills
STATES AP) = Galifomia, 91343

 

above Space for Raconters Ven Only
wie AFFIDAVIT OF DEATH OF TRUSTEE

Assesor's Porcel Number: =. 2669-025-OL5

State of Califomla
County of _Los Angeles }

Steven Mark Rosanbore _ of legal age, being first duly swom, deposes and says:
1. _¥sadlore Rosenborg __, the decedent mentioned in the attached certified
copy of Certificate of Death, Is the same person named as Trustee In the certain Declaration of

 

 

Trustee Daled May 04,1990 Ss executed by_Momna P. Rosenberry

___and Tsadace taxanberg —————— as trustorfs).

2. Al the time of the decedent's death, decedent was the owner, as Trustee, of certain real property
acquired by a deed recorded on _ Moy OW, EVO _ a8 instrument No.
90-H47083 , in the Official Records of Los Anugé.es__.__. County,

Califomla, covering the fallowing described property situated in the sald County, State of California:
Lot L5 of Tract 16376, as per map recorded in Book 507, pages 5 and 6 of
maps, in the Office of the COunty Recorder of said County.

3, | am the surviving or successor Trustee of the same trust under which sald decedent held title as

trustee pursuant fo the deed described above, and am designated and empowered pursuant lo the

Se frp. fportesey

terms of said rust to serve as Trustee lhereof.

 

Dated December 01,2008
Syev en Taek seb a
SUBSCRIBED AND SWORN TO (or affirmed) before. meson this i > r day of

zz web by proved to me on the basis of

satistactory evidence to be the persons(s) who appeared before me.

Fie te ple
Notary Signature OFFICIAL SEAL
Notary Public Cefimissioned for sald County and State & UP PATEL aria
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EXHIBIT 3

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Recorder's Office, Los Angeles County, oa
California Tax: 0.00

Other; 0.00
04/17/08 AT 0B:00AM Total: 42.00

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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San Diega, CA 92101

  
     

FS No CA 06-1532 Gan No. s002009594

IMPORTANT NOTICE
NOTICE OF DEFAULT AND ELECTION TO SELL
UNDER DEED OF TRUST

IF YOUR PROPERTY IS IN FORECLOSURE BECAUSE YOU ARE BEHIND IN

YOUR PAYMENTS, IT MAY BE SOLD WITHOUT ANY COURT ACTION. You
may have Ihe legal right.to bring your aecoun! in good standing by paying all of your past due payments
plus permilied cos's and expanses-wilhin the uine:pefmiliod by law-for roinslitemont ot your-agcount
(normally five business days prior to. the date sel lor tha sie of your properly), No-sale may bo sel until
ihroa months from the dale ints nolice of dalaull Is recorded: (w ch dale-of recordation appears on this
notice) This amounts $5,903.39 as-of 4/16/2008 and Wil increase unhl your account becomes curran|
While your properly ist foreclosure, you still must pay other oblgalians (such as insurance and
laxes) required by your nule-and deed of trust or morignge. It youl Tall to make lulure paymnenty.on the
loun, pay taxes on the property, provide insurinee en tho’ properly, of pay other ebhgations as required in
lie note and deed of luslor mortgage, the bunolilay or morgages may insist thal you do so in ortler to
reinstate your s¢countin good standing. In aadilion, the benoliciary or morlgagee may require as a
cetdilion of reinstatement that you provide refable wien evidence (hat you paid all senior-lens, property
taxes, and hazard insurance premmuins =
Upon your written request, the boneficraty. or maorgagee will gve you awnilen ilemmgatioan cf the
@nliré amount you mus! pay You may not have the pe Ihe entire unpaid portian ol your account, even
(hough full payment was demanded, bul you musi pay all amounts in default at the ime payment is made ‘
However, you and your benghomry. or mortgage may mulinally agred In. weillng prior to the lime Ihe notice i
of sale is posted (whieh may nol bo-earliar than the {lvee-menlti period stated above) (o, among other !
things, (1) provide addilional time-in which to cure the dalaull by transtor af the propelty or olhetwise, ar
(2) establsti a schedule af paynents invorder lo cure your default; er both (1) and (2) |
Follewing the expitaiian al lhe lime petiod relerred-lo in the lirs| paragdaph ol this nolice, unless the
obligation being foreclosed upan of a Separate written agreement between you and your creditor permils a .
longer period, you haye only the legal nght to slop the saie-ol your property by paying (he entre amount '
demanded by your-crediior, |
To find out the amount you mus! pay, or arrange for payment lo stop the foreclosure, or if your ;
property ts in foreclosure for any other reason, conlact:

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Indymac Bank FSB

C/O Quality Loan Service Corp.

2141 Sth Avenue

San Diego, CA 92101

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Notice of Default and Electlon To Sell Under Deed of Trusi

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pe YOU MAY LOSE LEGAL RIGHTS IF YOU DO NOT TAKE PROMPT

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MORTGAGE ELECTHONIG. - REGISTRATION STEMS, NG. AS\NOMINEE FOR AMPAO.
MORTGAGE, A DIVISION OF UNITED FINANGIAL MORTGAGE GOFR - ag Denoficanys recorded
15/2007, as Instument No 20070575007, In Book xxx) Page Xxx of Official Records in the Olfico of tha
Decoder toe, ANGELES County, Caillorma describing land lherem., o9 more fully doscribed Insold
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Sard obligations ingluding 1 NGTE(S)- FOF THE! ORIGINAL.-sum 0! $390,000 00,, hat ‘(he boneticral
interest: under such Deed of Trust-and the obligations secured ‘ihereby aro presently held by tho
uidersigned, thal'a brevch of, and default in, ho obligations for which such Deed of Trust m-sectnty has

occUtredin thal paymont has nob bagn mack of

installment 6! principal andunterest plus unpatinds and / of advances which boeama dia:o: 1/1/2008 plus
amount (hol are due oF may become: dua-for tho: folowing. Jale charges, delinquent: properly taxes,
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secutly must be cured as a conditon of reinstatement.

That by reason thereol, the present benebciary under such deed of inusl, has executed and
dolwwed lo swe uly appented Trustee, a written Decloralionof Delaultand Qemany foy same, anc has
doposited wih said duly appeinted Trustoa, such dood of trust and all documents avidencmng obligations
secured Inaeby, and has ceciarad and docs hereby dociare all suing secured thereby immediately due
and payable and bas elected and does hereby elec! to cause the ust proporty fo be sok! lorsataly the
obligations secumnd thereby

Dated. 4/16/2008 Quality Loan Service Corp,, AS AGENT FOR BENEFICIARY
BY: Fidelity National Tille Insurance Campany

Uf you have previously been discharged thraugli bankruptcy, you nay have been released of personal liability for this
loan in which case this letter is iniesideed to exercise the note holder's nghts against the real property only

 

THIS OFFICE IS ATTEMPTING TO COLLECT A DEBT AND ANY INFORMATION OBTAINEO WILL
BE USED FOR THAT PURPOSE.

As required by law, you are hereby nolified thal a negative Credit report reflecling on your credit record may be
submitted 10 a credn repon agency if you fart lo fulfill the terms of your credit obligations,

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Case 2:18-cv-10188-AG Document 42-2 Filed 08/02/19 Page 39 of 154 Page ID #:762

Case 1:17-ap-01096-VK Doc17-1 Filed 02/13/18 Entered 02/13/18 09:52:54 Desc
Exhibit Exhibits 1-14 Page 31 of 96

EXHIBIT 4

153
Case 2:18-cv-10188-AG Document 42-2 Filed 08/02/19 Page 40 of 154 Page ID #:763

Case 1:17-ap-01096-VK Doc17-1 Filed 02/13/18 Entered 02/13/18 09:52:54 Desc
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poe2nun
Recording requested by: Steven Mark Rosenberg
And when recorded, mail this deed and tax statements (
to: Steven Mark Rosenberg ~-=9noge4 17184"

15814 Septo Street
North Hills, CA 91343 li ‘

For recorder’s sé

 

 

I QUITCLAIM DEED D This transfer isexempl tram the doce eatny Innniafer tax,
a The documentary transfer tux ts S__- andl js computed on:
othe full value of the interest or property conveyed.
APN: 2669-025-015 o ~ full ae ress the liens or encumbrances remaining thereon
at the time of sale.
oe eve ones ne Tho property is located in o an unincorporated area o the city of
interest into or out ofa Living Los Angeles.
Trust, R & T 11930

 

For 4 valuable consideration, receipt of which is hereby acknowledged,
Steven Mark Rosenberg, Successar Trustee of the Isadore and Norma P. Rosenberg Trust,

Dated May 4, 1990

hereby quitclaims(s) to Steven Mark Rosenberg, an unmarried man

the following real property in the City of Los Angeles , County of Los Angeles ,
California:

LEGAL DESCRIPTION ATTACHED HERETO AS EXHIBIT “A” AND MADE

A PART HEREOF
Also Known as: {5814 Septo Street, North Hills, CA 91343

pate: December az, 2008

Tove Prot Peron bienn— ;

Steven Mark Rosenberg, Successor Frustet
State of California

County of LOS Ang ALES
on /e f 2 4 , 20. 2B”, befare me, Lig (P__@. Faget HlotacyDablic, appeared

z > Sey . who proved to me on Uie basis of satisfactory evidence to be the
person(s) whoge name(s) is/are subscribed to the within instrument and acknowledged to me that he/she4they
executed the same in his/har#heir authorized capacity(ies), and that by his/hasdtheir signature(s) on the
instrument the person(s), or the entity upon behalf of which the person(s) acted, executed the instrument. 1
certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing paragraph

js true and correct.

WITNESS niytiond and official seal, Y doa A
FL. irs OFFIOIAL-SEAL
2 G OILIP-G, P
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Signature of No COMAISSION #1770323
LOS ANGELES COUNTY
My Goowinesin Exp. October 22, 901)

 

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EXHITBIT “A”

Lot 15 of Tract No, 16376, in the City of Los Angles, County of Los Angeles, State of
California, as per map recorded in Book 507 Pages 5 and 6 of Maps, in the office of the
County Recorder of said county.

Expect therefrom all oils and minerals in and under said land, but without the right of
f entry to the surface or subsurface of' said land, to a depth of 500 feet, as reserved by

| Raven-Spiegal Construction Co., 2 Corporation, in book 50683: Page 227, Official
Records,

Assessor’s Parcel No: 2669-025-015

LOS ANGELES,CA Page 3 of 3 Printed on 12/27/2017 3:22:07 PM
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Case 2:18-cv-10188-AG Document 42-2 Filed 08/02/19 Page 43 of 154 Page ID #:766

Case 1:17-ap-01096-VK Doc17-1 Filed 02/13/18 Entered 02/13/18 09:52:54 Desc
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EXHIBIT 5

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Title Company

 

 

 

 

 

 

 

 

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Indymac Bank FSB
6900 Beatrice Drive
Kalamazoo, MI 49009

Station Id :FAIB

 

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TS # CA-08-153268-DL Order # £819844 Loan # 3002889594
investor No. 6146077

Assignment of Deed of Trust

For value recelved, the undersigned corporation hereby grants, assigns, and transfers to

IndyMac Bank F.S.B.

all beneficial interest under thal certain Deed of Trust dated 3/1/2007 executed by ISADORE
ROSENBERG, A WIDOWER, as Trustor(s) {o FIDELITY NATIONAL TITLE COMPANY, as Trustees and
recorded as Instrumen| No 20070575007, on 3/15/2007, in Book xxx, Page xxx of Officlal Records, In
the office of the Counly Recorder of LOS ANGELES Counly, GA together wilh the Promissory Note
secured by sald Deed of Trust and also all rights accrued or to accrue under said Deed of Trust

MORTGAGE ELECTRONIC REGISTRATION SYSTEMS,
Daled 4/16/2008 7°55 AM ING. AS NOMINEE FOR AMPRO MORTGAGE, A
DIVISION OF UNITED FINANGIAL- MORTOAGE CORP.

By:

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‘oorsonal} appeared Hpefeatt ___*, wh proved to me on the basis of
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acknowledged to me that he/shestheyogeculed the same in hisfher/fthelr authorized capacity(les), and that
pape) aco signature(s) on the instrument the person(s), or the entity upon behalf of which the

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argén(s) actad, executed the Instrument, | Certify under PENALTY OF PERJURY under the laws of the
is of Galifamr that Ihe foregoing paragraph Is trug.and correct

WITNESS my hand and official seal

 

 

signature ‘ - (Seal)
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EXPIRES JAN. 34, 2000

 

 

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EXHIBIT 6

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TS # CA-08-153268-DL Order # E819844 Loan # 3002889594
Invester No, 6146077

Assignment of Deed of Trust

For value racelved, tha undersigned corporation hereby grants, assigns, and transfers to
Deutsche Bank National Trust Company as Trustee for ALLIANCE 2007-OA1

all beneficial Interest under thal certaln Dood of Trust dated 3/1/2007 executed by ISADORE
ROSENBERG, A WIDOWER, as Trustor{s) fo FIDELITY NATIONAL TITLE COMPANY, as Trustee and
recorded as instrument No, 20070575007, on 3/15/2007, In Book xxx, Page xxx of Official Records, In
the office of the County Recorder of LOS ANGELES County, CA sogether with the Promlissary Nole
secured by sald Deed of Trust and also ail rights accrued or fo accrue under sald Osed of Trust.

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EXHIBIT 7

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TS No.: 2015-04438-CA

RECORDING REQUESTED BY:
’ Premium Title of California

WHEN RECORDED MAIL TO:

Wesiem Progressive, LLC

Northpark Town Center

j000 Abernathy Rd NE; Bldg 400, Suite 200
Atlanta, GA 30328

TS No; 201 5-04438-CA
APN No.:2669-025-015

NOTICE OF DEFAULT AND ELECTION TO SELL UNDER
DEED OF TRUST

PURSUANT TO CIVIL CODE 2923,3(a), THE SUMMARY OF INFORMATION REFERRED TO
BELOW IS NOT ATTACHED TO THE RECORDED COPY OF THIS DOCUMENT BUT ONLY
TO THE COPIES PROVIDED TO THE TRUSTOR.

NOTE: THERE IS A SUMMARY OF THE INFORMATION IM THIS DOCUMENT ATTACHED
He RRAAS-ME AME
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NOTA. SEADJUNTA UN RESUMEN DE LA INFORKIACION DE ESTE DOCWUMENTO

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IMPORTANT NOTICE

IF YOUR PROPERTY IS IN FORECLOSURE BECAUSE YOU ARE BEHIND IN
YOUR PAYMENTS IT MAY BE SOLD WITHOUT ANY COURT ACTION, and you
niiy have the legal ight 1 bring-your aceaunl-in good standing by paying all of your past due payments
plus permilled. costs‘and expenses wilhia the time permitted by fae lor ruinsiatement of your account,
which is normally (ive business.cays prior to the date set for the sale of-your property. No-sale date may be
set until approximately 90 days from the date this notice of default may be recorded (which date of
recordation appears on this notice).

This amount is § 183,122.41 as of 11/06/2015, and will increase until your account becomes current. While
four. property is in foreclosure, you still must pay other obligations (such as insurance and taxes) required
ay your pole ald deed of trust or mortgage. H! you fail to.make fiture-payments onthe loan, pay taxes on
ihe property, pravide insurance on the property, or pay othes ebligations as required in the note aid deed:ot
trust-or moripage; the bencticiary-or mortgageemay insiat that youdG so in order te reinstate your account
in good Start inf. In addition, the beneticiary or mortgagee may require ns a condition of reinstatement that
you provide reliable written evidence that you paid all senior Hens, property taxes, dnd-hizard insured

 

premiums. ’
Version 1,1 CANOD 0515 Page 1 of 4
LOS ANGELES,CA Page 2 of 6 Printed on 12/27/2017 3:22:04 PM

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TS No.: 2015-04438-CA *

NOTICE OF DEFAULT AND ELECTION TO SELL UNDER
DEED OF TRUST

Upon your written request, the beneficiary or mortgagee will give you a written itemization of the entire
amount you must pay, You may nal have to pay the entire unpaid portion of your account, even though full
payment was demanded, but you must pay all amounts in default at the time payment is made. However,
you and your beneficiary ar mortgagee may mutually agree in writing prior to the time the notice of sale is
posted (which may not be earlier than three months after this notice of default is recorded) to, among other
things. (1) provide additional time in which to cure the default by transfer of the property or otherwise; or
(2) establish a schedule of payments in order to cure your default; or both (L) and (2).

Pollowing: the vxpitatian of the time period referred to tithe first.paragraph of this Hotiée,, unless thie

obligation being foreclosed: tpon ora separate svrilter agreement between youand your creditor permits a

longer period, you have only the lepal right to stop the saleof your ‘property by prylug the-entire amount
deinnided by your creditor

To find out the amount you must pay, or to arrange for payment to stop the foreclosure, or if your
property is in foreclosure for any other reason, contact:

DEUTSCHE BANK NATIONAL TRUST COMPANY, 4S TRUSTEE FOR ALLIANCE BANCORP
MORTGAGE BACKED PASS-THROUGH CERTIFICATE SERIES 2007-OA1, By Ocwen Loan
Servicing, LLC, its attorney in-fact

C/O Western Progressive, LLC
Northpark Town Center
1000 Abernathy Rd NE; Bldg 400, Suite 200
Atlanta, GA 30328
Servicer Phane: 877-596-8580

 

If you have any questions, you should contact a lawyer or the governmental agency which may have
insuced your loan. Notwithstanding the fact that your property is in loreclosure, you may offer your
property for sale provided the sale is: concluded prior to the conclusion of the foreclosure. Remember,
YOU MAY LOSE LEGAL RIGHTS IF YOU DO NOT TAKE PROMPT ACTION.

NOTICE I§ HEREBY GIVEN: That Western Progressive, LLC is either the original tnistes, the duly
appointed substituted trustee, or acting as agent for the trustee or beneficiary under a Deed of Trust dated
03/01/2007, executed by, Isadore Rosenberg, A Widower, es Trustor, to secure certain obligations in favor
of AMPRO MORTGAGE, A DIVISION OF UNITED FINANCIAL MORTGAGE CORP., As Lender,
Motigage Electronic Registration Systems, Inc., As Beneficiary ., recorded 03/15/2007 , as Instrument No.
20070575007 , in Book ---, Page --- , of Official Records in the Office of the Recorder of Los Angeles
County, California describing land therein as: As more particularly described on said Deed of Trust,

Version 1.1 CA NOD 0515 Page 2 of 4

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TS No.: 2015-04438-CA

NOTICE OF DEFAULT AND ELECTION TO SELL UNDER
DEED OF TRUST

Street Address ot other common designation of real property:
15814 Scpto Street, North Hills Area, CA 91343

Tlie subject obligation inelides ONE N OTE(S) FOR. THE ORIGINAL sum of $ 390,000.00. A breach-of,
and default in, the obligations.for which such Deed @f Trust is secutity has occurred in that payment has not
been nade of the following:

Installmen( of Prineipal and Lrterest plusimpounds and/oraidyances whieh teenme ducor
OF/01/2008 plus late charpes, and allgubsequent inatalinients of principal, interest, balloon payments,
plus impounds and/or advances and Jate charges (aut hecome payable.

You are responsible to pay all paymenteand charges duc under the terns and conditions of the loan
documents which come due subsequent totlie date of this notice, including, but not'limited to,
foreclosure trustee fees and costs, ndvances and late charges,

Furthermore, as a condition to bring youraccount inipaudl stan diag you musf provide the
undersined with written proof thatyou are-not in defult‘on any senior encumbratice and provide
proof of insurance.

Nothing in this notlee of deftull-should be construed as a waiver of any [ees owing to the beneficiary
under the deed of trust, pursuant lo the terms and provisions of the Joan documents.

‘That by reason thereat, the present henefieiary under such deed of trust, has delivered te suiel cbity
appointed ‘Trustee, a weitten request to commence foreclasure, tad les deposited with said duly appointed
‘Trustee, a capy of the deed of (rustand other documents evidencing the obligations secured thereby, and has.
deehired and dees hereby declare all suns scoured thereby immediately due and payable and has elected
and does hereby elect to cause the trust property to be sald cosatisty the obligations secvired thereby.

"See Attached Declaration”

 

! YOU MAY DISPUTE THE DEBT OR A PORTION THEREOF WITHIN THIRTY (30) DAYS.
i THEREAFTER WE WILL OBTAIN AND FORWARD TO YOU WRITTEN VERIFICATION THEREOF.
| SHOULD YOU NOT DO SO, THE DEBT WILL BE CONSIDERED VALID. IN ADDITION, YOU MAY
i REQUEST THE NAME AND ADDRESS OF THE ORIGINAL CREDITOR IF DIFFERENT FROM THE

CURRENT ONE,
Version |.) CA NOD 0515 Page 3 of 4
LOS ANGELES,CA Page 4 of 6 Printed on 12/27/2017 3:22:05 PM

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Case 2:18-cv-10188-AG Document 42-2 Filed 08/02/19 Page 55 o0f154 Page ID #:778

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Branch :F71,User :TZ05 Exhibit Exhibittidal4 Page 47 of 96 Station Id :FAIB

TS No,; 2015-04438-CA

2:The mortgage servicer has oxercised duc diligence to contact the borrower pursuant to California
Civil Code 2923.55(f) to "assess the borrower's financial situation and explore options for the
borrower to avoid forcclosure.'' Thirty (30) days, or more, have passed since these due diligence
requirements were satisfied. .

Dated: October 30, 2015

 

WESTERN PROGRESSIVE, LLC MAY BE ACTING AS A DEBT COLLECTOR ATTEMPTING TO
COLLECT A DEBT. ANY INFORMATION OBTAINED MAY BE USED FOR THAT PURPOSE,

 

Version 1,1 CANOD 0515 Page 4 af 4

 

LOS ANGELES,CA Page 5 of 6 Printed on 12/27/2017 3:22:05 PM
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Case 2:18-cv-10188-AG Document 42-2 Filed 08/02/19 Page 56 of 154 Page ID #:779

Case 1:17-ap-01096-VK

Branch :F71,User :TZ05

Borrower(s): Estate of Isado1e Rosenberg

California Declaration of Compliance
(Civ, Code § 2923,55(c))

Loan Na.: 7191069157

The undersigned declares as follows:

I am employed by the undersigned mortgage servicer, and J have reviewed its business

records for the borrower’s loan, including the borrower's loan status and loan information, to
substantiate the borrower's present Joan default and the tight to foreclose. The information set
forth herein ls acctirate, complete and supported by competent and reliable evidence thal I have
reviewed jn the mortgage servicer's business records, Those records roflect one of the following,

a

The mortgage servicer contacted the barrower ta asgesg the burrawer’s financial situation
and to explore options for the borrower to avoid foreclosure as required by California
Civil Code § 2923.55. Thirty days, ot more, have passed, since the initial contact was
made.

The mortgage servicer has exercised due diligence to contact the borrower pursuant to
Califomia Civil Code § 2923.55(f) ta “assess the borrower’s financial sttuation and
explore options for the borrower to avoid foreclosine.” ‘Lhirty (30) days, or more, have
passed since these due diligence requirements were satisfied.

The mortgage servicer was nol required to comply with California Civil Code § 2923.55
because the individual docs not meet the definition of a “borrower” under Civi] Cade

§2920.5(c).

The mortgage servicer was not required to comply with California Civi] Code § 2923.55

B
because the above-referenced loan is not secured by a first lien mortgage or deed of trust
that secures a lonn on “owner-occupied” residential real property as defined-by California
Civil Code $ 2924. 15(a)

Signed and Dated:

By: Ocwen Loan Servicing, LLC, as Servicer for DEUTSCHE BANK NATIONAL TRUST
COMPANY, AS TRUSTEE FOR ALLIANCE BANCORP MORTGAGE BACKED PASS-
THROUGH CERTIFICATE SERIES 2007-OAL

ACO
AngelRamos i four _cole Is

Print Name = Signature Date
46960
LOS ANGELES,CA Page 6 of 6 Printed on 12/27/2017 3:22:05 PM

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Case 1:17-ap-01096-VK Doc 17-1 Filed 02/13/18 Entered 02/13/18 09:52:54 Desc
Exhibit Exhibits 1-14 Page 49 of 96

EXHIBIT 8

171
Case 2:18-cv-10188-AG Document 42-2 Filed 08/02/19 Page 58 0f 154 Page ID #:781

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Western Propressive, LLG

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Western Progressive; LIC

Nostipark- Town Center

1000 Abernathy Rd NEA Bldg 400, Suite:208
Adlatta, QA FO32S

 

 

 

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TS. Now ZEES-0443B0CA,

NOTICE OF RESCISSION OF NOTICE OF DEFAULT

NOTICE [8 HEREBY GIVEN: That Western Trogressive, DLC is duly appoittied ‘Trustee under a
Deed of Thust dated. 03/01/2007, executed by Igudard’ Rosenberg, A Widower, as Trustor, to seoure
ckrinit obligations in favorof AMPRO.MORTGAGK, ADYVISION-OP UNITED FINANCEAL,
MORTGAGE CORN, As Lender, Mortgage Electronle Registiition Syston, bie, As
Renefieiary, as Banefelary, recorded 03/15/2007 as. histrancent No,20070575007, 1 book -—--page -,
of (ficial Records ta the Office of the Recorder of Los Angeles County, Califormia describing land
therein as more Pally desesibed on the above selerenced deed’ of trust

Native is herby given by this document that He Beneficiary and/ge Tinatee dyes liereby reset cancel
and withdraw the Notice of Default and Election fo Sell, iris the intention of the Benefielury that (he
abews<deseribed Deedof"lvastand all Gbligations seenred (hereby shalt temainiin fall force aud clfent
and wwintaiy its rightful prioriy-as.if sated Moties of Defauluand Election ta Sell ul not been recorded,

Said Notice of Detzalt and Pleetion te Sell was tetordesd gn 04/1 772008 in the office yf the Redorder of
Los Angeles Conny, California, lusirument Mo. 20080660043, in Book —, Yage--, of OMeial

ecards,
BDated: November 2, 2013 “Wealora Pangressive, LI, as Trustee
TAPS yf i cre
‘Vanesha Tumphrey, Trasite Salo Assintant
Mason 1.1 CA NOR D515 Faas of
LOS ANGELES,CA Page 2 of 2 Printed on 12/27/2017 3:22:05 PM

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Exhibit Exhibits 1-14 Page 52 of 96

EXHIBIT 9

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Case 2:18-cv-10188-AG Document 42-2 Filed 08/02/19 Page 610f154 Page ID #:784

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OCWEN LOAN SERVICING, LLG

When Racorded Retum To:

OCWEN LOAN SERVICING, LLC
240 TECHNGLOGY DRIVE
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CORPORATE ASSIGNMENT OF DEED OF TRUST
Los Angeles, Cailfomla
SELLER'S SERVIGING #:7191069157 “ROSENBERG”
SELLER'S LENDER [DA NGR 24440
OLD SERVICING #: 40028480504

For Value Rucolved, FEDERAL DEPOSIT INSURANCE CORPORATION AS RECEIVER FOR INDYMAC BANK, F.S.B.
horoby grants, ossigna and trandfors lo ORUTSCHE BANK NATIONAL TRUST COMPANY, AS TRUSTEE FOR
ALUANGE BANCORP MORTGAGE BACKED PASS-THROUGH CERTIFICATE SERIES 2007-01 at C/O OCWEN
LOAN SERVICING, LLG., 1681 WORTHINGTON ROAD, STE 100, WEST PALM BEACH, FL. 33409 all its interest under
that certain Deed of Trust dated 03/01/2007 , in he amount of $390,000.00, executed by ISADORE

ROSENBERG, A WIDOWER to MORTGAGE ELEGTRONIG REGISTRATION SYSTEMS, INC. (MERS*), SOLELY AS
NOMINEE FOR AMPRO MORTGAGE, A DIVISION OF UNITED FINANCIAL MORTGAGE CORP. ITS

SUCCESSORS AND/OR ASSIGNS and Recorded: 03/15/2007 as Instrument No.: 2007-0575007 in the Counly of Los
Angeles, State of California.

Legat See above.referenced recorded deed of trust tor full {egal descriptton ,

THE PURPOSE OF THIS CORRECTIVE ASSIGNMENT OF DEEO OF TRUST IS TO CORRECT THE ASSIGNEE ON
THE ASSIGNMENT RECORDED ON 2/24/2010 IN INSTRUMENT NUMBER 20100248050

In witness whereof this Instrument Is execuled.

FEDERAL DEPOSIT INSURANCE CORPORATION AS RECEIVER FOR INDYMAC BANK, F.8.8.

MAR 1 0 2017

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This assignment J mada without recouras, representation
or warranty, express or implled, by the FOI in Ita
corporate capacity or as Racelven

 

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CORPORATE ASSIGNMENT OF DEED OF TRUST Pags 2 of 2

TEXAS
STATE OF
COUNTY OF TRAVIS

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instrument and acknowledged to me that ha/shovihay executed die game in‘tloypedithalr Bulhorlged capociy, and that |
by his/herAhelr signature on the instrument the parsan(a), or the antlly Upon behalf of wileh tie parsan(s) acted,
execuled the Inglrument,

WITNESS my hand and official seal,

 

LUGIA ¢ GASTAD
Commission # 128757 157
My Commission Expires
Seplember 27, 2019

 

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(This area for notarial seal)

 

 

 

 

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Exhibit Exhibits 1-14 Page 56 of 96

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TS No.: 2015-04438-CA

RECORDING REQUESTED BY
Premium Title of California

AND WHEN RECORDED MAIL TO:
Western Progressive, LLC

Northpark Town Center

1000 Abernathy Rd. NE; Bldg. 400, Suite 200
Atlanta, GA 30328

 

SPACE ABOVE THIS LINE FOR RECORDER'S USE
T.S. No.: 2015-04438-CA A.P.N.:2669-025-015
Property Address: 15814 Septe Strect, North Hills Arca, CA 91343

NOTICE OF TRUSTEE'S SALE

PURSUANT TO CIVIL CODE § 2923,3(a) and (a), THE SUMMARY OF INFORMATION
REFERRED TO BELOW IS NOT ATTACHED TO THE RECORDED COPY OF THIS DOCUMENT
BUT ONLY TO THE COPIES PROVIDED TO THE TRUSTOR.

NOTE: THERE IS A SUMMARY OF THE INFORMATION IN THIS DOCUMENT ATTACHED

As RRGAS-TF BME
Bay 2 4F SMa Os S47} WSeLic
NOTA: SE ADJUNTA Ub RESUMEN DE LA IGIFORIMACION DE ESTE DOCUMENTO
TALS, MAYROGNG BUOD NGIYPORIASYON SA DGKUMENTOPIG ITO. HA PUMKALAKIP
LUUY KEM THEO BAY LA.BAN TRINH BAY TOM LEGG VE THONG TIN TRONG TAr LIEU NAY:

IMPORTANT NOTICE TO PROPERTY OWNER:
YOU ARE IN DEFAULT UNDER A DEED OF TRUST DATED 03/01/2007, UNLESS YOU TAKE
ACTION TO PROTECT YOUR PROPERTY, IT MAY BE SOLD AT A PUBLIC SALE. IF YOU NEED AN
EXPLANATION OF THE NATURE OF THE PROCEEDING AGAINST YOU, YOU SHOULD CONTACT

A LAWYER.

Trustor: Isadore Rosenberg, A Widower
Duly Appointed Trustee: Western Progressive, LLC
Deed of Trust Recorded 03/15/2007 as Instrument No. 20070575007 in Book ---, Page --- and of Official

Records in the office of the Recorder of Los Angeles Counly, Califormia

Date of Sale: 07/05/2017 at 11:00 AM

Place of Sale: BEHIND TRE FOUNTAIN LOCATED IN CIVIC CENTER PLAZA, 400 CIVIC
CENTER PLAZA, POMONA, CA 91766

Estimated amount of unpaid balance, reasonably estimated costs and other charges: $672,534.94

Version 1.1 CA NOS 0417 Page 1 of 3

LOS ANGELES,CA Page 2 of 4 Printed on 12/27/2017 3:22:06 PM
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Case 2:18-cv-10188-AG Document 42-2 Filed 08/02/19 Page 67 of 154 Page ID #:790

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TS No: 2015-04438-CA

NOTICE OF TRUSTEE'S SALE
a
THE TRUSTEE WILL SELL AT PUBLIC AUCTION TO HIGHEST BIDDER FOR CASH, CASHIER’S
CHECK DRAWN ON A STATE OR NATIONAL BANK, A CHECK DRAWN BY A STATE OR FEDERAL
CREDIT UNION, OR A CHECK DRAWN BY A STATE OR FEDERAL SAVINGS AND LOAN
ASSOCIATION, A SAVINGS ASSOCIATION OR SAVINGS BANK SPECIFIED IN SECTION 5102 OF
THE FINANCIAL CODE AND AUTHORIZED TO DO BUSINESS IN THIS STATE:

All right, litle, and interest conveyed to and now held by the trustee in the hereinafter described property
under and pursuant to a Deed of Trust described as:

More filly deseribed in said Deed of Trust.

Street Address or other common designation of real property: 15814 Septo Street, North Hills Area, CA

91343
A.P.N.: 2669-025-015

The undersigned Trustee disclaims any liability for any incorrectness of the street address or other common
designation, if any, shown above,

The sale will be made, but without covenant or warranty, expressed or implied, regarding title, possession, or
enciimbrances, to pay the remaining principal sum of the note(s) secured by the Deed of Trust with interest
thereon, as provided in said note(s), advances, under the terms of said Deed of Trust, fees, charges and
expenses of the Trustee and of the trusts created by said Deed of Trust. The total amount of the unpaid
balance of the obligation secured by the property to be sold and reasonable estimated costs, expenses and
advances at the time of the initia) publication of the Nolice of Sale is:

$672,534.94,

Note; Because the Beneficiary reserves the right to bid less than the total debt owed, it is possible that at the
time of the sale the opening bid may be less than the total debt.

Jf the Trustee is unable to convey title for any reason, the successful bidder’s sole and exclusive remedy
shall be the return of monies paid to the Trustee, and the successful bidder shall have no further

recourse.

The beneficiary of the Deed of Trust has executed and delivered to the undersigned a written request to
commence foreclosure, and the undersigned caused a Notice of Default and Election to Sell to be recorded in

the county where the real property is located.

Version [.| CANOS 0417 Page 2 of 3

LOS ANGELES,CA , Page 3 of 4 Printed on 12/27/2017 3:22:06 PM

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Case 2:18-cv-10188-AG Document 42-2 Filed 08/02/19 Page 68 of 154 Page ID #:791

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TS No.: 2015-04438-CA
NOTICE OF TRUSTEE'S SALE

NOTICE TO POTENTIAL BIDDERS: {fF you are considering bidding on this property lien, you should
understand that there are risks involved in tidding ata trustee auction. You wil] be bidding on a lien, not on
the property itself. Placing the highest bid at a trustee auction does not automatically entitle you to free and
clear ownership of the property. You should also be aware that the lien being auctioned off may be a junior
Hen, If you are the highest bidder at the auction, you are or may be responsible for paying off all liens senior
to the lien being auctioned off, before you can receive clear title to the property. You are encouraged to
investigate the existence, priority, and size of outstanding liens that may exist on this property by contacting
the county recorder's office or a litle insurance company, either of which may charge you a fee for this
information. Tf you consult either of these resources, you should be aware that the same lender may hold
more than one mortgage or deed of trust on this property.

NOTICE TO PROPERTY OWNER: The sale date shown on this notice of sale may be postponed one or
more times by the mortgagee, beneficiary, trustee, or a court, pursuant to Section 2924 of the California
Civil Code. The law requires that information about trustee sate postponements be made available to you and
1o the public, as a courlesy to those not present at the sale, If you wish to learn whether your sale date has
been postponed, and, if applicable, the rescheduled time and date for the sale of this property, you may call
(866)-960-8299 or visil this Internet Web site

Wnttya//wy Wavy Hisense con /MorluaueServices/Defruls Mainngemeny Trustee Services, es.aspx using the file number
assigned to this case 2015-04438-CA. Information about postponements that are very short in duration or thal
occur close in time to the scheduled sale may not immediately be reflected in the telephone information or on
the Internet Web site. The best way to verify postponement information is to attend the scheduled sale.

Western Progressive, LLC, as Trustee far Beneficiary

C/o 30 Corporate Park, Suite 450

Irvine, CA 92606

Sale Information Line: (866} 960-8299

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ac—~ yr”
Date: May 16, 2017 Tanesha Humphrey, 7 Sale Assistant

WESTIERN PROGRESSIVE, LLC MAY BE ACTING AS A DEBT COLLECTOR ATTEMPTING TO
COLLECT A DEBT. ANY INFORMATION OBTAINED MAY BE& USED FOR THAT PURPOSE.

Version |.) CA NOS 0417 Page 3 of 3

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EXHIBIT 11

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OCWEN LOAN SERVICING, LLC

1785 INTERNATIONAL WAY
IDAHO FALLS, 1D 83402

 

"i aca

 

Los Angeles, California .
SELLER'S SERVICING #:7191069157 “ROSENBERG*
SELLER'S LENDER lO#; DCR 24423.2

OLD SERVICING #: 3002889594

MIN #; 100039307020286900 SIS # 1-868-678-8377

For Value Ruouived, Moagage Gleciranic Ragistration Systems, Inc. ((MERS"), solely-as nomines for AMPRO
Mongago, it divigion of United Financial Mortgage Goth talfon, Iis-successors andéaor anaigas hereby grants, assigns
and tranafers to INDYMAG BANK, F.S.8 at 165 NORTH LAKE AVENUE, PASAOENA, GA 91101 ail Its Intarest
under that certain Qeed of Trust dated 03/01/2007., In the amount of $590;000.00, executed by ISADORE
ROSENRENG, A WIOGWER ta MORTGAGE ‘ELECTRONIC REGISTRATION SYSTEMS, ING. ("MEAS"), SOLELY
AS NOMINEE FOR AMPRO MORTGAGE, A DIVISION OF UNITED FINANGIAL MORTGAGE CORP, ITS
SUCCESSORS ANL/OR ASSIGNS and Recorded: 0/15/2007 as iInstumeant No. 2007-05 75007 in tha County of

Los Angeles, State of California,

   

Legal: See above referenced recorded Deed of Trusi for {ull legal descriptlon

THE PURPOSE OF THIS CORRECTIVE ASSIGNMENT OF DEED OF TRUST IS TO ADD EXECUTION DATE AND
TO CORRECT THE ASSIGNOR ON THE ASSIGNMENT RECORDED ON 8/12/2008 IN INSTRUMENT NUMBER
20081445795

in witness whereof this instrument ls executed,

MWatiguge Electronic Registration Systems. Inc. {"MERS"), solely as nominee for AMPRO Morigage, a divisicn of
United: Financial Mettgaga Corperatian, its successors and/or assigns

On NOV 30-2012

Ve

eax Simmons ——  Assisiant

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CORPORATE ASSIGNMENT OF DEED OF TRUST Page 2 al 2

   
  
 

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COUNTY OF. PalrivBesech

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EXHIBIT 12

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1 || STEWART LEVIN, ESQ,, Bar #101034 AUG 2 2009
445 N. Crescent Dr., Suita 320 Sop A. Clarke, Executive OMieeriMlerk

2 |} Baverly Hills, CA 90210
Tel: (310) 777-7550 Fax: (310) 860-1560

DATE OF-ar
4 |) Attorneys for Petitioner STEVEN MARK ROSENBERG pcr 29 PE ARIN Gs
as Trustee of the Isadore Rosenberg Family Trustand = 53. ~~
5 |} Petitioner STEVEN MARK ROSENBERG Times: "S UBepes |]
‘as Administrator of the Estate of Isadore Rosenberg ~ep te! |

SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES

 

 

 

 

 

 

 

 

 

° }) tn Re: Matter of ESTATE OF ISADORE Case No: BP109162
19 || ROSENBERG, Deceased,
assigned for all oses lo:
1t
STEVEN MARK ROSENBERG as Trustee of the | Dept. 11 Honorable Michael |, Levanas
i2 |) Isadore Rosenberg Family Trust and STEVEN
MARK ROSENBERG as Administrator of the | VERIFIED PROBATE CODE SECTION 850
13 || Estate of Isadore Rosenberg, PETITION TO DETERMINE TITLE TO
REAL PROPERTY TO ESTATE [AND
14 Petitioners, RELATED CAUSES OF ACTION)
5 ily, 1. DECLARATORY RELIEF AS TO ;
7 DEFENDANT ESTATE AND
FIDELITY NATIONAL TITLE INSURANCE DEFENDANT FIDELITY TITLE
17 || COMPANY, MORTGAGE ELECTRONIC COMPANY
.REGISTRATION SYSTEMS, ING, RD.
1s || SALAZAR AND DOES 1 THROUGH 100, 2, SLANDER OF TITLE AS TO
INCLUSIVE. RESPONDENTS
19
Respondents. 3. GANCELLATION OF WRITTEN
20 INSTRUMENT BASED ON
FORGERY (BY PETITIONERS
2 AGAINST ALL RESPONDENTS) Monn
22 a aS
4, RESCISSION ui QE #
7 SECTION 39. (8 eee. o x
AGAINST ALL RE NTBe S
‘it 5. [Prob.C. §850(a)(2)(C)} (B)] SS s
A 25 [Prob.C. §850(a}(3)(8)) 1 5 a&
Hh 26 | 6. QUIET TITLE 2
} i ae
"27 cs
VERIFIED PETITION TO DETERMINE TITLE TO REAL PROPERTY TO ESTATE
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li | 55°

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i 7 Z

COMES NOW Petitioner STEVEN MARK ROSENBERG as Trustee of the Isadore Rosenberg |
Family Trust and Petitioner STEVEN MARK ROSENBERG as Administrator of the Estate of Isadore
s |}Rosenberg for their causes of action against Respondents FIDELITY NATIONAL TITLE INSURANCE
6 1| COMPANY, MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC., R.D. SALAZAR and Does 1

7 || through 100, Inclusive, complains and alleges as follows:

a PRELIMINARY ALLEGATIONS

° 4. Isadora Rosenberg represented by STEVEN MARK ROSENBERG as Administrator of the Estate

10
of Isadore Rosenberg, (hereinafter refered to as “Petitioner and referred to collectively with

11
Petitioner STEVEN MARK ROSENBERG as Trustee of the Isadore Rosenberg Family Trust dated

12
May 4, 1990, as ‘Petitioners’) is, and at all times mentioned in this complaint, was a resident.of Los

13
: Angeles County, California, Isadore Rosenberg, as Trustee, as of March 6, 2007 was record title
1

15 holder of the real property identified as 15614 Septo Street, Notth Hills, California 91343 ("Subject

v6 Property’) and more specifically described as Lot 15 of Tract No. 16376, in the City of Los Angeles;

17 County of Los Angeles, State of California, as per map recorded in Book 507, Pages 5 and 6 of

18 Miscellaneous Maps; tn the office of the county recorder of said county.
19 4. Petitioner Steven Mark Rosenberg is Successor and currently acting Trustee of the Isadore

20 Rosenberg Trust dated May 4, 1980.
2 3, Petitioner Steven Mark Rosenberg as Special Administrator of the Estate of Isadore Rosenberg

2 (hereinafter referred to as “the Estate"} was appointed Administrator of the Estate of his late father,

7 Isadore, with Letiers of Administration issued on April 24, 2008, pursuant to which a probate estate

2A
has been opened with the Los Angeles County Superior Court, Probate Case #8P109162 and

pursuant to which Steven Mark Rosenberg was granted letters testamenlay. Isadore Rosenberg

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VERIFIED PETITION TO DETERMINE TITLE TO REAL PROPERTY TO ESTATE

 

 

 

 

 

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1 (hereinafter referred to as “Decedent’) was a resident of Los Angeles County, Californa and
2 resided at 15814 Septo Street, North Hills, Califomla 91343, the Subject Property, tsadore
j Rosenherg died on August 7, 1997,

‘ 4, Prior to his death, Isadore Rosenberg’s name was forgad on a number of wrilfen instruments that
were recorded on the Subject Property, R.D, SALAZAR was the notary who affixed his notary seal
to the forged signature of Isadore Rosenberg, without ascertalning that Isadore Rosenberg was
really the person that he was purported to be at the time of the subject signatures on the subject
instruments, The caregiver of Isadore Rosenberg, who was at all times material hereto In his
eights, and suffering from cognitive deficits, and dependent upon his caregiver for physical needs,

10
took advantage of Isadore Rosenberg’s dependency, and cleaned him out of his Iife savings, and

 

it

12 then began Iniflating a series of forged documents that resulted in the subject property going from

13 free and clear ownership in the name of Isadore Rosenberg, Trustee U/T/D: May 4, 1990 to

14 approximately $390,000 of loans and liens belng recorded upon the subject property. The caregiver

45 was aided and abetted by Joan brokers, and the Respondents in this action and Isadore Rosenberg

= received no benefit from any these loans. The purpose of this Petition is to cancel the Instrument

2 known as a Deed of Trust dated March 4, 2007 recorded on March'45; 2007-as Instrument #

® 20070575007. This instrument bears the forged signature of Isadore Rosenberg and Is void at law.

» 5. Defendant Fidelity National Title insurance Company (hereinafter referred to as ‘Fidelity*) is, and at

. all times mentioned in this complalnt, was a corporation duly organized and existing under the laws

7 of the State of California and dolng business in Los Angeles Counly as a tiffe insurance company.

aI 6. Defendant Mortgage Electronic Registration Systems, Inc. (hereinafter referred to as “MERS"’) Is,
4 24 and at all imes mentioned in this complaint, was a cosporation duly organized and existing under '
" = the laws of the State of California and doing business in Los Angeles County.

r 26 7, Defendant R.D, SALAZAR (herelnefter referred to as “Salazar“) was, and now is, an individual
i 3

VERIFIED PETITION TO DETERMINE TITLE TO REAL PROPERTY 10 ESTATE

 

 

 

 

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A . residing in the County of Los Angeles, Stata of Californla and doing businass as a notary public.

2 8. Petitioner STEVEN MARK ROSENBERG as Trustee of the Isadore Rosenberg Family Trust dated:

7 May 4, 1990 was record title holder on the subject property as of March 4, 2007. On March 5, 2007

; the signature of Isadore Rosenberg was forged on Grant Dead Instrument #20070575006 attached
hereto as Exhibit 1. Although recorded this document was apparently withdrawn and canno longer
be found on titla because twas forged.

9, Petitloners do not know the true names of Respondents All Persons Unknown, Clalming Any Legal
or Equitable Right, Tile, Estate, Lien, or Interest in the Property Described In the Complaint
Adverse to Petitioners’ Tite, or Any Cloud On Petitioners’ Tite Thereto and DOES 1 through 100,

10

rr inclusive, and therefore sues them by those fictitious names, Petitioners are Informed and believe

12 and on that basis allege that each of the DOE Respondents clalms, or may claim, some Interest In

13 the real property described in paragraph 1 of this complaint The names, capacities and

14 relationships of Dogs 1 through 100 will be alleged by amendment to this complaint when the same

7 are known.

is 40. Petitioners ara Informed and belleve and on that basis allege, that at all fimes mentioned in this

i
: complaint, Respondents were the agents and employées of their co-Respondents and in doing the

18
things alleged in this complaint were acting within the course and scope of that agency and

19

employment.

' 11. Petitioners are informed and believe and on that basis allege that Respondents now claim an

2 ownership interest or lien adverse to Petitioners’ tite In the Sublect Property based on the

23 allegation that Deed of Trust Exhibit 2) Identified further as Instrument # 20070575007 was duly
ary. executed by Isadore Rosenberg. In fact this instrument bears only the forged signature of Isadore
} 25 Rosenberg, and Is void. Petitioners’ retaln file to the Subject Property free of any liens, and this
i 26 instrument along with the subject Grant Deed Exhibit #1 should be cancelled. At no time did
tm ‘ |

 

“VERIFIED PETITION TO DETERMINE TITLE TO REAL PROPERTY TO ESTATE

 

 

 

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@ @
i Isadors Rosenberg-ever obtain any benefit fram the recording of ihese.insiruments, and all monles
7 purportedly loaned to Isadore Rosenberg or his trust were actually pald to the benefitof the criminal |
° caregiver of Isadore Rosenberg, Further, Petitioners have recordad:a lis pendens on the Subject
+] Property based on the:pendency of this Probate Code § 850 Petition to Establish Petitioners’ Clalm
° of Ownership to the Subject Property, Upon cancellation of the subject instruments Identified herein
: and incorporated hersin by reference as Exhibits 1 and 2, the Petitioners will.own the subject
property free and:clear of any liens.
9
10
" FIRST CAUSE OF AGTION
. Declaratory Relief as to all Respondents
3
14 12. Petitioners reallege and incorporate by reference as if set forth herein in full each and every
te allegation contained in paragraphs | through 16 of the Petition.
a 13, An actual controversy has arisen and now ests between Petitioners and.Respandents conceming
m thelr respective dglits’and duties. More specifically, Petitioners contend that they are the legal
7 owners of the Subject Property and Respondents dispute this-contention and contend that Fidelity
° ls of should be record tite-holder of a Deed of Trust on the Subject Property,
- 14. Petiloners desire a judicial determination of-thelr:respactive rights and duties and 4 declaration that
» they are owners of the Subject Property in fee simple title-wilhout:any: liens as of the year 2001,
23 Both Isadore Rosenberg and:Norma Rosenbarg-are deceased, and Steven Mark Rosenbergis their
| es only heir, lhe sole beneficiary of the Petitioners.
‘ i 25 15, A judicial declaration Is necessary and appropriate at this time under the circumstances In order
i 26 that Petitioners may-ascertain their rights and duties as ta ownership af the Subject Property,
27 :
VERIFIED PETITION TO DETERMINE TITLE TO REAL PROPERTY TO ESTATE

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1 16, An actual controversy has arisen and now exists between Petilioners and all Respondents

a conceming their respective rights and duties. More specifically, Respondents contend that indyMac
z has a valid len on the subject property.
4

47. Petitioners desire a judicial determination of thelr respective rights and duties and a declaration that,
the subject instruments Exhibits 1 and 2 were forged and void at law. °

48. A judicial declaration Is necessary and appropriate at this time under the circumstances in order
that Petitioners and Respondents may ascertain their rights and duties as to the subject property.

SECOND CAUSE OF ACTION

Sla of as toall Respondents

10

11
12 49. Petitioners reallege and Incorporate by reference as if set forth herein in full each and avery

13 allegation contained in paragraphs | through 23 of tha Petition.
44 20. Onor about March 1, 2007, Fidelity and MERS slandered Petitioners’ title to the Subject Property in

- that a Deed of Trust, per Exhibit 2, without justification, was recorded an the Subject Property when
” in fact Respondents did not then and do not now have any lien or ownership rights in the Subject
17

Property.

1B
91. Petitioners have been damaged by the slander of tite in that Petitioners’ file to the Subject

» Property has been cast In doubt and the marketability, sale abiitty, and value of the Subject
. Property hava been impaired.
g 2. Petitioners, therefore, request this court to cancel Exhibit 2 and thereby remove it as a lien on the
oo subject property.

‘tog | THIRD CAUSE OF ACTION

if 25 Cancgllation of Written Instrument Based on Forgery as to all Rospondents

4 26 23. Petitioners reallage and incorporate by reference as If set forth hereln in full each and every

; B

27 :
VERIFIED PETITION TO DETERMINE TITLE TO REAL PROPERTY TO ESTATE

 

 

 

 

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1 allegation contalned in paragraphs | through 22 of the Petition,

7 24, The Deed of Trust (Exhibit 2) Is in existence which purports to encumber the Subject Property.

7 25, On information and bellef, lsadore Rosenberg never signed the Deed of Trust (Exhibit 2), Isadora
Rosenbery’s signature on that Deed of Trust is forged.

26, Petitioners intend service of the Summons and Complaint In this action to serve as a notice of
cancellation of the forged Deed of trust. Isadore Rosenberg recelved no monies from the loan
secured by this Deed of Trust nor any of the secured loans that this loan allegedly paid off.

27. Petitioners now seek to cancel the Deed of Trust pursuant to Califomla Clvil Code Section 3412,

10 FOURTH CAUSE OF ACTION

i Rescission Undor Civil Code Section 39.as to all Respondents:
12 28, Petitioners reallege and Incorporate by reference as if set forth herein in full each and every

13 allegation contained in paragraphs | through 27 of the Petition.
14 29. At all tmes material to this Petition Isadore Rosenberg was a person of unsound mind due to age
18 and Infirmity and who was substantially unable to manage her own financial resources and/or resist

16 fraud and/or undue Influence.

‘7 |! 30. Asa result, under the provisions of Civil Code Section 39(e), the Grant Deed [Exhibit 4], the Deed

18
of Trust [Exhibit 2] and the underlying loan are subject to rescission as provided In Civil Cade

19
Section 1688.
20
| 31. On Information and belief, Isadore Rosenberg, whether as Trustee or in an individual capacity,
21
7 received no actual benefits from the loans that were taken out on his property by his caregiver.

a SInce Isadore Rosenberg received no benefits from the loans Petitioners have nothing to restore,

24 32, At all times material hereto Respondents should have been aware that the pattern of loans on the

ve
= et

25 home of an elderly person was suspiclous and they had grounds for Investigation which each

str

26 Respondent purposely Ignored in order to make a profit This aided and abetted the plan of the
: 7

27 pie eS -
VERIFIED PETITION TO DETERMINE TITLE TO REAL PROPERTY TO ESTATE

 

 

 

 

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t caregiver to put a false lien on the subject property.
2 FIFTH CAUSE OF ACTION i
3 |} Probate Code Sections 850{al(2i(C}, 850 (a)(2D), 850(a)(3)(B) and 850/a)(3)(C) as toall Respondents |
* ll 33, Petitioners reallege and incorporate by reference as If set forth herein In full each and every};
: allegation contained In paragraphs | through 37 of the Petition.
‘ 34, Petitioners request that pursuant to Probate Code Sections 850(a)(2)(C) and 850 (a)(2)(D), this
Court determine that title to the above-described Subject Property be free and clear of anyjlens or) =”
7 encumbrances, is vested In Petitioner as administrator of The Estate of Isadore Rosenberg, and| _ ;

10 further, Petitfoners request that, In the allemative, the court determine that per Probate Gade

it Sections 850(a)(3)(B) and 850(a)(3)(C) title to the above described Subject Property be free ‘and:

12 clear of any liens or encumbrances, is vested In Petitioner STEVEN MARK ROSENBERG as

13 Trustee of the Isadore Rosenberg Family Trust dated May 4, 1990.

14 SIXTH. CAUSE OF ACTION

15 Quiot Title-as {o-all Respondonts

1s 35. Petitioners reallege and incorporate by reference as if set forth herein In full each end every

i allegation contained In paragraphs | through 39 of the Petition.

18
36. Petitioners allege that all of the Respondents have failed to respond to Petitioners or demonstrate

19
| to Petitioners that the signature of Isadore Rosenberg was not forged.
20
: 37. Petitioners allege that because the signature of Isadore Rosenberg was forged Petitioners contend
2
the following transactions were unlawtul, are an impermissible cloud on the fille, and are required to

22
5 be cancelled, with title quieted.
iy 24 38. Peiltioners are entitled to a judicial declaration quieting ttle In Petitioners, as of the filing of this
it at Petition, that Petitioner is the fee owner of a one hundred percent (100%) undivided interest in the
‘ } 26 Subject Property, subject only to legitimate obligations and encumbrances
; a

27

 

 

VERIFIED PETITION TO DETERMINE TITLE TO REAL PROPERTY TO ESTATE

 

 

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1 WHEREFORE, Petitionars STEVEN MARK ROSENBERG, as Trustee of the Isadore Rosenberg
2 '\| Family Trust, and Petifoner STEVEN MARK ROSENBERG, as Administrator of the Estate of Isadore
3 1 Rosenberg, pray for fudgment against Respondents FIDELITY NATIONAL TITLE INSURANCE
; COMPANY, R.D, SALAZAR, MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC., AND DOES
1 THROUGH 100, INCLUSIVE as follows:
4. Declaring that the Grant Dead-(Exhibit 1), Deed of Trust (Exhibit 2) and underlying loan are
void and of no effect at law and are cancelled;
2. Requiring Respondent Fidelity Tite Company andlor any assignees fo sign a Full
Reconveyance of the Deed of Trust, and should Respondent fail to so execute said Full

10

11 Reconveyance upon verifiad application filed by Petitloners’ counsel, the Clerk of the Court

 

12 shalt forthwith execute a Full Reconveyance on behalf of Respondent and/or any assigns. The
13 Full Reconveyance executed by the Clerk of Court shall state that it is being executed In
14 accordance with the judgment In this case and shall state the case number,

15 3. For a declaration that Petitioners’ have fee simple tife to tha Subject Property and that
18 Respondents have no right, tile, or interest in or fo the Subject Property;

2 4, That this Court declare and enter an order and judgment that the Deed of Trust dated March 1,

1a
2007 Exhibit 2 is null and vold ab initio and never encumbered the Subject Property;

19
5. The above-described Subject Property belongs to the Petitioners or one Petitioner and that: tte
20
Pi to the above-described Subject Property rightfully belongs fo Patltioner as administrator of the
2 estate of Isadore Rosenberg or the Petitfoner as Trustee of the Isadore Rosenberg Family

7 Trust datad May 4, 1990 and that Exhibits 1 and 2 are cancelled, and that no other party,

it 24 including any of the Respondents have any lien or equitable rights related to the Subject
4 25 Property.
“4 26 | 6. For actual damages against R.D. Salazar according to proof at tid.
t .
9
ar

 

“VERIFIED PETITION TO DETERMINE TITLE TO REAL PROPERTY TO ESTATE

 

 

 

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@ @
1 7. For costs of suit and fees;
2 8, For such other and further relief as this court deems Just and proper. |
3 3 :
* 1} Dated: August 24, 2009 Respectfully Submitted,
5
6 Vf
7 Yeoman esa.
Attorrieys for Petitlonor STEVEN MARK ROSENBERG
8 as Trustes of the Isadora Rosenberg Family Trust
and Petitioner STEVEN MARK ROSENBERG as
z Administrator of the Estate of Isadore Rosenberg
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STATE OF CALIFORNIA )
COUNTY OF LOS ANGELES )

VERIEICATION

J, STEVEN MARK ROSENBERG am the party in this matter in the above
entitled action or proceeding. I have read the foregoing PROBATE CODE 850
PETITION AND RELATED CAUSES OF ACTION and know the contenta
thereof: and I certify that the same is trae of my own knowledge, except as to those
matters which are therein stated upon my information or belief, and as to those
matters I believe it to be true.

J declare, under penalty of perjury, that the foregoing is true and correct

according to the laws of the State of California,
Executed on August 26, 2009 at BEVERLY HILLS, CALIFORNIA

STEVEN MARK ROSENBERG

we

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| os

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“a 5

 

3 “ Saye ma els adi oi Oe
Mr, [sadore Rosenberg oaHsio? Tea ee
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_ THIS SPACE FOR RECORDERS USE ONLY. _____
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BX computed on full value of property conveyed, or
{| | computed on full value lags value of llans or encumbrances remalning al time of sale.
[ | Unincorporated area [X] City of Los Angeles AND

POR A VALUABLE CONSIDERATION, recelpt of which Is hereby acknowledged,

Isadora Rogenberg, Successor Trustee of the laadora and acre P. Roaanherg Truat, dated May 4, 4990
hereby GRANT(s) to:

Isadora Rosenborg, a Wiowet

‘The real property In the Clty of Los Angeles, County of Los Angeles, State of California, dascribed as:

LEGAL OESCRIPTION ATTACHED HERETO AS EXHIBIT "A” AND MADE A PART HEREOF

Also Known as: 15844 Septo Sireal, North Hills, CA 81343
API}; 2869-025-015

 

 
  

DATED March 5, 2007

STATE OF CALIFORNIA , r

COUNTY OF bos ArrCrimtesns ‘Isadore Rosenberg
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Recarding Requested Hy:
AMPRO MORTGAGE, A DIVISION OF
UNITED FINANCIAL MORTGAGE CORP.

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ALLIANCE BANCORP, C/O

NATIONWIDE TITLE CLEARING, INC.
ATTN: FINAL DOCS UNIT

2100 ALT 19 NORTH

PALM HARBOR, FLORIDA 34683
Loan Number; 1080101956

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AdA- 3845 DEED OF TRUST

MIN: 100039307020288900

 

DEFINITIONS

Words used In mutiiple sections of hts document are defined below and other wards are defined In Secilons J, 11,
13, 18, 20 and 24, Certain niles regarding the usage of words used in {his document are also provided In Sectlon 16,

(A) “Securliy Instrument" means this document, which is dated MARCH 1, 2007 , together
with aff Riders ta this document.
(8) "Borrower'!s ISADORE ROSENBERG, A WIDOWER

 

Borrower Is the trustor under this Security Instrument.

(C) “Lender"is AMPRO MORTGAGE, A DIVISION OF UN ITED FINANCIAL
MORTGAGE CORP. =
Lender Js a ILLINOIS CORPORATION organized ' i
and exisilng under the laws of ILLINOIS . '
Lender's address s§- 2133 WEST PEORIA AVENVE, SUITE 130, PHOENIX,
ARIZONA 85029-2370

(D) “Trustee"Is FIDELITY NATIONAL TITLE COMPANY
6060 SEPULVECA BOULEVARD, SUITE 100, VAN NUYS, CALIFORNIA 91411

(E) “MERS" ls Mortgage Elecironle Reglsiration Systems, Inc. MERS is a separate corporation Ihat Is acting
solely as 2 pominee for Lender and Lender's successors and assigns. MERS Is the beneficiary under this Securily.
Instrument. MERS Is organized and existing under the laws of Delaware, and has an address and telephone number
of P.O, Box 2026, Flint, MI 48501-2026, tet. (868) 679-MERS.

(F) "Nate" means the promissory note signed by Bayrower and dated MARCK 1, 2007 F
The Noie stales thai Borrower owes Lender THREE HUNDRED NINETY THOUSAND AND

 

 

 

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EXHIBIT 13
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Suporlar Court of California ‘

' County of Los Augeles: j
) | FIDELITY NATIONAL LAW GROUP 9 1
DONALD E. LEONHLARDT (SBN 185350) JAN 2-0-2015
3} Telephone; (213) 438-7205 By. Stee Deputy 3
Facsimile; (213) 438-4417” Herman Tam 1
4 4 Emil; Donald.Geonhardt@inf.com |
5 |) Attomeys for Respondents ONEWEST BANK, NA, | eh)
(formerly OneWest Bank, FSB) and DEUTSCHE BANK fl
5 | NATIONAL TRUST COMPANY, Pursuant to the Tnistec ! i
Pooling and Servicing Agreement Dated'as of May 1, 2017, :
7 |\as trustee forthe Mortgage Back Pass-Through :
Certificates Series 2007-OAI ‘ (
8 Kan
9 SUPERIOR COURT FOR THE STATE OF CALIFORNIA : to }
10 COUNTY OF LOS ANGELES ~ CENTRAL DISTRICT :
1
12 | STEVEN MARK ROSENBERG, as Trustee | Case No.: BP109162 (Related to Case No.
of the Isadore Rosenberg Family Trust and BP128307)
13 STEVEN MARK ROSENBERG as Hon, Mania E. Stratton, Dept. 5
Administrator of the Estate of Isadore !
14 Rosenherg, . |
NOTICE OF ORDER DISMISSING
15 Petitioner, ACTION WITH PREJUDICE

16 VS.

Date; January 20, 2015 |
17 FIDELITY NATIONAL TITLE Time: 8:30 a.m. ‘
INSURANCE COMPANY, MORTGAGE Dept.: 5 ;
18 ELECTRONIC REGISTRATION ;
SYSTEMS, INC., ONEWEST BANK, RD,
19 SALAZAR, KIM BATEMAN, SAMIA’S. |
SWEISS, CHRIS THOMPSON, LILIAN |
20 GARCIA, and DOES | through 100, \

 

 

 

 

 

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Respondents. i
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1 | TO ALL PARTIES AND THEIR RESPECTIVE COUNSEL OF RECORD:
2 PLEASE TAKE NOTICE that, on Janvary 20, 2015 at 8:30 a.m., the hearing on the
3 | Courts Order to Show Cause-re! (1) Pelitionér's Failure to Appeor at the December 9, 2014
4 || Hearing, (2) Petitioner's Failure to Obtain Counsel; and (2) Petitioner's Failureto Sign |
|
5 | Settlement Documents came on for hearing before the Honorable Maria E. Stratton in the above
|
6 | captioned court. Donald E. Leonhardt of Fidelity National Law Group appeared on behalf of
7 } Respondents ONEWEST BANK, N.A, (formerly One West Bank, FSB) and DEUTSCHE BANK
8 } NATIONAL TRUST COMPANY, Pursuant tothe Trustee Pooling and Servicing Agreement
i
9 | Dated as of May 1, 2027, as trustee for the Mortgage Back Pass-Through Certificates Seties
10 — 2007-OAI (collectively “Respondents”); Steven Mark Rosenberg appeared {in pro per) ds ‘Trustee
11 | of the [sadore Rosenberg Family Trust and as Administrator of the Estate of Isadore Rosenberg
12.) (collectively “Pctitioner”).
13 At the hearing, Petitioner requested dismissal of the above-captioned action. Respondents
14 | did not object to Petitioncr’s request, and asked that the dismissal be made with prejudice.
|
1S || Petitioner did not object to Respondent's additional request. The Court then RDERE that
16: fhe actlon was dismissed with prejudice, and requested that Respondents provide notice.
a
“17 i
18 | Dates January 20,2015 DELITY NATIONAL LAYW-GROUP}
19 |
20 Donuld E, Leonhardt, Esq. i
2 Atiomeys for Respondents I
l OncWest Bank, N.A. (fommerly One West Bank,
FSB) ond Deulsche Bink National aaa
22 ~ Company, Pursuantte the Trustes Pooling and,
a Servicing Agreement Dated as of May 1¢2017;
: a as trustee for the Moripage Back PASRTHONEN
” 24 Certificates Series 2007-OA1
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: NOTICE OF ORDER DISMISSING ACTION WITH PREJUDICE i

 

 

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4 Boulevard, Suite 2000,-Los- Angeles, Calffornia 90017, j
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5] ORDER DISMISSING ACTION WITH PREJUDICE sania ieested fuirties in said action:
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Stover Mark Rosenberg.

1064 Judge John Aiso Street, #225
Los Angeles, CA 90012

Petitioner in Pro Per

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gene for Respondent
RD. Salazar

Westem surety. Company

P.O. Box 5077
Sloux Falls, SD 57117

 

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. SERVICE LAS T
Rosenberg v. Fidelity National Title Insurance Conipany, et al.
Los Angeles County Superior Court Case No. BP 109162

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Exhibits A-K Page 73 of 83

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IN THE COURT OF APPEAL OF THT STATE OF CALIFORNIALOSANGIA iis SUI RGR COURT
SECOND APPELLATE DISTRICT
JOSEPH A. LANE, CLERK JAN T 0 2017

DIVISION 7 Dey Pa: Ge iganive Ottcetctak
evil a ear: Deputy

  

Los Angeles County Superior Gourt Sl
111 North Hill Street Ss a Wg
Los Angeles, CA 90012

STEVEN MARK ROSENBERG, Nei
Petitioner and Appellant,

v,
ONEWEST BANK, N.A. et al.

Respondents.

B263242

Los Angeles County No, BP 109162, BP 128307

a

wk REMITTITUR ***

1, Joseph A. Lane. Clerk of the Court of Appeal of the State of California, for the
Second Appellate District, do hereby certify that the attached is « true and correct copy of
the origina} order, opinion or decision catered in the above-cntitled cause un October 26,
29016 and thut this order, opinion or decision has now become final.

The parties ara to bear their costs an appeal.

Witnesy my hand and the seal of the Court
affixed at my office this

Joseph A. Lane, Cleric

by: J. Rentevia,
Neputy Clerk

ce: All Counsel (w/out attachment)
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IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA
COURT OF APPEAL - SECORD DIST.

SECOND APPELLATE DISTRICT EF I LED
DIVISION SEVEN
Nov 17, 2016
Estate of ISADORE ROSENBERG, B263242 BOSE leak shale

Darnck L Sanders Ogouty Ciork

 

Deceased.

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(Los Angeles County
STEVEN MARK ROSENBERG, Super. Ct. Nos. BP109162
and BP128307)

Petitioner and Appellant,
ORDER MODIFYING OPINION;

Ms NO CHANGE IN JUDGMENT
ONEWEST BANK, N.A. et al.,

Objectors and Respondents.

 

 

The opinion filed October 26, 2016, and not certified for publication, is modified

as follows:
1. The title reads as follows:
STEVEN MARK ROSENBERG, B263242
Plaintiff and Appellant, (Los Angeles County
Super. Gt. Nos. BP109162
ve and BP128307)

ONEWEST BANK, N.A, etal,

Defendants and Respondents.

 

 

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Exhibits A-K Page 75 of 83 .

It should read:

Estate of ISADORE ROSENBERG, Deceased. B263242

 

(Los Angeles County
STEVEN MARK ROSENBERG, Super. Ct. Nos. BP109162
and BP 128307.)

Petitioner and Appellant,
v.

ONEWEST BANK, N.A. et al.,

Objectors and Respondents.

 

 

2. On the title page, the listing of counsel reads: ;
Steven Mark Rosenberg, in pro. per., for Plaintiff and Appellant.
Fidelity National Law Group and Donald E. Leonhardt for Defendants and

Respondents.

Tt should read:
Steven Mark Rosenberg, in pro. per., for Petitioner and Appellant,
Fidelity National Law Group and Donald E, Leonhardt for Objectors and

Respondents.

This order does not change the judgment. Appellant’s petition for rehearing
is denied.

 

ZELON, Acting P. J. SEGAL, J. GARNETT, J. (Assigned)

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IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

SECOND APPELLATE DISTRICT
DIVISION SEVEN
STEVEN MARK ROSENBERG, B263242
Plaintiff and Appellant, (Los Angeles County
Super, Ct, Nos. BP109162
v. and BP128307)

ONEWEST BANK, N.A., et al.,
COURT OF APPEAL - SECOND DIS!
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OCT 28 2016

VOSEPH ALANE. Clers

Defendants and Respondents.

 

Doputy O1ri

APPEAL from an order of the Superior Court of Los Angeles County,

Maria E. Stratton, Judge. Reversed and remanded with directions.
Steven Mark Rosenberg, in pro. per., for Plaintiff and Appellant.

Fidelity National Law Group and Donald E. Leonhardt for Defendants and

Respondents.

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INTRODUCTION

Steven Mark Rosenberg (Rosenberg) appeals an order dismissing, at his request,
two related probate actions, He argues that the probate court erred by dismissing those
actions with prejudice rather than without prejudice. We agree the probate court erred by
dismissing the actions with prejudice, and remand with directions to enter an order of

dismissal without prejudice.
FACTUAL AND PROCEDURAL BACKGROUND

A. ‘The Petition

Rosenberg is the administrator of the estate of his father, Isadore Rosenberg, and
the trustee of the Isadore Rosenberg Family Trust. In August 2009 Rosenberg,
represented by counsel, filed a petition as administrator and trustee pursuant to Probate
Code section 850 to determine title to real property where somcone other than the
decedent or trustor claims to have title to or an interest in the property. !

The third amended petition alleged that Isadore Rosenberg had record title to
property in North Hills, California, but that prior to his death “Isadore Rosenberg’s name
was forged on a number of written instruments that were recorded on the” property.
Rosenberg alleged that his father’s caretaker, David Curtis Harder, “took advantage of
Isadore Rosenberg’s dependency, and cleaned him out of his life savings, and then began
initiating a series of forged documents that resulted in the . . . property going from free
and clear ownership . . . to approximately $390,000 of loans and liens being recorded” on
the property. Rosenberg further alleged that various individuals and fmancial
institutions, including OneWest Bank and Mortgage Electronic Registration Systems,
Inc., both of which Rosenberg named in his petitions, aided and abetted Harder in his

1 Rosenberg filed petitions in both the estate and the trust actions. The petitions he
filed in the trust action are not in the record.

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scheme. These documents, included deeds of trust securing promissory notes and lines of
credit, were allegedly forged both before and after Isadore Rosenberg’s death. Rosenberg
also alleged that One West Bank conspired with Harder to commit elder abuse.
Rosenberg’s petition included causes of action for declaratory relief, cancellation,
rescission, elder abuse, and determinations under Probate Code sectioh 850, subdivisions
(a)(2)(C), (a)(2)(D), (a)(3)(B), and (a)(3)(C), that Rosenberg, as administrator of the
estate and trustee of the trust, held the property “free and clear of any liens or

encumbrances” and owned a 100 percent undivided interest in the property.

B. The Hearings

After several unsuccessful settlement conferences in June 2014, at which
Rosenberg was representing himself, the probate court on August 19, 2014-set a trial
setting conference for December 9, 2014. Rosenberg did not appear at the December 9,
2014 hearing. Consequently, the court set an order to show cause for Rosenberg “to
answer why no appearance [was] made” on December 9, 2014, why the court should not
dismiss the petition, “and why [the] settlement has not been signed.” The court set a
hearing on the order to show cause for January 20, 2015, and issued a “citation” requiring
Rosenberg to appear on that date,

Rosenberg appeared at the January 20, 2015 hearing, and asked the court to
dismiss his petition pursuant to Code Civil Procedure section 583.3 10,2 which provides:
“An action shall be brought to trial within five years after the action is commenced
against the defendant.” This is what occurred al the hearing:

“The Court: Mr, Rosenberg, first tell me about the settlement agreement that
hasn’t been signed.

‘Mr. Rosenberg: I wanted to go --

“The Court; Are you going to sign it or are you backing out? That’s all J need to

know.

 

ez Undesignated statutory references are to the Code of Civil Procedure.
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Case 2:18-cv-10188-AG Document 42-2 Filed 08/02/19 Page 100 of 154 Page ID #:823

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‘Mr. Rosenberg: This court needs to dismiss this case immediately. The rule
where claimant fails to bring an action to trial within five years, and the manner in which
the delay is brought to the court's attention is immaterial. And when the courts become
aware of the facts, it must dismiss the action. I am telling you right now, it has been
more than five years.

“In your respectful affidavit and the citation for me to appear -- no, I didn’t just
come from Twin Towers yet -- but in the citation, it says this original petition was filed
9/16/11, That is absolutely, patently false. This... petition was filed back [on]
August... 29, 2009. It’s a public policy matter for... cases to be dismissed after five
years, mandatory, Why? Because people die who are integral to the case. People’s
memories fade. In this case, one of the key witnesses has dementia. ... It’s [Code of
Civil Procedure section] 583.310. No, I’m not going to -- Mr. Fidelity lawyer, Pm not
going silently into the night. ...

“The Court: Can you stop a minute?

“Mr. Rosenberg: Yes.

“The Court: Okay. Isn't this your petition?

“Mr. Rosenberg: I want out. It’s done. I'll have other causes of action, a lot of
other causes of action, counselor.

“NH

“The Court: Do you have any objection to his request that the petition be
dismissed?”

“Mr. Leonhardt [counsel for One West Bank]: No, your Honor.

“The Court: All right. The petition is dismissed,

“Mr, Leonhardt: With prejudice, your Honor?

“Mr. Rosenberg: It’s under -- but] want to make sure it is under. ...

“The Court: It's dismissed with prejudice and the [order to show cause] is off
calendar. Okay. You got what you want, Mr. Rosenberg.

“Mr. Rosenberg: It should be dismissed through -- please make sure on the record

it’s dismissed under [section] 583 --

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Case 2:18-cv-10188-AG Document 42-2 Filed 08/02/19 Page 101 of 154 Page ID #:824

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“The Court: It’s dismissed pursuant to your request. You’ve made your record.
“Mr, Rosenberg: 583, [section] 583.310.

“The Court: It’s dismissed pursuant to your request, so you’re all set.”

© The Appeal

The court signed and filed a judgment of dismissal on February 3, 2015. The
judgment references the two related cases and states the “entire action” is dismissed with
prejudice. OneWest Bank gave notice of entry of judgment on February 11, 2015.
Rosenberg timely appealed on April 6, 2015,

DISCUSSION

Rosenberg appeals from the probate court’s order granting his request to distniss
his petition. Rosenberg does not argue he was confused, did not intend to voluntarily
dismiss his action, or dismissed it by mistake, Instead, Rosenberg argues that the probate
court erred by dismissing his petition with prejudice. Although Rosenberg also suggests
that the probate court erred by dismissing his case under the five-year statute, section
583.310, and he argues that the court should have had an evidentiary hearing, his primary
contention appears to be that the court should not have dismissed the case with
prejudice.

And that contention has merit. Because trial on the petition had not commenced
(indeed, the December 9, 2014 hearing was supposed to be a trial setting conference),

Rosenberg had the right to voluntarily dismiss his petition with or without prejudice.

 

3 For example, Rosenberg argues, “To dismiss a case with prejudice regarding the
five-year limitation requires [a] hearing.” There was, however, no motion or order to
show cause under section 583.310, and the court did not dismiss Rosenbergs petition
under the five-year statute. Rosenberg also suggests that the court’s order deprived him
of an evidentiary hearing, but he appears to be arguing that, because the dismissal with
prejudice was “‘on the merits,” it will preclude him from having an evidentiary hearing in
connection with any future claims he may bring.

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(See § 581, subds. (b)(1), (c); Bank of America, N.A. v. Mitchell (2012) 204 Cal. App.4th
1199, 1209; Lewis C. Nelson & Sons, Inc, v. Lynx Iron Corp. (2009) 174 Cal_App.4th 67,
75; Gogri v. JackIn The Box Inc, (2008) 166 Cal App.4th 255, 261.) The transcript of
the January 20, 2015 hearing reflects that Rosenberg communicated, perhaps not as
precisely as an attorney would have but nevertheless sufficiently, that he wanted his
petition voluntarily dismissed without prejudice by trying to tell the court he wanted his
case dismissed under section 583.310. Rosenberg apparently believed that a dismissal for
failure to bring an action to trial within five years under section 583,310 is a dismissal
without prejudice (see § 581, subd. (b)(4); Ashworth v, Memorial Hospital (1988) 206
Cal.App.3d 1046, 1053, 1063 & fn. 2), and he wanted the court to dismiss his petition
pursuant to that statute. Rosenberg also made it clear that, although he wanted the court
to dismiss his case, he was not finished litigating with his adversaries. He told counsel
for OneWest Bank that he did not intend to go “silently into the night” and that he had
many other causes of action he intended to bring. As Rosenberg puts it in his reply brief,
he “did not ask for a dismissal with prejudice” and “made clear that he fully intended to
continue to enforce his rights.” Whether such causes of action are barred by applicable
statutes of limitations and whether they state claims will-be determined if and when
Rosenberg ever brings those claims.

Moreover, Rosenberg never asked the court to dismiss his petition with prejudice.
It was counsel for OneWest Bank who asked, after the court had dismissed the petition,
whether the dismissal could be with prejudice. Although the court stated the dismissal
was “pursuant to” Rosenberg’s request, and One West Bank asserts on appeal Rosenberg
“did not object to (its) additional request,” Rosenberg tried, in the split-second he had, to
object by starting to say that was not what he wanted and that he wanted the case
dismissed under section 583.310. The court, however, perhaps in its haste to resolve the
proceeding involving an indecisive, sel f-represented litigant who apparently had backed
out ofa settlement, interrupted Rosenberg and stated it would dismiss the petition with
prejudice. But Rosenberg was entitled, as it appears he was trying to do; to dismiss his

petition without prejudice. (See Steffens v. Rowley (1935) 10 Cal.App.2d 628, 630 [ina
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plaintiff's appeal from an order of dismissal, the trial court erred in granting a motion to
dismiss by adding “with prejudice” to the order of dismissal, and, “[w]hile the oral
motion to dismiss might have been denied by the court [citation], it should not have been

granted with prejudice over the objections of the [plaintiff]”).)

DISPOSITION

The order of dismissal is reversed. The matter is remanded with directions to
vacate the order dismissing the petition with prejudice, and enter a new order dismissing
the petition without prejudice. The request for judicial notice is denied. The parties are

to bear their costs on appeal.

SEGAL, J.

We concur:

ZELON, Acting P. J.

GARNETT, J."

 

* judge of the Los Angeles Superior Court, assigned by the Chief Justice pursuant to
article VI, section 6 of the Califomia Constitution.

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plaintiff's appeal fram an order of dismissal, the trial court erred in granting a motion to
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SEGAL, J.

We concur:

ZELON, Acting P. J.

GARNETT, J.”

 

* judge of the Los Angeles Superior Court, assigned by the Chief Justice pursuant to
article VI, section 6 of the Califomia Constitution.

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Main Document

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Tomas A. Ortiz, SBN 188873
torliz@garrett-tull Y com
GARRETT & TULLY, P.C.

235 §, bake Ave., Suite 1400
Pasadena, California 91101-4869
‘Telephone: ere S:7.7-9500-
Facsimile: (626) $77-0813

‘Alliance Bancorp Mo |
Through: Certificate Senes 2007-OA1

In re
STEVEN MARK ROSENBERG,
Debtor.

STEVEN MARK ROSENBERG,
Plaintiff,
VS.

ALLIANCE BANCORP, INC (Estate),
MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS, INC.,
OCWEN LOAN SERVICING, ONE
WEST BANK, DEUTSCHE BANK
NATIONAL TRUST COMPANY, AS
TRUSTEE FOR ALLIANCE
BANCORP MORTGAGE BACKED
PASS-THROUGH CERTIFICATE
SERIES 2007-OAl AND DOES 1
THROUGH 25, INCLUSIVE,

Defendants.

 

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Attorneys for Defendant Deiiische Bank
National ‘Trust! Conny as ‘Trustee for
Mortgage Backed: Pass-

 

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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION

Case No. 1:17-bk-11748-VK
Chapter 7
Adv No. 1:17-ap-01096-VK

| NOTICE BY DEFENDANT

DEUTSCHE BANK NATIONAL
TRUST COMPANY, AS TRUSTEE
FOR ALLIANCE BANCORP
MORTGAGE BACKED PASS-
THROUGH CERTIFICATE SERIES
3007-OAl OF JOINDER AND
JOINDER IN MOTION FOR
JUDGMENT ON THE PLEADINGS
BY DEFENDANTS OCWEN LOAN
SERVICING, LLC AND
MORTGAGE. BLECTRONIC

| REGISTRATION SYSTEMS, INC.

Date: April 4, 2018
‘Tine: 2:30 p.m.
Crtrm: 301

— 1 7 Case No. [:17-ap-01096-VK
NOTICE OF JOINDER BY DEUTSCHE BANK NATIONAL TRUST COMPANY

TO MOTION FOR JUDGMENT ON THE PLEADINGS

 
Case 2:18-cv-10188-AG Document 42-2 Filed 08/02/19 Page 106 of 154 Page ID #:829

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TO THE COURT, AND TO ALL PARTIES AND. THEIR COUNSEL OF
RECORD:

PLEASE TAKE NOTE THAT defendant Deutsche Bank National Trust
Company, as Trustee for Alliance Bancorp Mortgage Backed Pass-Through
Certificate: Series 2007-OA! (“Deutsche Bank”) hereby joins: in the Notice ‘and
Motion for Judgment on the Pleadings filed by: defendants: Ocwen Loan Servicing,
LLC (“Oewen”) and Mortgage Electronic Registration Systems; Inc. (*MERS”) on
February 13,2018 and February 15,2018, and each of the arguments and.authorities
found therein. (See, Dkt. Nos. 15, 16, 17 and 19.) Deutsche Bank alse:joins in the
Request for Judicial Notice filed in.support of Motion for Judgmenton the Pleadings.
(Dkt. No. 17.)

Since this is not acore matter under 28 U.S.C. § 157, Deutsche Bank does not
consent to the entry of ‘final orders or judgments by the bankruptcy judge. (See, Fed.
R. Bankr. P. 7012(b).)

By way of this adversary proceeding, plamtuil Steven Mark Rosenberg

(“Rosenberg”) secks damages and declaratory relief jn connection with the deed of

trust, recorded.on Mareh 15, 2007 as instrument number 2007-0575007, (“March

2007 DOT”) and secuting a $390,000 promissory note on a $390,000 loan made to
Rosenberg’s father (the “Loan”).! (Dit. |, Complaint; p. 9:) Deutsche Bank is the
current beneficiary of the loan secured by the March 2007 DOT.

Rosenberg’s allegations against Deutsche Bank-are identical to:the allegations
Rosenberg, has asserted against Ocwen’and MERS. As with. his allegations against
Ocwen and MERS, Rosenberg’s allegations against Deutsche-Bank arise from the
Mareh 2007 DOT and arise from the same conduct Rosenberg: attributes to Ocwen
and MERS.

' There is no dispute by Rosenberg thal the Loan was in fact funded. The Loan was used by
Rosenberg’s father to pay offan existing mortgage tn (he amount of $361,288.97, $26,821.84 in
evedit card debt, $385.93 in unpaid property taxes, and $711.00 tn fire insurance premiums.

2 Case No. 121 7-ap-01096-VK

NOTICE OF LOINDER BY DEUTSCHE DANK NATIONAL TRUST COMPANY
TO MOTION FORK JUDGMENT ON THE PLEADINGS

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Rosenberg’s allegations of a “violation of 11 U.S.C. § 524(a)(2)” as asserted
by Rosenberg in his first claim for relief against Deutsche Bank are identical to the
allegations asserted against Ocwen and MERS under the same claim for relief. (Dkt.
1, Complaint, paras. 61-64.) Accordingly, the allegations are deficient for the same
reasons set forth in Ocwen and MERS’ motion for judgment on the pleadings. (Dkt.
16, Motion, p. 7-8.)

Rosenberg’s allegations of a purported “violation of FRBP, Rule 3001” as
asserted by Rosenberg in his second claim for relief against Deutsche Bank are
identical to the allegations asserted against Ocwen and MERS under the same claim
for relief. (Dkt. 1, Complaint, paras. 66-67.) Accordingly, the allegations are deficient
for the same reasons set forth in Ocwen and MERS’ motion for judgment on the
pleadings. (Dkt. 16, Motion, p. 8-10.)

Rosenberg’s allegations of a purported “violation of FRBP, Rule 3001” as
asserted by Rosenberg in his third claim for relief against Deutsche Bank are identical
to the allegations asserted against Ocwen and MERS under the same claim for relief.
(Dkt. 1, Complaint, paras: 69-70.) Accordingly, the allegations are deficient for the
game reasons set forth in Ocwen and MERS’ motion for judgment on the pleadings.
(Dkt. 16, Motion, p. 8-10.)

Rosenberg’s allegations of “fraudulent concealment” as asserted by Rosenberg
in his fourth claim for relief against Deutsche Bank are identical to the allegations
asserted against Ocwen and MERS under the same claim for relief. (Dkt. 1,
Complaint, paras. 72-74.) Accordingly, the allegations are deficient for the same
reasons set forth in Ocwen and MERS’ motion for judgment on the pleadings. (Dkt.
16, Motion, p. 10-14.)

Rosenberg’s allegations of a purported “violation of 18 U.S.C. § 157” as
asserted by Rosenberg in his fifth claim for relief against Deutsche Bank are identical
to the allegations asserted against Ocwen and MERS under the same claim for relief.
(Dkt. 1, Complaint, paras. 76-78.) Accordingly, the allegations are deficient for the

4 Case No. 1:17-ap-01096-VK

NOTICE OF JOINDER BY DEUTSCHE BANK NATIONAL TRUST COMPANY
TO MOTION FOR JUDGMENT ON TIIE PLEADINGS

 

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same reasons set forth in Ocwen and MERS’ motion for judgment on the pleadings.
(Dkt. 16, Motion, p. 10-14.)

Rosenberg’s allegations in support of his claim for declaratory relief as asserted
by Rosenberg in his fifth claim for relief against Deutsche Bank are identical to the
allegations asserted against Ocwen and MERS under the same claim for relief. (Dkt.
1, Complaint, paras. 80-85.) Accordingly, the allegations are deficient for the same
reasoris set forth in Ocwen and MERS’ motion for judgment on the pleadings. (Dkt.
16, Motion, p. 14-15.)

Lastly, as set forth in Ocwen and MERS’ motion for judgment on the pleadings,
Rosenberg’s claims of forgery, cancellation or rescission against the March 2007
DOT are time barred. (Dkt. 16, Motion, p. 5-7.) This adversary proceeding was filed
against Deutsche Bank and others long after the prescribed four-year statute of
limitations expired. These claims are time-barred as against Deutsche Bank as they
are against Ocwen and MERS. Accordingly, Rosenberg’s claims are subject to
dismissal and Deutsche Bank is entitled to judgment in its favor on those claims.

For the reasons stated above, and for all the reasons stated in Ocwen and
MERS’ motion for judgment on the pleadings, Deutsche Bank respectfully requests
that this Court grant Ocwen and MERS’ motion for judgment on the pleadings, and
dismiss Rosenberg’s complaint, and each of its asserted claims for relief, with
prejudice as to Ocwen, MERS, and Deutsche Bank.

DATED: March hh 2018 GARRETT & TULLY, P.C.
Robert Garrett
Tents A_Ortz

    
 

 

TOMASASORTIZ-”—s—=<C=s=‘“—S*S*~*~*~™

Attorneys for Defendant Deutsche Bank National Trust
Company, as Trustee for Alliance Bancorp Mortgage
Backed Pass-Through Certificate Series 2007-OA1

a 4 - Case No. 1:17-ap-0:1096-VK
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TO MOTION FOR JUDGMENT ON THE PLEADINGS

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PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not-a party to this bankruptcy case or adversary proceeding. My business address is:
225 S. Lake Avenue, Suite 1400 Pasadena, CA 91101

A true and correct copy of the foregoing document entitled (specify). NOTICE BY DEFENDANT DEUTSCHE BANK
NATIONAL TRUST COMPANY, AS TRUSTEE FOR ALLIANCE BANCORP MORTGAGE BACKED PASS-
THROUGH CERTIFICATE SERIES 2007-0A1 OF JOINDER AND JOINDER IN MOTION FOR JUDGMENT
ON THE PLEADINGS BY DEFENDANTS OCWEN LOAN SERVICING, LLC AND MORTGAGE
ELECTRONIC REGISTRATION SYSTEMS, INC. will be served or was served (a) on the judge in chambers in the
form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

4. TO.BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foragaing docurnent will be served by the court via NEF and hyperlink to the document. On (date)
3/9/18, | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

 

Amy L. Goldman (TR) marisol,Jaramilla@lewisbribois.com; AGoldman@iq7technology.com,
ustpregion1&.wh.ecf@usdoj.gov; Marvin Adviento, Lukasz |. Wozniak, Def. Alliance Bancorp, Inc, Deutsche Bank Natl.
Trust Co. as Trustee for Alliance Bancorp Mortgage Backed Pass-Through Cerlificate Series 2007-OAO1, Mortgage
Electronic Registration Systems; Ocwen LLC; madivento@wrightlegal.net; mjohnson@wrightlegal.net;
Lwozniak@wrightlegal.net

[J Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:

On (date) 3/9/48, | Served the follawing persons and/or entities at the last known addresses in thls bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the dacument is filed.

Steven Mark Rosenberg U.S. Trustee (SV)
406-1/2 Judge John Aiso St., #225 915 Wilshire Blvd, Ste 1850
Los Angeles, CA 90012 Los Angeles, CA 90017

One West Bank
888 East Walnut St.
Pasadena, CA 91101

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION.OR EMAIL (state method
for each person.orentily served): Pursuant to E.R.Giv.P. 5 and/or controlling LBR, on (date) 3/9/18, | served the fallawing
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be.completed.no later than 24 hours after the document is filed.

The Honorable Victoria S. Kaufman

United States Bankruptcy Court - Central District of California
21041 Burbank Bivd, Suite 354 / Courtroom 301

Woodland Hills, CA 91367

| declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

3/9/18 __— Delorise Cameron /s/ Delorise Cameron
Date Printed Name Signature

 

 

This form Ig mandalory. It has been approved for use by the Unlted States Bankrupicy Court for the Central District of California.

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Steven Mark Rosenberg

106 % Judge John Aiso St,

#225

LA, CA 90012

Tel: 310-971-5037

Email: Founder@Puttingsldersist-org
In Pro Per, Plaintiff

    
      
 

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

) Bankruptcy Case No. 1:17-bk-11748-
VK

) Chapter 7

)
Adversary Case No. 1:17-ap-01096-VK

)
STEVEN MARK ROSENBERG ) MEMORANDUM OF POINTS AND

= ) AUTHORITIES IN SUPPORT OF
Plaintiff THE OPPOSITION TO
vs. ) DEFENDANTS’ MOTION FOR

ALLIANCE BANCORE (Estate), MORTGAGE ) JUDGMENT ON THE
ELECTRONIC REGISTRATION SYSTEMS ; ) PLEADINGS ~
OCWEN LOAN SERVICING, ONEWEST +)

BANK, DEUTSCHE BANK NATIONAL )

TRUST COMPANY, AS TRUSTEE FOR ___ ) fearing:

ALLIANCE BANCORP MORTGAGE )

BACKED PASS-THROUGH CERTIFICATE ) pate: W@M3-+.
SERIES 2007-OAl AND DOES 1 THROUGH ) iy, 0, 2: 30 em

STEVEN MARK ROSENBERG

Debtor

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MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF THE OPPOSITION 770 DEFENDANTS’ MOTION FOR
JUDGMENT ON THE PLEADINGS

 

 

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Iv. 341 MEETING IS MANDATORY FOR A BANKRUPTCY
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V. EVEN IF THE MOTION IS GRANTED, PLAINTIFF SHOULD BE
ALLOWED LEAVE TO AMEND THE COMPLAINT TO
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1 || (2013) 212 Cal.App.4th 1051, LOGO nsveisscccsiectasmense ee eee |
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i5 || Zhang v. Superior Court

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17 Indymac Bank FSB v. Bentley
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24 || Hargrove & Constanzo v. C.LR. 4
25 240 F.R.D. 652, 658 (E.D. Cal. 2006)..... seid eem sees ataimaidiedine aloe snare Oe + ee
26 ||In re Mortgages Ltd.
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U. S. Const. art, XIV , & Licesprsnseusanvsneonypedled iaqastedanteraawlifensiger'in-uesaentee 29

Statutes

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INTRODUCTION

The Plaintiff had filed the adversary proceeding in November 27, 2017 to challenge
among other causes of action the wrongful non judicial foreclosure (e.g.
concealment & fraud) of the Estate property situated at 15814 Septo Street, North
Hills, California 91343. It is in this very adversary proceeding that the Defendants

have filed the motion for judgment on pleadings to determine the case on a

 

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| Procedure §438(c)(1)(B); Weil & Brown, Civil Procedure Before Trial (2006) §7:275;

 

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question of law, claiming insufficiency of claims and pleadings by the Plaintiff in

the adversary proceeding.

2.
STANDARD OF REVIEW

As Defendants note, a motion for judgment on the pleadings is decided on much

the same basis as a general demurrer. (Defendants’ P&As at p. 3; Code of Civil

Civic Partners Stockton, LLC v. Youssefi (2013) 218 CaLApp.4th 1005, 1012;
1013.) As with a demurrer, the court must assume the truth of all facts properly
alleged in the complaint, (Angelucci v. Century Supper Club (2007) 41 Calne
160, 166), regardless of any difficulty there might be in actually proving thelr
truth at trial (see Collier v. Superior Court (1991) 228 Cal.App.3d 1117, 1120
[stating that the standard applies in considering a demurrer]).
A motion for judgment on the pleadings must be denied if the facts alleged in the
complaint state a viable cause of action under any legal theory. (Cf. Castaneda v.
Department of Corrections & Rehabilitation (2013) 212 CaLApp.4th 1051,
1060; Zhang v. Superior Court (2013) 57 Cal.4th 364, 370 [stating the sama
standard for a demurrer].) If a motion for judgment on the pleadings is granted,
it should generally be granted with leave to amend, so long as there is a reasonable
possibility that the deficiencies identified by the court can be cured by amendment.
In such cases it is error for the court to refuse to grant leave to amend,
(Bettencourt v. Hennessy Industries, Inc. (2012} 205 Cal.App.4th 1103, 1006;
Everett v. State Farm General Ins. Co. (2008) 162 Cal.App.4th 649, 655.)

3.
ARGUMENTS

 

 

 

 

 

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ALL OF PLAINTIFFS’ CLAIMS ARE PROPERLY STATED IN THE
ADVERSARY PROCEEDING

A.
CLAIMS OF FORGERY, FRAUD AGAINST DEFENDANTS
IS WITHIN THE TIME PERIOD

 

 

One of the main contentions of the Defendants in the Motion for judgment
on pleadings is that the claims of the Plaintiff in the adversary pleading before etl

Court are time barred. They base their contention on the fact the Plaintiff has net)

 

initiated a case of forgery or fraud within the statutory period of three years as
required by the Statute of Limitations. ]
The allegations of the Defendant that the Plaintiff's claims are time barred are false
and not supported by law. The forgery with regard to the signature of Isadore
Rosenberg creating the alleged Deed of Trust {hereinafter referred to as ‘DeT’) on

the Estate Property located at 15814 Septo Street, North Hills, California 91343

 

(hereinafter referred to as ‘estate Property’) came to be known to the Plaintiff only
after the death of the Plaintiff’s father’s i.e. Isadore Rosenberg’s death in 2008. In
pursuance to the same, the Plaintiff on realizing that the alleged DoT was nol
executed by his father, Isadore Rosenberg, had filed a petition as per Section 850,
of the Probate Code as administrator and trustee of the estate of Isadore Rosenberg
to determine title to real property where someone other than the decedent or
trustor claims to have title to or an interest in the property before the Superior
Court of Los Angeles County, and for forgery as the signature of the key document
was forged by a unscrupulous criminal caregiver of Isadore Rosenberg. However,
in 2015 after just over five years of defendant driven protracted litigation, the case
was dismissed with prejudice to which the Plaintiff had filed an appeal that
ordered the Lower Court to provide the Plaintiff dismissal of case without
prejudice. The Plaintiff then filed the Adversary proceeding in November 27, 2017
as a continuation to the litigation that was initiated in 2009. The opposition make

a bald face statement when they state a lapse of two years ensued from the time ol

reversal: Only 11 mont

hs had past since the time of that ruling to the filing of the

      
 

 

 

 

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|dismissed without prejudice by the lower court; that dismissal date being January

lin their motion, a lapse of two years ensued from the time of reversal: Only 11

 

 

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present action, NOT TWO years as indicated in their compliant. In any event, tha
Plaintiff had made the first allegation with regard to forgery and fraud against the
Defendants on or around August 27, 2009 which was well within the time period ol
initiating a case. Similarly, the limitation of 3 years, with regard to initiating fresh

proceedings would start from the day on which the Plaintiff's Probate case was

19, 2017 (Remittitur Hearing- LASC BP109162).

The opposition makes a bald face patently false statement when they state

months had passed since the time of that ruling to the filing of the present action,
not over two (2) years as indicated in their motion. During the Appeal a stay was
in effect.

This adversary proceeding alleging forgery and fraud with regard to the
alleged DoT against the Defendants was initiated in November 27, 2017 which is
well within the time period stipulated and the adversary proceeding can be
considered as a continuation to the proceedings initiated by the Plaintiff against
the Defendants based on the forgery and fraud involved in the alleged DoT through
which the Defendants are attempting to assert rights on the property to which the
Plaintiff alone is legally entitled.

Thus, the Plaintiff asserts that the claim of the Defendant that the
Adversary proceeding be dismissed on the ground that the claim of forgery and

fraud was alleged after the period of limitation is baseless and the same cannot be

considered.

B.
PLAINTIFF’S ALLEGATIONS WITH REGARD TO FORGERY,
FRAUD CONCEALMENT ARE SPECIFIC

The Defendants in their Motion for Judgment on Pleadings claims that the

Plaintiff in the adversary proceeding has made only vague allegations with regard

 

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|| Rosenberg and on realization of the same had filed a case as per Section 850 of the

 

{Norma Rosenberg Trust, May 03 1994, into the vesting as Isadore Rosenberg as

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to forgery, fraud and concealment by the Defendants and therefore the Defendants
have demanded striking off the pleadings as the case of the Plaintiff has no merils
and is not sufficiently pleaded.

However, the Plaintiff has made specific allegations and pleaded the facts in
detail with regard to the forgery, fraud and concealment by the Defendants. The
Plaintiff had clearly stated that the alleged DoT was not’ signed by Isadora

Probate Code for declaratory relief to declare that the Plaintiff alone was the
rightful and legal owner of the Estate property. The Plaintiff had stated thal
Isadore Rosenberg (1918-2008) was ill and had attained old age when the alleged
DoT was executed in 2007. The execution of the alleged DoT led to the creation of
$390,000 debt (based entirely on fraud) being wrongly recorded on the Estate
property. The Plaintiff came to know about such DoT only upon the death of his
father, Isadore Rosenberg. On examination of the documents the Plaintiff realized
that on March 15, 2007, an alleged DoT securing a $390,000 promissory note was
recorded against the Real property located at 15814 Septo Street, North Hills,
California 91343 indicating Ampro Mortgage, 4 division of United finance
Mortgage Corp (“Alliance Bancorp, Inc”) as the lender and MERS acting solely as a
nominee for the lender and the lender’s successors and assigns was the purported
beneficiary under deed of trust. The trustor of the note and the March 15, 2007
DOT was indicated as deceased Isadore Rosenberg.

Furthermore red flags went off in the Plaintiff mind, upon coming across a Grant

Deed transferring 15814 Septo Street, North Hills Area, CA from the Isadore &

Widow. The retained Hand Writing Expert of the Plaintiff indicates specifically
among others associated forged transaction documents that the signature
attached to that sudden change of Grant Deed vesting recital is a forgery as well
and not that of Isadore Rosenberg. A true and correct copy of the Forensic
Handwriting Expert Report is attached and incorporated by reference to nets

petition as “Exhibit -1”.

 

 

 

 

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{The following recent case is provided to refute the cited cases in the Motion for

 

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Along with above fraudulent conveyance, a very suspéct- Notice _ ol
Abandonment of Homestead Declaration was recorded in the County Recorder:
Grantee-Grantor Index a short time around the March 15, 2007 recording of the
Dot as well. The plaintiff ascertained the elder Rosenberg, giving up his recorded
protective Homestead Declaration did not seem to be a reasonable and prudent
action on the part of 87 year of Isadore Rosenberg to take on his own volition.

The Plaintiff also came to realize as a result of logging approximately one hour on
County of Los Angeles, Norwalk Recorder Offices official computers over the}
course of several terminal usage sessions (Note: Plaintiff in early 1990’s had sting
as Title Examiner with the City of Los Angeles, Real Estate Division, Bureau of
Engineering at said heretofore location, indicating the alleged DOT had been
further assigned by two assignments and a correction assignment, the first
Assignment purports to have been made on April 16, 2008 (though nol
acknowledged until August 2008). The second assignment purports to have been
made simultaneously with the first assignment as of April 16, 2008 at 7:55 am
although it is not acknowledged until 2009 and recorded in 2010. The correction
assignment had been Robo Signed by Jon Dickerson on behalf of FDIC. (Seq
Exhibit 8 in Adversary Proceeding/ hereby incorporated by reference as well as
Notice of Errata for Exhibit 3 indicated as Docket Pacer # Doc 5 Filed 12/15/17
Page 4 of 6, likewise hereby incorporated by reference. It should be noted the
following case holding that relates to California Civil Code § 1213: Recording al
eorveyanee as constructive notice to subsequent.purchasers and. mortgagces; il
was held in Los Angeles v Morgan (1951) 105 CA 2d 726, 234 P2d 319 thal

where invalid documents are recorded they do not give constructive notice.

Judgment on the Pleadings as found on page 12 Lines 3 to 12”
Orcilla v. Big Sur, Inc. (Feb. 11, 2016) __ Cal. App.4th __
It is contended that a $390,000 “loan” to a mental impaired 87-year-old whos¢

income was only a fixed pension, is unconscionable. Under that pattern there is a

duty of care established by the financial entity.

 
 

 

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ty

| Refer to: Pacer DOCKET #499 & Docket #499-1
Case # 07-10943-CSS Filed 7/24/17/ Alliance Bancorp Chapter 7 BK
(Exhibits in the Alliance Bancorp Bankruptcy going into detail why at the very

unr

inception- 15814 Septo Street, North Hills Area, CA was never transferred into
|| the Mortgage Backed Security at alll!

8 |l Plaintiff! makes such informed statement as to belief based. on class lectures and
9 || course materials from their USC Advanced Real. Estate Analysis Class (*BE 570).
10
1 The purported recorded chain of title Assignments were in the name al
12 ||Mortgage Electronic Registration Systems, Inc. (hereinafter referred to as ‘MERS’)
as nominee for Ampro Mortgage, a division of United Finance Mortgage Corp. By
the time of the purported assignment the party on whose behalf MERS purported
to act, had filed petition in Bankruptcy, Chapter 7 on July 13, 2007, and was
voluntarily dissolved in Illinois, its State of Incorporation on February 1, 2008 as

Case No. 07-10941 (CSS).

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The Plaintiff had on understanding that his 88 year old father would not
18 ll have executed of free will, the present contested DoT.
= Based on the examination of the County Recorder documents associated

20 || with regard to the DoT, Plaintiff subsequently filed the case under Section 850 of
o1 |lthe Probate Code to declare himself as the sole owner of the Estate Property, based
29 \lon both the pour over Will indicating such inheritance and Trust document

| (designating Plaintiff as the remainder beneficiary of the living trust) of the

23

> deceased. As previously noted- In pursuance to such case, the Plaintiff had sought
7 the help of a forensic handwriting expert, Howard Rile, who produced the report
__ {{that the signatures in the DoT and all related endorsements were forged and the
° Plaintiff had also stated that the then care taker of Isadore Rosenberg, David
“ Curtis Harder was behind the forging of the signatures.

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1 ||The Plaintiff had also asserted that the Defendants had a role to play with regard
> ||to such forging and fraudulent aspects with regard to the various documents and
endorsements of the DoT because they contend are the holders of the instrument
and had abetted the caregiver in all his activities with regard to forging of the

documents. Jt can also be seen that the Defendants had involvement in the illegal

 

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(“robosigning” becoming illegal practice -2011 & forward by order of the Office of
6
‘Currency & Comptroller as well as the State of California under the 2013
; introduced statutes as found at: https: //oag.ca-gov/hbor
8

3 ||Note: This Honorable Court should find it appalling that within the RFN in
10 |lconjunction with the Motion for Judgment on the Pleadings, damning fabricated
11 ||documents that were the basis for such Government intervention are being passed
12 |loff as being authenticated knowing full well lack of verification and legitimately to

this court. Plaintiff prays the proverbial wool is not pulled over the court eyes. The

 

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7 opposition continues to make non-supported assumptive statements throughout

1s their filing: Example: MFJP Page 8 Lines 16-17. Here, the Deed of Trust is a
perfected security interest in the Property, which passed_throwgh the bankruptcy

ve unaffected.

uM In the Schedule, Plaintiffs attorney in the main Case, Charles Shamash, Counsel

18

at Law, who prepared the schedules after lengthy consultation- put this above

19 |! Deed of Trust lien as disputed and indicating contingence designation along with
20 lla short explanation on the Schedule that an action such as present was planned lo
21 || be filed.

99 \/The Defendants have never provided any expert opinion or proof to refute the

contention of the Plaintiff that the signatures in the DoT were forged. The only

23
4 ||claim of the Defendants is that the Plaintiff filed the case of forgery and fraud alte:
35 the period of limitation. Similarly, in the Motion for judgment on pleadings the
Defendants do not have a contention that they were not involved in the forgery,
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their only stand is that the Plaintiff had not specifically alleged with regard to who
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|Isadore Rosenberg, who is no more and considering the fact that the Plaintiff knew

| about such fraudulent and forged DoT only after the death of his father, it

lless stringently applied." (See Royal Primo Corp. v. Whitewater W. Indus, Case

constanzo-v-cir#p658) (E.D. Cal. 2006).

 

 

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among the officers, acting in what capacity led the Plaintiff's father to execute the

DoT and related documents.
The Plaintiff humbly submits that since the said forgery and fraud was

committed just over ten years ago, and the real person who was defrauded was

impossible for the Plaintiff to specifically allege with regard to the officers of the

Defendants who acted in a fraudulent manner.

Rule 9(b) of the Federal Rules of Civil Procedure (hereinafter referred to as
‘PRCP) sets a heightened pleading standard for claims based on fraud. "In alleging
fraud or mistake, a party must state with particularity the circumstances
constituting fraud or mistake. However, it has been held that, where the alleged

fraud occurred over a long period of time, "Rule 9(b)'s particularity requirement is

No. 15-cv-04391-JCS , Ltd, United States v. Hempfling, 431 F. Supp. 2a
1069, 1076 (/case/us-v-hempfling-3#p1076) (E.D. Cal. 2006); see also
Hargrove & Constanzo v, C.LR., 240 F.R.D. 652, 658 {/case/hargrove:

Thus, the claim of the Plaintiff alleging fraud against the Defendants, being
of an incident as early as 2007, would attract leniency and therefore the ground of
the Defendants that the claims of fraud and concealment by the Plaintiff are nol

specific with regard to when, who and where ingredients do not stand ground.

Further, Rule 11 of FRCP after the 1983 amendment provides that, “absent
a finding of bad faith, factual allegations in the complaint (or answer) must be

tested through the normal mechanisms for adjudicating the merits.”

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This has been reiterated in In re Mortgages Ltd., 771 F. 3d 623 wherein
the Ninth Circuit Court held that the Court must look into the pleadings in detail
before striking them off (emphasis added).

In other words, the Court cannot blatantly reject pleadings without providing
sufficient reasons for striking off the facts.

Thus, the allegations of forgery and fraud against the Defendants are
specific and sufficient to claim the reliefs sought for by the Plaintiff in the
Adversary proceedings.

Cc.
PLAINTIFF CAN CHALLENGE THE ASSIGNMENTS ON THE DOT

The Defendants have in their Motion for judgment on pleadings stated that
the Plaintiff does not have the standing to challenge the assignments because the
Plaintiff nor his father, Isadore Rosenberg are parties to the assignment. This is
because the so called alleged assignments have been done between the various
Defendants who act as trustees/ beneficiaries and regardless of change of tha

person, the borrower/trustor is liable to pay.

However, this claim of the Defendant that the Plaintiff does not have
standing is refuted and completely baseless. In Yvanova v. New Century
Mortgage Corp, Case No. S218973 (Cal, Sup. Ct. February 18, 2016), “The
California Supreme Court held that a home loan borrower who has suffered a non-
judicial foreclosure has standing to sue for wrongful foreclosure based on an
lallegedly void assignment even though she was in default on the loan and was nol
a party to the challenged assignment because an allegation that the assignment

was void will support an action for wrongful foreclosure”.

Thus, in the present case, the very claim of the Plaintiff is that the DoT ih
itself is void abinitio, as it had been created by forgery and fraud by the caretaker
of Isadore Rosenberg, with the help of the Defendants. This being the fact pattern

the aforesaid rule that the Plaintiff would have standing to challenge assignment in

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case of void assignments is applicable in this case as the Plaintiff is an affected

 

 

party and has the standing to challenge a wrongfull foreclosure.

D.
PLAINTIFF’S CLAIM WITH REGARD TO VOID ASSIGNMENT
IS SUFFICIENTLY PLEADED

 

The Plaintiff has in the adversary pleading clearly stated as to why the

 

assignments are void ab initio. The fact that the DoT in itself along with it

endorsements and documents are forged renders the DoT void.

Further, the alleged DoT securing a $390,000 promissory note wa

recorded against the Estate Property indicating Ampro Mortgage, a division of
lUnited Finance Mortgage Corp (“Alliance Bancorp, Inc”) as the lender and MERS
acting solely as a nominee for the lender and the lender’s successors and assigns
was the beneficiary under deed of trust. The trustor of the note and the March 15,
2007 DOT was deceased Isadore Rosenberg.
The Lender under the DoT was contended to be Ampro Mortgage, a Division ol
United Financial Mortgage Corp which was an assumed name of Alliance Bancorp,
Inc. Alliance Bancorp, Inc filed a petition in Bankruptcy, Chapter 7 on July 13,
2007 and was involuntarily dissolved in Illinois, its State of Incorporation, on
February 1, 2008.

Further, as per the purported DoT, the closing date in the mortgage backed
security (MBS) prospectus was May 30, 2007. It is also stated in the DoT that the
Sponsor will convey the mortgage loans to the Depositor on the Closing Date and
the Depositor will convey the mortgage loans to the Issuing Entity on the ‘Closing
date.

As per Section 10.02 of the Pooling and Service Agreement (PSA), the
Depositor, Master Servicer, Trustee or the Securities Administrator shall not

accept any contributions to the REMICs after the closing date.

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|The plaintiff prays the Court does not have the wool pulled over their eyes as to

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REMIC is an entity enjoying special tax treatment and the defendants wert
such entities that enjoyed benefits, required that the mortgages be purchased
within a 3-month period. The said property was never properly transferred to the
Trust as per the requirements of the PSA prospectus by the closing date, This
massive illegal tax dodge scheme has egregiously & determinately harmed the
“psyche” of the Plaintiff; given since 1975; has faithfully & dutifully filing & paying
| taxes in a responsible manner. The Plaintiff has a very strong moral compass as
evidenced by testifying at the sentencing of his former USC professor (Marshall
School of Business: FBE 570- Advanced Real Estate Analysis) who defrauded his
former students and families of approximately $1,500,000. Exhibit). Page:32-H1
In continuance of the family home equity conversion scheme, the alleged
DoT that supposedly encumbers the estate property and on later dates the lwo
purported assignments and the correction of Assignment recorded March 17, 2017
relied by the defendants have unexplained anomalies which collectively show these
recorded real estate documents to be ineffective and in violation of the California
Homeowner Bill of Rights relating to verification of documents prior to recording.
Quoting direct from the opposition pleading: “On December 14, 2017, ¢
corrective Assignment of Deed of Trust was recorded against the Property. [RIN,
| 11]. The purpose of this corrective assignment was to add the execution date and ld
correct the assignor on the Assignment recorded on 8/12/2008 [RJN, Ex 5. [RIN
Ex 11-p2, lines 10-12)”
femphasis added).

above! Respectfully for the above contested document the Plaintiff is going on
record in opposition of this RJN, Ex. 5 given it is fatally flawed, (Statue of
Limitations Issue) and moreover December 13, 2018 is valid window of last day, to
file a cause of action for said slandering title instrument and complain that the
above instrument to be cancelled pursuant to: California Civil Code 3412.

There is unquestionably a broken chain of title that exists 1<¢.; the first

Assignment purports to have been made April 16, 2008 at 7:55 am. However, the

 

 

 

 

 

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purported Assignment is in the name of MORTGAGE ELECTRONIC
REGISTRATIONS SYSTEMS, INC AS NOMINEE FOR AMPRO MORTGAGE, &
DIVISION OF UNITED FINANCIAL MORTGAGE CORP: By the time of the purported
assignment the party on whose behalf MERS purported to act had filed a petition

in bankruptcy and had been involuntarily dissolved. This in itself makes thei

assignment void.

Further, the first Assignment is signed by Laura Hescott, who is identified as a
“Robo Signer" in Indymac Bank FSB v. Bentley (2014) NY Slip Op 50256(V)

The second Assignment purports to have been made simultaneously with
the first Assignment as of April 16, 2008 and this was signed by Erica Johnson-
Seck, also identified as a Robo signer. Both assignments were purportedly signed

simultaneously; it would appear that neither of the defendants ever received any

interest therein.

Thus, besides the ground that the DoT, endorsements and documents in
itself are void ab initio on the ground of forgery and fraud committed by the
Defendants, the assignments are void due to the missing chain of title links and
furthermore the lack of authority of MERS to further assign the interest to anothet
entity/person. This statement is based on the requirements in the California

Homeowners Bill of Rights.
Note: MERS is listed as a creditor in the United Financial/Alliance

Bancorp Bankruptcy- and it is well established that in order to have status in the
MERS organization membership dues are to be up to date, in order to avail the
financial entity access to the MERS platform and associated “benefits” of signing
POA on their behalf. Nowhere in the United financial/Alliance Bancorp Bankruptcy
docket exists any filings showing the Trustee sought to make such MERS
membership payments. A detailed search was conducted of the Alhance

Bancorp/ United Financial/Ampro docket to support the last damning statement.

 

 

 

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| the pleadings and only questions of law remain to be decided. This means that

 

 

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Additional Discovery of MERS (specifically Deposition of Person Mos!
Knowledgeable) is needed to fully ascertain why assignments in the stream of
commerce for this property at 15814 Septo Street, North Hills “Area”, CA 91343)
are Void and not voidable, given the fact pattern as revealed by multiple fraudulent

and forged real estate documents going back to 2008.

II,
MOTION FOR JUDGMENT ON PLEADINGS
CONSTITUTES ESTOPPEL

A.
DEFENDANTS ADMITS ALL FACTS AND ALLEGATIONS
OF THE PLAINTIFF

A motion for judgment as per Rule 12 (c) of FRCP may be instituted alter
the pleadings are closed-but early enough not to delay trail. In Ragsdale v.
Kennedy, 286 N.C. 130, 209 S.E.2d 494 (1974), it was observed that the motion
for judgment on the pleadings is the proper procedure when all of the material

allegations of fact are admitted in the pleadings and only questions of law remain.

When the pleadings do not resolve all factual issues, judgment on the
pleadings is generally inappropriate. The motion for Judgment on pleadings only

has utility when all material allegations of fact are admitted or not controverted in

both parties agree to the facts put forth in the pleadings. Thereby, a motion for
Judgment on pleadings constitutes an Estoppel in itself on the party who initiates

the same.

In considering motions under Rule 12(c) FRCP, courts frequently indicate

that a party moving for a judgment on the pleadings impliedly admits the truth of

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Plaintiff with regard to the Defendants in the adversary proceeding.

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its adversary’s allegations and falsity of its own assertions that they have been
denied by that adversary. (see also, Charles Alan Wright & Arthur R. Miller, et al,,
Federal Practice and Procedure, s 1367(3d ed. 1998); accord Juster Associates v,
City of Rutland, Vt., 901 F.2d 266, 269 (2rd Cir. 1990).

It was also stated that, ‘For the purpose of this motion when a party Moves
for a judgment on pleadings he admits not only the trust of its adversary
allegations but also the untruth of all his own allegations which have been dénied
by his adversary’ (see Sunset Mortgage Company, L.P. v. Lexington Fayette
Urban County Human Rights Commission, No. 2005-CA-002581-MR (Ky. App-
4/6/2007) (Ky. App., 2007); Wright and Miller et al., Federal Practice and
Procedure § 1370 (3d ed.}; see Volvo Const. Equip. N. Am, Inc. v. CLM Equip.
Co., Inc., 386 F.3d 581, 588 n.4 (4th Cir, 2004)

So when “the plaintiff moves for judgment on the pleadings, the motion
should be granted if, on the undenied facts alleged in the complaint and assuming)
as true all the material allegations of fact in the answer, the plaintiff is entitled to
judgment as a matter of law.” (see Walker v. Liberty Mut. Ins. Co., No. 4:16-CV;
01388-RBH, 2017 WL 1020884, at *1 (D.S.C. Mar. 16, 2017); see Smurfit)
Stone Container Enterprises, Inc. v. Nat’l Interstate Ins. Co., No. 3:08CVO093;
HEH, 2008 WL 4153762, at *4 (E.D. Va. Sept. 5, 2008)

In the instant case, the Defendants by moving for judgment on pleadings
impliedly accepts all the facts alleged by the Plaintiff and constitute an estoppel
from denying. Applying the principle of estoppel, wherein a person is precluded|
from alleging facts that are contrary to his previous claims or actions, the

Defendants are estopped from denying any of the facts or allegations made by the

In other words, estoppel prevents someone from arguing something

contrary to a claim made or act performed by that person previously. Conceptually,

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estoppel is meant to prevent people from being unjustly wronged by the
inconsistencies of another person's words or actions.

Thereby in the instant motion for judgment filed by the Defendant as a response tq
the Adversary proceedings filed by the Plaintiff on November 27, 2017, tha
Defendants affirm the claims and facts raised by the Plaintiff. The Plaintiff have
stated all instances of forgery, fraud, concealment by the Defendants with regard
to the DoT, and all violations of various rules with regard to further assignments
of the alleged DoT by the Defendants, thereby authorizing every single charge
made by the Plaintiff in the adversary proceeding. The Plaintiff has made all
allegations with sufficient proof of claims and facts against the Defendants

fraudulent and intentional concealments.

As stated in the Adversary proceeding, alleged deed of trust (“DOT”)
purported to have entered securing a $390,000 promissory note was recorded
against the Real property located at 15814 Septo Street, North Hills, California
91343 indicating Ampro Mortgage, a division of United Finance Mortgage Corp
(“Alliance Bancorp, Inc”) as the lender and MERS acting solely as a nominee for the
lender and the lender’s successors and assigns was the beneficiary under deed ol}
trust. The trustor of the note and the March 15, 2007 DOT was deceased Isaclore

Rosenberg.

The DOT has been further assigned by two false assignments and 4a
fraudulent correction assignment/ creating a situation of introducing false
documents into the stream of commerce; the first Assignment purports to have
been made on April 16, 2008 at 7:55 am (though not acknowledged until August
2008). The second assignment purports to have been made simultaneously with
the first assignment as of April 16, 2008 at 7:55 am although it is not
acknowledged until 2009 and recorded in 2010. The correction assignment of
March 21, 2017 has affixed Jon Dickerson, signing on behalf of FDIC as the
Defendants allege however contested by the Plaintiff as to validity. This is a false

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, ||document also introduced into the stream of Commerce as indicated by Exhibit &
of the November 27, 2017 filed Adversary Proceeding. It is impossible to make a

correction to a recorded real estate assignment going back 7 plus years! CCP 337

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; The Plaintiff realized that there existed such a DoT only after his death of
his father, Isadore Rosenberg. During the lifetime of his father the Plaintiff was

; never informed of the existence of such a DoT. The Plaintiff realized that the

: signature in the alleged DoT were by all appearances forged by the care taker of hig

8 || own father, David Curtis Harder. Almost immediately given the circumstances ol
9 |\ dealing with a hostile caretaker house “take over’ and ultimately requiring sheriff
10 |leviction, upon realizing the DOT was not executed by his father and suspected
11 |)forgery on August 29, 2009 the plaintiff filed a petition in Los Angeles Superior]
12 ||Court pursuant to Section 850 of the Probate Code as estate personal
representative. The DOT that was fecorded is void ab initio as it was entered by

7 forging the signature of his father, as_ mentioned above, thereby invalidating the

 

 

 

5 two further assignments and one correction assignment as claimed by the

1 Ss cu assignment us Claimed Dy Te
cfendants.

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The Defendants have by filing this Motion for judgment on pleadings
18 || ,amitted all these facts that were alleged by the Plaintiff in the adversary
19 || proceeding including the facts alleging forgery, fraud and concealment by the

20 || Defendants with regard to the DoT.

21 B.

22 | DEFENDANTS DO NOT EXPRESSLY DENY FRAUD COMMITTED

23

mn Even if the alleged facts were considered not to be admitted by the

ae Defendants on the filing of the Motion for judgment on pleadings, the very fact that
the Defendants in the instant motion for Judgment have not denied such forging

° or fraudulent activities committed by them anywhere in the motion. The only claim

“ by the Defendants is with regard to the time period within which the forgery and

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ll fraud committed should have been alleged and the specificity with regard to such

|Bank. P 7012 (b) requires objecting to the entry of final orders or judgments by the

 

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allegation of forgery and fraud. This itself proves that the Defendants have
impliedly admitted to the facts and allegations of fraud alleged by the Plaintiff in

the Adversary proceeding.

Whereas, the Plaintiff has clear and unambiguous report of tha
handwriting Expert and further evidences to prove the forgery with regard to the
signature of Isadore Rosenberg in the alleged DoT.

Thus, by initiating the instant motion and non-denial of forgery and fraud
committed the Defendants hereby admit to all the forgery, fraud, concealment by
the Defendants with regard to the DoT and all violations of various rules with
regard to further assignments of the alleged DoT as raised by the Plaintiff, thus,

entitling Plaintiff for all the claims and reliefs sought in the adversary proceeding.
(As indicated on the Cover Sheet for this Adversary Proceeding Plaintiff prays as damages
collectively $390,000 via a global release and settlement from all parties).
The opposition arguments set forth in their MJOP quoting directly from: al

page 4 / lines 7 to 12 are patently presented in an out of context false manner.
“The property is encumbered by more than $674,534 in liens [RUN Ex 10]")
is being presented to the Court AS AN ASSUMPTIVE STATEMENT subject to
being impeach and or debunked. Discovery will impeach the set forth amount ol
$674,534.
Respectfully pointing out to the court yet another very serious weakness inl

the filed Motion for Judgment on the Pleadings: Attention is directed to Fed. R.

bankruptcy judge with certain time limits. The defendants raise this objection past
the required deadline set forth in this Rule. See Docket # 2 Main Case Page 1 of 8
subtitle 6. (entered in Pacer; 11/29/17 11:06:53

Judge Victoria S. Kaufman’s Status Conference Instructions

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1 Opposition was to file and serve nol more than 14 days before the status
conference a memorandum of points and authorities and evidence in support ol

position: j.e; within meaing of 28 UsS.C Section 157 (b}

 

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; They have not complied with this requirement.
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Ii.

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INITIATION OF DISCOVERY PROCEEDING INVALIDATES
‘ THE MOTION FOR JUDGEMENT ON PLEADING
8
2 In the instant case, the Defendants have filed for a motion for judgment on

10 || pleadings in violation of Rule 12(c) of FRCP. The Motion for Judgment on Pleadings
11 {lis a motion made by a party, up to a point where trial is not delayed, claiming the
12 |}opposing party has insufficient evidence to reasonably support its case. Judgment

jon the pleadings is a motion made after pleading and before discovery. Thus as per

13

m Rule 12 (c) of FRCP the motion for judgment on pleadings can be initiated only for

= deciding on a case without appreciating evidence. A motion for judgment on the
pleadings is essentially trials on the pleadings and is not admissible if the

~ discovery proceedings are initiated by either party.

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In the instant case, the Plaintiff has initiated the Discovery process. An
18 || initial conference is one of the first steps of the discovery process in a civil case a5)
19 || per Rule 26 of FRCP. Thereby, the Plaintiff has already started with the process ol
20 }l discovery by requesting for the initiating conference.

21 In the meanwhile, it is important to make note of, the Plaintiff is eurrently|
52 \{in the process of seeking to add one or more parties (Law firm of Garrett 88 Tulley)
53 \|via required filed Motion (Fed.Rule Civ. Proc. 20) to the Adversary Proceeding and

for addressing this concealment concern adequately. Note: the Plaintiff has

24

95 experienced two postponements of the initial status conferences (Local Bankruptcy
Rule (LBR)_7016-1) concurrently with the Defendant’s now premature moving for

“a the motion for Judgment on pleadings. April 4, 2018 has been set by tha

“7 Honorable Court as the third continued date for conducting both the required LBIS

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roceedin rior to the issue of the “discharge” which was not complied in the}
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7016-1 Initial Status Conference & the hearing on the present Motion [for
Judgment on the Pleadings on the same day.

This in itself is contradictory to Rule 12 (c) and Rule 26 of FRCP for motion
for judgment and discovery process respectively.

This fast track calendaring of the MJOP is also in violation of Plaintiff's
right to seek discovery; pertaining to their due process rights as it pertains to thein
PROPERTY (Residence of Debtor) as pursuant to U. S. Const. art. XIV, § 1. Tho
Defendants on the other hand it is contended are concealing important material
case facts absent discovery, and yet have filed for the Motion for Judgment

without adhering to the set rules and procedures.

Iv.
U.S. Code» Title 11) Chapter 3) Subchapter [11> § 341 MEETING IS
MANDATORY FOR A BANKRUPTCY PROCEEDING

In the Motion for judgment on pleadings filed by the Defendants, they have
alleged that the Bankruptcy Proceeding with respect to the Estate property was
discharged by the Bankruptcy Court prior to the Adversary Proceeding. The
Discharge of the Bankruptcy proceeding would invalidate the Adversary proceeding

in itself is the argument of the Defendants.
However, 341 creditor meeting is a mandatory rule for bankruptcy

instant case. The primary purpose of the section 341(a) meeting (the meeting ol
creditors), as in a chapter 7 case, is to provide the trustee and the creditors the
opportunity to examine the debtor and determine whether there are any grounds
for objecting to the plan. Exhibit -3- Pages {o- 42.

The said meeting with the creditors is done prior to the discharge of the

debtor in the bankruptcy case which was NOT adhered too, in the Plaintiff's case

  

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| debtor’s discharge. The debtor should not receive a discharge unless the debtor has been

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and the Plaintiff was moreover “auto” discharged in the bankruptcy case prior to
the completion of this mandatory Creditors Meeting rule.

Source: U.S. Department of Justice, Executive Office for Chapter 7|
Trustees, Effective October 1, 2012. Handbook for Chapter 7 Trustees Page 3-4
Under: C. FINANCIAL DOCUMENTS. |

“Any continued or rescheduled meeting should be held before the time for objection to
discharge has expired, unless the trustee has obtained an extension of time to object to the

examined...”
This in itself would render the present main bankruptcy case to have been

discharged prematurely, Thus the said argument by the defendants in the Motion
for Judgment On pleadings i.e.; post discharge violation, of the Adversary

Proceeding filing is invalid.

Vv.
EVEN IF THE MOTION IS GRANTED, PLAINTIFF SHOULD BE
ALLOWED LEAVE TO AMEND THE COMPLAINT TO CORRECT
DEFICIENCIES

As noted earlier, even if a motion for judgment on the pleadings is granted,
it is generally appropriate to do so while allowing the plaintiffs leave to amend theix
complaint. As per Rule 15(a)(2) of FRCP, a party may amend its pleading only with
the opposing party's written consent or the court's leave. The court should freely
give leave when justice so requires. Indeed, failure to grant leave to amend where
amendment to correct the defects identified in the motion is possible is an abuse ol
discretion. (Bettencourt v. Hennessy Industries, Inc. (2012) 205 Cal.App.4th
1103, 1106.)

Here, none of Defendants’ arguments identify the kind of irremediable flaw,
that would justify denying leave to amend. Therefore, it is submitted by the
Plaintiff that in the event the Court decides to grant Defendants’ motion, the
Honorable Court should, it is prayed, also in fairness grant the Plaintiff the leave to

amend their complaint to correct any deficiencies identified in the court’s ruling.

 

 

 

7 - Rage 26
MEMORANDUM OF POINTS AND AUTHORITIES !N SUPPORT OF THE OPPOSITION TO DEFENDANTS’ MOTION FOR
JUDGMENT ON THE PLEADINGS A

 

 

 

 

 

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In the alternative it is prayed the Court use their granted powers and refer
this matter, forthwith, to mediation under the Central District of California
Bankruptcy program. Plaintiff is confident that 4 hours of mediation will resolve
this conflict among the parties; - previous JAMS Court ordered Mediation back in

Summer of 2013 came very close in resulting of a meeting of the minds.

4.
CONCLUSION

For all the above reasons, Defendants’ motion should be denied and the case
should move forward towards a trial on the merits of Plaintiffs’ claims. Plaintiff
adamantly contends they are very likely to succeed on all or if not a part of set

forth claims.

Dated: 3/2s/13__
Respectfully submitted by,

Steven Mark Rosenberg.
Plaintiff
In Pro Per

 

 

 

 

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Page 2?
MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF THE OPPOSITION TO DEFENDANTS' MOTION FOR
JUDGMENT ON THE PLEADINGS 27

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Case 2:18-cv-10188-AG Document 42-2 Filed 08/02/19 Page 138 of 154 Page ID #:861

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AMERICAN SOCIETY OF

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AMERICAN ACADEMY OF
FORENSIC SCIEHCES

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Howarb C. Rite, JR.
Kovensia Document draminer
FORMERLY AFFILIATED WITH

100 OCEZANGATE, SUITE 870 HARRIS & HARAIS
LONG BEACH, CALIFORNIA 90602-4312
TEL: (582) 9a!-3a74
FAX: (562) 901-3375
E-MAIL; HCROUDE@AOL.COM

DIPLOMATE, AMERICAN BOARD OF
FORENSIC DOCUMENT DIAHINER?

July 23, 2009
83098R

VIA PERSONAL DELIVERY.

Steven Mark Rosenberg
15814 Septo Street
North Hills, CA 91343

SIGNATURE REPORT

Re: Estate of Isadore Rosenberg

Déar Mr’ Rosenberg:

: Pursuarit to your request, I have examined:

is

5.

"Certified true copy of an Abandonment of Homestead dated March 5, 2007,

récorded as Instrument Number 20070575005 in Los Angeles County on
March 15, 2007;

Certified true copy of a Grant Deed dated March 5, 2007, recorded as
Instrument Number 20070575006 in Los Angeles County on March 15, 2007;

Certified true copy of a Deed of Trust dated March 5, 2007, with an
Adjustable Rate Balloon Rider also dated March 5, 2007, recorded as
Instrument Number 20070575007 in Los Angeles County on March 15, 2007;

Redacted photocopy of notary log entries corresponding to the above three
documents for notary R. D. Salazar dated March 5, 2007;

Photocopy of an Amended Escrow Instruction dated March 5, 2007.

Specifically in question on each of these documents is the purported signature of

Isadore Rosenberg.

Attached as Exhibits A and B are copies of the Abandonment of Homestead

Declaration Exhibit B
dO

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Case 2:18-cv-10188-AG Document 42-2 Filed 08/02/19 Page 140 of 154 Page ID #:863

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Steven Mark Rosenberg 2

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July 23, 2009

and Grant Deed. Attached as Exhibit C are copies of the first and signature pages of the Deed of

Trust and the signature page of the Adjustable Rate Rider. Attached as Exhibit D is a copy of the

notary log pages. Attached as Exhibit E is a copy of the Amended Escrow Instruction.

Submitted and identified as bearing the acknowledged genuine signature of

Isadore Rosenberg were:

1.

2.

10.

i}.

12.

13.

14.

15.

Photocopy of California Driver License D0572742 dated May 20, 1978;
Califomia Driver License D0572742 dated May 3, 1990;
Photocopy of a Health Insurance card dated May 1, 1983;

Original report card dated January 29, 1960;

“Origitial of Isadore and Norma P. Rosenberg Trust dated May 4, 1990;

Original Individual Grant Deed dated May 4, 1990, recorded as Instrument
Number 90-847083 on May 8, 1990;

NCR copy of Cemetary Purchase Agreement dated August 29, 1996;

Original check number 4029 dated November 6, 1996;

Machine copy of a Customer Account Transfer Form dated November 25,
1999;

Copy of an Affidavit of Domicile notarized March 2, 2000;

Machine copy of a Third Party Trading Authorization dated May 8, 2000,
Two original checks, numbers 1332 and 1334, both dated April 5, 2001;
Original check number 2332 dated April 4, 2004;

Fax copy of a Statement of No Loss dated June 20, 2004;

Copy of a Conditions of Admission dated October 21, 2005;

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Steven Mark Rosenberg 3 July 23, 2009

16. Patient Authorization dated October 21, 2005;
17. Fax copy of a Transfer/1035 Exchange dated March 4, 2007;
18. Machine copies of four checks consisting of:
a. check number ]597 dated January 3, 2007
b. check number 1606 dated January 29, 2007;
c. check number 1644 dated March 15, 2007;
d. check number 1501 dated May 21, 2007.
Attached as Exhibit F are photocopies of the above described documents.
As‘a xésult of the examination and analysis, my observations are as follows:

1. ‘The evaluation of original signatures is a three-step procedure. The

first step is to determine if the purported original ink signature is, in
« fact, a signature writtén by a human and not a machine

‘reproduction. ‘In the second step, the overall spontaneity or
naturalnéss of the original disputed signature is evaluated. The
purpose of this is to determine if one is dealing with handwriting as
opposed to a tracing or a slowly written simulation. The third step
involves the comparison of the overall execution and design of the
questioned signature to a verified representative sampling of the

individual’s signature.

2. There are intrinsic limits in the examination of copies rather than original
documents. Copies are subject to manipulation that may not always be
detectable. Additionally, subtle details that are of significance in evaluating
signatures are obscured. The assumption is made in this report that the
copies provided depict the physical evidence to be found on the original
documents. While copies are not the best evidence, they can be of value if
their limitations are recognized. Should the originals become available, |
would reserve the right to review them prior to testimony.

3. With respect to evaluating copied reproductions of signatures, if there are

gross differences in terms of design and construction between the questioned
and known signatures, that is generally not the fault of the copy process.

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Case 2:18-cv-10188-AG Document 42-2 Filed 08/02/19 Page 142 of 154 Page ID #:865

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Steven Mark Rosenberg 4

GQ,

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July 23, 2009

Consequently; anopinion that the signature is cither not genuine or probably
not genuine would be justified. If, on the other hand, there is agreement in

terms of execution and design, anding blatant evidence of tracingor

manipulation, the document may be what it purports to’ be:and the signature
may be geriuine:- The possibility of a carefully executed manipulalion-or
simulation cannot be-precluded, ‘The only way to-reach a definite:opinion
that the signatitre and dacumentisauthenticistovexamine the original of the
document in question.

All of the submitted ‘questioned documents are copies. | cannot completely
evaluate the excoution of the sipnattires: ‘I-canevaluate the individual fetter
design and overall! construction.

 

Beating the above, limitations inmind, 1 intercompared all of the submitied
exemplars for Isadore Rosenberg, Attached:as Exhibit Gis an-enlarged

composite photocopy showing four ofthe'six questioned signatures. In

terms of overall design and construction, the six questioned signatures are

consistent With béing the work of one writer.

1 intercompared all of the snbmilted exemplars for (sadore Rosenberg, which
are dated from 1960 4hrough 2007, His signature throughout the 47-year-
time petiod covered by the exemplars remained remarkably consistent in
tenfg of 6verall déesignand construction. Mr. Rosenherg’s signature was a
complicated design executed ina spontancous manner. Ou: most of his
cliceks, Mr. Rosenberg used a-contraction, “l Rosenberg.” ‘The most
proximate exemplar to the March 5, 2007 date onvall six-of the questioned
documents [Exhibits /A through B) are the copies of the four-checks dated
fron January 3 through’ May 21, 2007 and the Transfer/1035 Exchange
(known Signatures #17 and. #28, Exhibit F). ‘The Transfer/1035 Exchange is
dated Murch 4, 2007; the diy’ before the date:on all six questioned.
signatures. Attached as Exhibit H is‘a composite photocopy: showing a
sampling of the submitted exemplars.

}nextintereompared'all of the six questioned Jsadore Rosenberg signatures
to his Subsiitted xemplars. Comparing the-questioned to-all of the.
submitted exemplars, lobserved what [-consider‘to be significant)consistent
differences between the questioned and. known signatures. Among the
features that | considered significant were the “sad” combination in
“Isadore,” the capital “R” in “Rosenberg,” and the “osen” combination in

“Rosenberg.”

ZS

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Case 2:18-cv-10188-AG Document 42-2 Filed 08/02/19 Page 143 of 154 Page ID #:866

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Steven Mark Rosenberg 5 July 23, 2009

8. I next examined and compared the handwriting and signature in the jurats on
the Abandonment of Homestead, Grant Deed and Deed of Trust to the
certified true copy of the Surety Bond for notary R. D. Salazar dated January
2%, 2004, Attached as Exhibit 1 is a copy of the certified copy of the Surety
Bond. The handprinted name and signature of R. D. Salazar on the three
jurats and the bond were in very close agreement.

OPINION |

After due consideration, and bearing in mind the limitations imposed by the

exaniination of copies, my opinions are as follows:

1. The purported signature of Isadore Rosenberg on the Abandonment of

Homestead, Grant Deed, Deed of Trust, Adjustable Rate Rider, notary log, and Amended Escrow

Instruction described and copies attached as Exhibits A through E, and the exemplars attributed

to him, were not writlen:by the same individual. The differences observed in the questioned and

“" . Jnown signatures cannot reasonably be explained as caused by the copy process(es).

‘2. The handprinting and signature of R. D. Salazar on the jurats.for the
Abandonment of Homestead, Grant Deed, and Deed of Trust, and on the Surety Bond were very
* probably written by the same individual.

All of the submitted materials are being returned with this report by personal

delivery.
Respectfully submitted,
More Le je
AL MOre LE J Hee
oward C. Rile, Jr. * ~
HCR:nad

oa

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Case 2:18-cv-10188-AG Document 42-2 Filed 08/02/19 Page 144 of 154 Page ID #:867

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DECLARATION OF HOWARD C. RILE, JR.

2 » J, Howard C. Rile, Jr., having knowledge of the following facts, declare the same to be
3 |} true,

4 My qualifications as a forensic document examiner are set forth in the attached

5 |hresume, which is marked:Exhibit.A and incosporated herein by reference.

6 I was retained by Steven Mark Rosenberg to examine documents in connection with

7 |\the Estate of Isadore Rosenberg. A copy of my report, based upon said examination, is attached,

8 || marked Exhibit B, and incorporated herein by reference.

9 [have first-hand knowledge of the matters stated above, and if called as a witness, I

1 || could and would testify competently thereto under oath. I declare under penalty of perjury under

WY {the laws of the State of California that the foregoing is true and correct, and ‘that:] am signing this

12 || declaration on uly “272009 at Long Beach, California.

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if )

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a ee
i wn hee C, L2G.

. ll

IS Howard C. Rile, Jr.

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DECLARATION OF HOWARD C. RILE, JR.

 

 

 

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Aserican Society of Questioned Howard C . Rile, Jr. Succéssor to Haris & Harris
Document Examiners g
7 a ' Aeroncs Deaemort rooncnee 7
erican Academy o! 7 Diplomate, Asnerican Board
Forensic Sciences 100 Oceangate, Suite 670 Forensic Document Examdners
Long Beach, CA 90802-4312

Tel: 562/901-3376 Fax: 562/901-3378
Website: www.asqde.org/silehtm Email: herqde@aol.com

RESUME
HOWARD C. RILE, JR.
FORENSIC DOCUMENT EXAMINER

I graduated from California State University at Los Angeles in 1968 with a Bachelor of
Science degree in Chemistry. From 1968 to 1972, I worked as a chemist at the Jet
Propulsion Laboratory in Pasadena, California. Since 1972, I have devoted full time to
the study and examination of problems relating to disputed handwriting, signatures,
typewriting, and identification of photocopiers, ink, and papers.

‘From 1972 to 1974, I was employed and trained at the firm of Harris and Harris,
:Rxaminérs of Questioned Documents, at Las Angeles, California. Between 1974 and
1979; 1 was.employéd by the Los Angeles County Auditor-Controller as a document
examiner; and fram 1979'to 1983, 1 was the questioned document examiner for the
State of Colorado at the Colorado Bureau of Investigation in Denver. Since 1983 L have
been an independcat, private examiner; I was affiliated with Marris and Harris until

1996.

ran ahi certified by and pust president (1997-1999) of the American Board of Forensic
Document Examiners, hic. ] am also a member of and past president (2006-2008) of
the American Society of Questioned Document Examiners, Inc. ] am a member and ex-
Membership/Credentials Chairman of the Southwestern Association of Forensic
Document Examiners. J am a member of the Canadian Society of Forensic Science;
and the Document Section of the American Academy of Forensic Science, and the
ASTM. I revised a chapter on signatures in Scientific Examination of Questioned

Documents, 2.4 Edition.

_ Lhave qualified and testified as an expert witness in my specialty in more than 500
cases involving criminal and civil matters in federal and/or state courts in California,

Arizona, Colorado, Nevada, Hawaii, Kansas, New York, and Wyoming.
Our office and laboratory are equipped with microscopes, cameras, a digital and

photographic darkroom, ESDA, a Video Scanning Comparator (VSC-4), measuring
devices, and other specialized instruments. We maintain a library and extensive

reference files.

References and a listing of cases in which J have testified are available upon request.
Declaration Exhibit A

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United States

 

 

NEWS
RELEASE Attorney’s Office
, a Central District of Califomia
Thom Mrozek, Public Affairs Officer
For Immediate Distribution (213) 894-6947
July 10, 2007 www. usdoj.gov/usad/cac

FORMER USC REAL ESTATE PROFESSOR WHO BILKED
STUDENTS, OTHERS OUT OF $1.5 MILLION IN REAL ESTATE
INVESTMENT SCAM SENTENCED TO FEDERAL PRISON

An Orange County man who ran a real estate investment scam that fured |
victims with bogus claims of large retums on investments in commercial real estate
developments was sentenced today to six years in federal prison.

Barry Landreth, 38, formerly of Coto de Caza and now of Fullerton, was
sentenced this morning by United States District Judge Cormac J. Carney. A
hearing has been set for August 20, 2007, to determine the amount of restitution

owed by Landreth. Judge Carney ordered Landreth to surrender to custody by July

30, 2007.
At today's hearing, six victims addressed the Court, with one man, a former

student of Landreth’s at USC, saying that Landreth was a professor he trusted and
went to for career advice. Several victims testified that the losses they incurred
from the scheme have ruined them financially. At least one victim said he would
have to work well beyond his planned retirement to recoup the money he lost to
Landreth.

Landreth pleaded guilty in March to a federal wire fraud charge. By pleading
guilty, Landreth, a former adjunct professor of real estate finance at the University
of Southern California, admitted that he ran two schemes involving purported real

estate development projects in Chicago and Las Vegas. Through his company,

“BS?

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Webster Realty Investors, Landreth offered short-term, high-yield real estate
investments in two projects that he called Discovery Chicago LLC and Discovery:
Las Vegas LLC. Landreth induced victims, including wealthy investors and several
USC students, to invest with promises that their money would be used in one of
the two projects. In fact, Landreth did not use the victims’ money for either
project, but instead spent the money on business expenses for Webster Realty
Investors and on personal expenses.

As part of the scheme, Landreth falsely represented to victims that the
projects would provide 190 percent returns on investments within 30 days to 45
days.

In court documents, the government presented evidence that Landreth used
victims’ money to buy a Cadillac Escalade and several show jumping horses.

This case was investigated by the Federal Bureau of Investigation, which

received assistance from the California Department of Corporations.

CONTACT: Assistant United States Attomey Gregory Staples
(714) 338-3535

Release No. 07-090

“S1

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Case 2:18-cv-10188-AG Document 42-2 Filed 08/02/19 Page 149 of 154 Page ID #:872

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Exhbit 3

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Repeat-cacb, RepeatPACER, NoFeeRequired

U.S. Bankruptcy Court
Central District of California (San Fernando Valley)
Bankruptcy Petition #: 1:17-bk-11748-VK

Assigned to: Victoria S. Kaufman
Chapter 7

Voluntary

No asset

Debtor disposition: Standard Discharge

Debtor

Steven Mark Rosenberg

106 1/2 Judge John Aiso St #225
Los Angeles, CA 90012

LOS ANGELES-CA

SSN / ITIN: xxx-xx-7342

Trustee

Diane C Weil (TR)

1900 Avenue of the Stars, 11th Floor
Los Angeles, CA 90067

(310) 277-0077

TERMINATED: 09/18/2017

Trustee

Amy L Goldman (TR)

633 W 5th Street, Suite 4000
Los Angeles, CA 90071

(213) 250-1800

U.S, Trustee
United States Trustee (SV)
915 Wilshire Blvd, Suite 1850

UI

264

Date filed: 06/30/2017

Debtor. discharge 7 0/10/2017 ]
34]. mesting 01/05/2018

Deadline for objecting to 09/29/2017

discharge:

Deadline for financial] 09/29/2017

mgmt. course:

represented by Charles Shamash

Caceres & Shamash
LLP

82.00 Wilshire Blvd Ste
400

Beverly Hills, CA 90211
310-205-3400

Fax : 310-878-8308
Email: cs@locs,.com

03/02/2018 02:14 PM
Case 2:18-cv-10188-AG Document 42-2 Filed 08/02/19 Page 151 0f154 Page ID #:874

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CM/ECF - U.S. Bankruptcy Court (v5.2Main@acument Pagefepictach.uscourts.gov/cgi-bin/StatusQry.pl...

1:17-bk-11748-VK Steven Mark Rosenberg
Case type: bk Chapter: 7 Asset: No Volk: v Judge: Victoria S. Kaufman
Date filed: 06/30/2017 Date of last filing: 01/05/2018
Debtor discharged: 10/10/2017

Pending Statuses

 

 

 

 

 

 

 

 

 

Beai Time »
Status Dees. in |# Status Set By
Status
Awaiting 10/10/2017 |143 21}@ ORDER OF DISCHARGE -
Closing days Chapter 7 (CACB AutoDischarge)
(BNC)
Awaiting 01/05/2018 56 days @ Chapter 7 Trustee's Report of No
Discharge Distribution

 

 

Click here to view terminated Statuses.

 

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PROOF OF SERVICE OF DOCUMENT

| am over the age of 1 and a party to this eae Vc radversary proceeding, My business address is:
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A true and correct copy of the foregoing document entitled (specify): Kee\y To D# Lend aks C atwes Lom
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7 the spp 54") So eee mI OW, Tie p ERO IntS
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

 
    

 

 

 

   

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Orders and. LBR, {he foreg Ingidocurnent will be served by the court via NEF and hypetlink tothe document. On (date)

-T checked the CM/ECE dockel:for this bankrupley:case:or adversary proceeding andidalarnned that

ihe following persons are.on the Electronic Mall Notice List to receive: NEF transmission at the emalt addresses slated
below:

C] Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:

On (date) FY/4f138 _ | Served [he following persons-and/or entities al the last known addresses in this bankruptcy
ease or adversary proceeding by placing a true and correc copy thereof in a sealed envelope in the Uniled, States mail,
first class, postage prepaid, and addressed as follows. Listing Ihe Judge here constitutes a declaration thal mailing to ihe
judge will be completed no later ihan 24 hours aller the document is filed.

4 Service information continued on attached page

  

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (slale
tor each person.or entity served): Pursuant to F.R.Giv.P: 5 and/or controlling L.BR, on (date) __ _ l served!
the tollowing persons and/oreniities by parsonal delivery, overnight mail service, or (for {hose who consented jn writing la
such service method), -by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
{hat personal delivery an, orovernight mail to, the judge will’be.completed no Jater than 24 hours afler the document is
filed.

CJ Service information continued.on attached page

  
     

 

 

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June 2012

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CERTIFICATE OF SERVICE

I hereby certify that on August 2, 2019 I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which
will send notification of such filing to the e-mail addresses denoted on
the attached Electronic Mail Notice List, and I hereby certify that I have
mailed the foregoing document or paper via the United States Postal
Service to the non-CM/ECF participants indicated on the attached
Manual Notice List.

VIA U.S. MAIL

Steven Mark Rosenberg
106-1/2 Judge John Aiso St., #225
Los Angeles, CA 90012

I certify under penalty of perjury under the laws of the United
States of America that the foregoing is true and correct. Executed on

August 2, 2019.

/s/Linda C. Lozano
Linda C. Lozano

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